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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


    In re:                                                  Chapter 11
                          1
    USA GYMNASTICS,                                         Case No. 18-09108-RLM-11

                          Debtor.


                   JOINT CHAPTER 11 PLAN OF REORGANIZATION
                PROPOSED BY USA GYMNASTICS AND THE ADDITIONAL
             TORT CLAIMANTS COMMITTEE OF SEXUAL ABUSE SURVIVORS



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Dated: August 31, 2021




1
 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 1099 N. Meridian St., Suite 800, Indianapolis, Indiana 46204.
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         USA Gymnastics (“USAG” or the “Debtor”) and the Additional Tort Claimants
Committee Of Sexual Abuse Survivors (the “Survivors’ Committee” and together with the
Debtor, the “Plan Proponents”) propose the following Plan pursuant to the provisions of chapter
11 of title 11 of the United States Code. The Debtor and the Survivors’ Committee will separately
file the Disclosure Statement for the Joint Chapter 11 Plan of Reorganization by USA Gymnastics
and the Additional Tort Claimants Committee Of Sexual Abuse Survivors (the “Disclosure
Statement”).

       Subject to the provisions of Section 1127 of the Bankruptcy Code, the Plan Proponents
reserve the right to amend, alter, or modify the Plan one or more times before confirmation and/or
substantial consummation.

                                  ARTICLE I. DEFINITIONS

       For the purposes of the Plan, all capitalized terms not otherwise defined in the Plan shall
have the meanings ascribed to them below or in the Bankruptcy Code or Bankruptcy Rules, as
applicable:

       1.1     General Definitions.

               1.1.1. “105 Order” means the Agreed Stipulation And Order Pursuant To 11
U.S.C. § 105 Enjoining The Continued Prosecution Of Certain Pre-Petition Lawsuits [Dkt. 426],
entered by the Bankruptcy Court on April 22, 2019.

               1.1.2. “Abuse Claimant” means a Holder of an Abuse Claim filed on or before
the Bar Date or otherwise deemed timely pursuant to an order of the Bankruptcy Court.

             1.1.3. “Abuse Claims” means Sexual Abuse Claims and General Unsecured
Claim No. 312 alleging emotional abuse.

               1.1.4. “Abuse Claims Settlement Fund” means the Net Settlement Payment less
the Future Claimant Reserve and the Trust Reserve.

               1.1.5. “Accepting Parties” means, collectively, those (a) CGL Insurers that have
entered into the Plan Support Agreement, (b) any other Person that enters into the Plan Support
Agreement with the consent of the Debtor and the Survivors’ Committee, and/or (c) any CGL
Insurer that accepts its Agreed CGL Insurer Settlement Offer by the date set for approval of the
Disclosure Statement or on such later date as agreed to by the Survivors’ Committee and the
Debtor.

                1.1.6. “Administrative Claim” means a Claim for costs and expenses of
administration that is allowable and entitled to priority under Sections 503, 507(a)(2), or 507(b) of
the Bankruptcy Code, including any post-petition tax Claims, any actual and necessary expenses
of preserving the Estate, any actual and necessary expenses of operating the business of the Debtor,
all Professional Claims, and any fees or charges assessed against the Estate under 28 U.S.C.
§ 1930.

               1.1.7. “Administrative Claimant” means the Holder of an Administrative Claim.
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               1.1.8. “Agreed CGL Insurer Payment” means the payment by a CGL Insurer of
the amount set forth in Section 3.2.2 as such insurer’s CGL Insurer Settlement Offer.

              1.1.9. “Allocation Protocol” means the protocol for allocation of the Abuse
Claims Settlement Fund, which is attached hereto as Exhibit H.

             1.1.10. “Allowance Date” means, with respect to a Claim, the date such Claim
becomes Allowed.

               1.1.11. “Allowed” means, (a) any Claim against the Debtor that has been listed by
the Debtor in the Schedules, as such Schedules may be amended by the Debtor from time to time
in accordance with Bankruptcy Rule 1009, as liquidated in amount and which is not disputed or
contingent, and for which no contrary proof of claim has been filed; (b) any timely filed Claim as
to which no objection to allowance has been interposed in accordance with Section 15.2 hereof or
such other applicable period of limitation fixed by the Bankruptcy Code, the Bankruptcy Rules, or
the Bankruptcy Court, or as to which any objection has been determined by a Final Order to the
extent such objection is determined in favor of the respective Holder; or (c) any Claim expressly
allowed by a Final Order or hereunder.

                1.1.12. “Assets” means, collectively, any and all property of the Debtor or the
Estate, respectively, of every kind and character, wherever located, whether real or personal,
tangible or intangible, and specifically including Cash and Causes of Action.

                1.1.13. “Avoidance Rights” means those rights that may be asserted by the
Debtor, as debtor in possession, to avoid and recover transfers, liens, or obligations, described in
Sections 544, 545, 546, 547, 548, 549, 550, 551, 552, and 553 of the Bankruptcy Code, and any
other actions provided for under applicable law that allow a debtor in possession or trustee to avoid
certain transfers.

             1.1.14. “Bankruptcy Code” means the Bankruptcy Reform Act of 1978, as
amended and codified in Title 11 of the United States Code.

              1.1.15. “Bankruptcy Court” means the United States Bankruptcy Court for the
Southern District of Indiana.

               1.1.16. “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
promulgated under 28 U.S.C. § 2075, as amended, and the local rules and general orders of the
Bankruptcy Court, as applicable to the Chapter 11 Case, together with all amendments and
modifications thereto.

                1.1.17. “Bar Date” means April 29, 2019 at 4:00 p.m. (prevailing Eastern time),
the date and time set by for the filing of Abuse Claims and General Unsecured Claims by the Order
Approving Debtor’s Motion For Order Establishing Deadlines For Filing Proofs Of Claim And
Approving Form And Manner Of Notice Thereof [Dkt. 301], entered by the Bankruptcy Court on
February 25, 2019, as modified by the Order Granting Debtor’s Motion For Clarification Of Bar
Date Order [Dkt. 417], entered by the Bankruptcy Court on April 16, 2019.




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               1.1.18. “Business Day” means any day other than Saturday, Sunday, or a “legal
holiday”, as that term is defined in Bankruptcy Rule 9006(a).

              1.1.19. “Buy-Back Agreement” means a separate settlement and sale agreement
between the Debtor and each Debtor CGL Settling Insurer, the form of which is attached hereto as
Exhibit G.

              1.1.20. “Cash” means cash, cash equivalents, bank deposits, and negotiable
instruments payable on demand.

                1.1.21. “Causes of Action” means any and all Claims, demands, rights, actions,
causes of action, and suits of the Debtor or the Estate, of any kind or character whatsoever, known
or unknown, suspected or unsuspected, matured or unmatured, whether arising prior to, on, or after
the Petition Date, in contract or in tort, at law or in equity, or under any other theory of law,
including (a) rights of setoff, counterclaim, or recoupment, and Claims on contracts or for breaches
of duties imposed by law; (b) the right to object to Claims; (c) Claims pursuant to Section 362 of
the Bankruptcy Code; (d) such Claims and defenses as fraud, negligence, breach of fiduciary duty,
corporate waste, unlawful dividends, mistake, duress, and usury; (e) all Avoidance Rights; (f) all
Claims in or related to the Insurance Coverage Adversary Proceeding; (g) Insurance
Reimbursement Claims; (h) Claims for tax refunds; and (i) any other Claims which may be
asserted against third parties or insiders.

               1.1.22. “CGL Insurance Policies” means, collectively, the policies of primary,
excess or umbrella comprehensive general liability insurance purchased by the Debtor from the
Debtor CGL Insurers, the USOPC from the USOPC Insurers, and the Karolyis from the Karolyi
Insurer, each of which is identified in the schedule attached as Exhibit A hereto.

               1.1.23. “CGL Insurer” means the Debtor CGL Insurers, the USOPC Insurers, and
the Karolyi Insurer, each of which is identified in the schedule attached as Exhibit A hereto.

              1.1.24. “CGL Insurer Settlement Offer” means the offers made by the Survivors’
Committee to each CGL Insurer, the amounts of which are set forth in Section 3.2.2.

                1.1.25. “Channeled Claim” means Abuse Claims, the FCR Claim, the
Participating Party Claims, Indemnification Claims, and/or any Claims against a Participating
Party, a Non-Debtor CGL Settling Insurer Covered Person, or a Settling Insurer arising from, in
connection with, or related in any way to an Abuse Claim, USAG, or any of the Settling Insurer
Policies listed on Exhibit A excepting solely the Personal Injury Claim, whenever and wherever
arising or asserted, whether sounding in tort, contract, warranty, or any other theory of law, equity,
or admiralty, including without limitation all Claims by way of direct action, subrogation,
contribution, indemnity, alter ego, statutory or regulatory action, extra-contractual or otherwise,
Claims for exemplary or punitive damages, for attorneys’ fees and other expenses, or for any
equitable remedy, and whether filed or not and whether filed before or after the Bar Date. In
addition, a Channeled Claim includes any Claim against the Debtor, a Participating Party, a Non-
Debtor CGL Settling Insurer Covered Person, or a Settling Insurer based on allegations that it is
an alter ego of a Person that is not a Participating Party, Non-Debtor CGL Settling Insurer Covered
Person, or Settling Insurer or that the Debtor’s, Participating Party’s, Non-Debtor CGL Settling



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Insurer Covered Person’s or Settling Insurer’s corporate veil should be pierced on account of
Claims against a Person that is not a Participating Party, Non-Debtor CGL Settling Insurer Covered
Person, or Settling Insurer or based on any other theory under which the legal separateness of any
Person and any other Person may be disregarded to impose liability for a Claim on either such
Person. For the avoidance of doubt and notwithstanding anything to the contrary herein, no Claim
by any Person, including an Abuse Claimant or Future Claimant, against an Excluded Party may
be a Channeled Claim. The Personal Injury Claim is not a Channeled Claim.

               1.1.26. “Channeled Claimant” means a Holder of a Channeled Claim.

                1.1.27. “Channeling Injunction” means the injunction provided for under
Article XII of the Plan.

            1.1.28. “Chapter 11 Case” means the case under Chapter 11 of the Bankruptcy
Code commenced by USA Gymnastics on December 5, 2018 in the Bankruptcy Court, Case No.
18-09108-RLM-11.

                 1.1.29. “Claim” means any past, present, or future claim, demand, action, request,
formal or informal subpoena, cause of action, suit, proceeding, or liability of any kind or nature
whatsoever, whether at law or equity, known or unknown, actual or alleged, asserted or not
asserted, suspected or not suspected, anticipated or unanticipated, accrued or not accrued, fixed or
contingent, which has been or may be asserted by or on behalf of any Person, whether seeking
damages (including compensatory, punitive, or exemplary damages) or equitable, mandatory,
injunctive, or any other type of relief, including cross-claims, counterclaims, third-party claims,
suits, lawsuits, administrative proceedings, notices of liability or potential liability, arbitrations,
actions, rights, causes of action or orders, and any other claim within the definition of “Claim” in
Section 101(5) of the Bankruptcy Code.

             1.1.30. “Claims Agent” means Omni Agent Solutions, Inc., the Court appointed
Claims and Noticing Agent.

               1.1.31. “Claim Enhancement” shall have the meaning given to it in Section
10.8.2.

               1.1.32. “Claimant” means a Holder of a Claim.

               1.1.33. “Class” means a class of Claims as classified under the Plan.

              1.1.34. “Conditional Payment” means any payment made pursuant to
Section 1395y(b)(2)(B) of the MSP.

               1.1.35. “Confirmation Date” means the date on which the Bankruptcy Court
enters the Confirmation Order.

               1.1.36. “Confirmation Hearing” means the hearing held by the Bankruptcy Court
regarding confirmation of the Plan, as such may be continued from time to time.




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              1.1.37. “Confirmation Order” means an order issued by the Bankruptcy Court
confirming the Plan.

              1.1.38. “Costs Motion” means USA Gymnastics’ Motion For Partial Summary
Judgment On Bankruptcy Defense Costs (Dkt. 406 in the Insurance Coverage Adversary
Proceeding), and the related proceedings in the United States District Court and any appeals or
remand proceedings.

              1.1.39. “Creditor” shall have the meaning given to the term in Section 101(10) of
the Bankruptcy Code.

               1.1.40. “Debtor” means USA Gymnastics, a 501(c)(3) not-for-profit organization
incorporated in Texas.

               1.1.41. “Debtor CGL Insurance Coverage” means any insurance that is available
under any Debtor CGL Insurance Policy, whether known or unknown to the Debtor, that provides
indemnification to: (a) the Debtor or any Person that is a Related Person to the Debtor for any
reason or that provides reimbursement for any costs and expenses incurred by the Debtor or any
Related Person; or (b) a Participating Party or any Person that is a Related Person to a Participating
Party; provided, however, Debtor CGL Insurance Coverage excludes any agreement or contract
providing reinsurance to a Debtor CGL Settling Insurer.

              1.1.42. “Debtor CGL Insurance Policies” means a CGL Insurance Policy
purchased by the Debtor from a Debtor CGL Insurer.

               1.1.43. “Debtor CGL Insurer” means Virginia Surety Company f/k/a Combined
Specialty Insurance Company, National Casualty Company, Great American Assurance Company,
TIG Insurance Company, ACE American Insurance Company f/k/a Cigna Insurance Company,
and National Union Fire Insurance Company of Pittsburgh, Pa.

            1.1.44. “Debtor CGL Settling Insurance Policy” means an Insurance Policy of a
Debtor CGL Settling Insurer listed on Exhibit A hereto.

              1.1.45. “Debtor CGL Settling Insurer” means a Debtor CGL Insurer that has
accepted such Debtor CGL Insurer’s CGL Insurer Settlement Offer.

               1.1.46. “Debtor’s Insurance Policies” means any Debtor CGL Insurance Policy
or Other Insurance Policy or Personal Injury Policy.

               1.1.47. “Debtor’s Professionals” means Jenner & Block LLP, Miller Johnson
P.L.C., Plews Shadley Racher & Braun LLP, APCO Worldwide LLC, Barnes & Thornburg LLP,
BDO USA, LLP, Hilder & Associates, P.C., Pierce Atwood LLP, White & Amundson, P.C.,
Zuckerman Spaeder LLP, Krieg DeVault LLP, and all other professionals, if any, which the Debtor
has retained or may retain to provide professional services in accordance with Sections 327(a),
327(b), and 327(e) of the Bankruptcy Code.

               1.1.48. “Disclosure Statement” means the Disclosure Statement relating to this
Plan, as it may be amended from time to time.


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               1.1.49. “Disputed Claim” means a Claim as to which a proof of Claim is filed or
is deemed filed under Bankruptcy Rule 3003(b)(1), and as to which an objection: (a) has been
timely filed; and (b) has neither been overruled nor denied by a Final Order and has not been
withdrawn.

               1.1.50. “Distribution” means any transfer of Cash or other property or instruments
to a Claimant pursuant to the Plan.

                1.1.51. “District Court” means the United States District Court for the Southern
District of Indiana.

               1.1.52. “Effective Date” means the first Business Day after the Confirmation Date
upon which: (a) the conditions in Section 17.1 of the Plan have been satisfied or waived; and (b) no
stay of the Confirmation Order is in effect.

               1.1.53. “Estate” means the estate created in this Chapter 11 Case pursuant to
Section 541 of the Bankruptcy Code.

              1.1.54. “Estimated Amount” means the amount at which the Bankruptcy Court,
pursuant to Section 502(c) of the Bankruptcy Code and Bankruptcy Rule 3018(a), estimates any
Claim.

              1.1.55. “Excluded Party” means any Person who personally committed an act of
Sexual Abuse that resulted or would result in a Claim against the Debtor or a Participating Party
and the Persons or Entities listed on Exhibit D hereto.

               1.1.56. “Exculpated Parties” means the Debtor, the Reorganized Debtor, the
Debtor’s Professionals, the FCR, the FCR’s Professionals, the Survivors’ Committee, the
Survivors’ Committee’s members in their capacities as members of the Survivors’ Committee, the
Survivors’ Committee’s Professionals, the Mediators, Participating Parties, the Settling Insurers,
and each of their respective Related Persons. For the avoidance of doubt and notwithstanding
anything to the contrary herein, no Excluded Party may be an Exculpated Party.

               1.1.57. “FCR” means Fred Caruso, appointed pursuant to the Order Authorizing
Appointment of Future Claimants’ Representative and Appointing Fred C. Caruso as Future
Claimants’ Representative [Dkt. 516], entered by the Bankruptcy Court on May 17, 2019, and any
successor or such other Person appointed by the Bankruptcy Court or otherwise.

               1.1.58. “FCR Claim” means the Claim of the FCR on behalf of Future Claimants.

               1.1.59. “FCR’s Professionals” means Development Specialists, Inc., FrankGecker
LLP, and all other professionals, if any, which the FCR has retained or may retain to provide
professional services in accordance with the Bankruptcy Code and as approved by the Bankruptcy
Court.

               1.1.60. “Final Order” means an order, judgment, or other decree (including any
modification or amendment thereof) of the Bankruptcy Court, the District Court, or any other court
having jurisdiction that remains in effect and has not been reversed, withdrawn, vacated, or stayed,


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and as to which the time to appeal or seek review, rehearing, or writ of certiorari has expired or, if
such appeal or review has been taken, it has been resolved and no longer remains pending.

               1.1.61. “Full or Partial Settlement Alternative” shall mean the Plan alternative
described in Section 3.1.1.

               1.1.62. “Future Claim” means a Claim by a Future Claimant.

                1.1.63. “Future Claimant” means a Person who (a) held a Sexual Abuse Claim as
of the Bar Date; and (b) meets one of the following criteria: (i) was under the age of majority under
applicable state law as of March 1, 2019; (ii) as of March 1, 2019, the statute of limitations for
such Person was tolled under applicable state law or had not begun to run under applicable state
law, including because of a Sexual Abuse Claim based on repressed memory or similar theory; (iii)
as of March 1, 2019, the Debtor was estopped under applicable state law from asserting the statute
of limitations; or (iv) such Person’s Sexual Abuse Claim was barred by the applicable statute of
limitations as of March 1, 2019, but is or becomes no longer barred by the applicable statute of
limitations for any reason, including the enactment of legislation that revives such Claims;
provided, however, that the following persons are not Future Claimants: any Person who has, at
any time before the Bar Date, asserted a Sexual Abuse Claim, asserted a cause of action based on
a Sexual Abuse Claim, provided notice of a Sexual Abuse Claim, or made a demand based on a
Sexual Abuse Claim, or whose parent or guardian or other legal representative had done so on
behalf of such Person, at any time before the Bar Date.

               1.1.64. “Future Claimant Allocation Protocol” means the protocol for allocation
of the Future Claimant Reserve, which is attached hereto as Exhibit I.

               1.1.65. “Future Claimant Reserve” means a reserve of one percent (1.0%) of the
Net Settlement Payment established to fund payments to Future Claimants pursuant to the terms
of the Future Claimant Allocation Protocol.

                1.1.66. “General Unsecured Claim” means any Claim against the Debtor that is
not an Abuse Claim, Personal Injury Claim, USOPC Claim, the FCR Claim, a Class 9
Indemnification Claim, Administrative Claim, Priority Tax Claim, Other Priority Claim, or a Claim
that is otherwise classified under the Plan.

              1.1.67. “General Unsecured Convenience Claim” means any General Unsecured
Claim in an amount of $500.00 or less, or voluntarily reduced to $500.00 by the Holder of such
Claim. To the extent a Creditor filed multiple General Unsecured Claims, if those Claims in the
aggregate exceed $500.00, none of those Claims will be treated as General Unsecured
Convenience Claims, unless the Holder of those Claims voluntarily reduces their aggregate value
to $500.00.

               1.1.68. “Holder” means the legal or beneficial holder of any Claim or Interest.

              1.1.69. “Impaired” shall have the meaning given to the term in Section 1124 of
the Bankruptcy Code.




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               1.1.70. “Indemnification Claim” means any Person’s Claim against the Debtor
for contribution, indemnity, or reimbursement arising as a result of such Person having paid or
defended against any Claim and any Claim for future amounts to be paid defending against or
paying a Claim. The Claims listed on Exhibit B are Indemnification Claims.

                1.1.71. “Insurance Claims” means all Claims, Causes of Action and enforceable
rights (other than the duty to defend and the recovery of defense costs incurred before or after the
Effective Date) against any Non-Settling Insurer whether sounding in contract, tort, or otherwise,
including equity and bad faith, held by:

                (a) the Debtor for any reason related to an Abuse Claim including those for (i)
indemnity and payment of any Abuse Claim; (ii) any Non-Settling Insurer’s failure or refusal to
provide Insurance Coverage of an Abuse Claim under any insurance policy; (iii) any Non-Settling
Insurer’s tortious or wrongful Claims handling including the failure or refusal of any Non-Settling
Insurer to timely compromise and settle any Abuse Claims against the Debtor pursuant to any
insurance policy; and (iv) the interpretation or enforcement of the terms of any insurance policy;
and/or

                (b) any of the Participating Parties or Settling Insurers for any reason related to an
Abuse Claim against the Participating Party or Settling Insurer, whether independently or jointly
liable with the Debtor on such Abuse Claim, including (i) indemnity and payment of any Abuse
Claim; (ii) any Non-Settling Insurer’s failure or refusal to provide Insurance Coverage under any
Insurance Policy for an Abuse Claim against the Debtor, a Participating Party or a Settling Insurer;
(iii) any Non-Setting Insurer’s tortious or wrongful Claims handling including the failure or refusal
of any Non-Settling Insurer to timely compromise and settle any Abuse Claims against the Debtor,
a Participating Party, or a Settling Insurer pursuant to any insurance policy; and (iv) the
interpretation or enforcement of the terms of any insurance policy.

               The term “Insurance Claims” includes any Claims or Causes of Action for
reimbursement of defense costs or related expenses under any CGL Insurance Policy or any Other
Insurance Policy incurred by the Debtor through or after the Effective Date. For the sake of clarity,
the term “Insurance Claims” does not include any Claims or Causes of Action for reimbursement
of defense costs or related expenses under any CGL Insurance Policy or any Other Insurance
Policy incurred by a Non-Debtor CGL Settling Insurer Covered Person, or Participating Party
through or after the Effective Date.

                1.1.72. “Insurance Coverage” means any insurance that is available under any
CGL Insurance Policy, Personal Injury Policy or Other Insurance Policy, whether known or
unknown to the Debtor, that provides indemnification to: (a) the Debtor or any Person that is a
Related Person to the Debtor for any reason or that provides reimbursement for any costs and
expenses incurred by the Debtor or any Related Person; or (b) a Participating Party or any Person
that is a Related Person to a Participating Party; provided, however, Insurance Coverage excludes
any agreement or contract providing reinsurance to a Debtor CGL Settling Insurer or a USOPC
Settling Insurer.

              1.1.73. “Insurance Coverage Adversary Proceeding” means the adversary
proceeding docketed as Adversary Proceeding No. 19-50012 pending in the Bankruptcy Court and


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any related proceedings in the District Court, the Court of Appeals for the Seventh Circuit, or the
United States Supreme Court.

                1.1.74. “Insurance Reimbursement Claims” means any Claims of the Debtor, the
Estate, or the Reorganized Debtor against a Debtor CGL Insurer for reimbursement of fees and
costs incurred in defense of any Claim or all Claims insured under the Debtor’s CGL Insurance
Policies, including the Claim for recovery of the Debtor’s fees and costs incurred in the Chapter
11 Case as set forth in the Costs Motion or any other motion seeking such reimbursement.

                 1.1.75. “Karolyi Insurer” means Great American Assurance Company.

                 1.1.76. “Karolyi Release” means the release provided for in Section 12.11 of the
Plan.

              1.1.77. “Karolyi Settling Insurer” means the Karolyi Insurer if it has accepted
such Karolyi Settling Insurer’s CGL Insurer Settlement Offer.

               1.1.78. “Karolyis” means Marta Karolyi (aka Martha Karolyi), Bela Karolyi,
Karolyi Training Camps, LLC, Karolyi’s Elite, Karolyi World Gymnastics, BMK Partners, Ltd.,
and BMK Training Facilities, Ltd.

                 1.1.79. “Litigation Claimant” shall have the meaning given to it in Section 10.8.

                 1.1.80. “Litigation Only Alternative” shall mean the alternative described in
Section 3.1.2.

                 1.1.81. “MAO” means Medicare Advantage Organization under parts C and D of
the MSMEA.

             1.1.82. “Mediators” means the (a) Honorable Gregg W. Zive, United States
Bankruptcy Judge for the District of Nevada; (b) Honorable James M. Carr, United States
Bankruptcy Judge for the Southern District of Indiana; and (c) Paul Van Osselaer.

               1.1.83. “Medicare Beneficiary” means any Abuse Claimant or Future Claimant
who is a citizen or resident of the United States and whose Claim indicates that he or she was
abused, in whole or in part, after December 5, 1980, and who has applied for, received, or is eligible
to receive benefits under the MMSEA or the MSP.

              1.1.84. “Medicare Claims” means Claims for benefits paid, received or accrued to
an Abuse Claimant or Future Claimant pursuant to the MMSEA or the MSP.

               1.1.85. “Medicare Reporting Information” means information that may be
required to make a query or report a settlement to CMS or an MAO and may include the Person’s
full name, address, telephone number, date of birth, gender, last five digits of the Person’s Social
Security number, and Medicare Claim Number, if one exists.




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               1.1.86. “Medicare Trust Fund” means a U.S. Treasury-held trust fund account
from which Medicare is funded or from which Medicare disbursements are paid, including the
Hospital Insurance Trust Fund and the Supplementary Medical Insurance (SMI) Trust Fund.

               1.1.87. “MMSEA” means § 111 of the Medicare, Medicaid, and SCHIP Extension
Act of 2007 (P.L. 110-173).

              1.1.88. “MSP” means the Medicare Secondary Payer Act, codified at 42 U.S.C.
§ 1395y et seq., or any other similar statute or regulation, and any related rules, regulations, or
guidance issued in connection therewith or amendments thereto.

              1.1.89. “Net Settlement Payment” means (a) in the event that the Total Settlement
Demand Amount is funded as of the Effective Date, the Total Settlement Demand Amount less the
Professional Fee Hold-Back; and (b) in the event that the Partial Settlement Option is jointly
elected by the Debtor and the Survivors’ Committee, all payments received from a Partial
Settlement Option Accepted Party less the Professional Fee Hold-Back.

               1.1.90. “Non-Debtor CGL Settling Insurer Covered Persons” means any Person
that has or may have a Claim to Insurance Coverage under a Debtor CGL Settling Insurer Policy,
including the USOPC, the National Gymnastics Foundation, Twistars, the Karolyis, Rhonda
Fahan, Steve Penny, Paul Parilla, Amy White, Debra Van Horn, Kathy Scanlan, Kathy Scanlan
LLC, Bob Colarossi, All Olympia Gymnastics Center, AOGC All Olympia Gymnastics Center,
Artur Akopyan, and Galina Marinova. Notwithstanding the foregoing or any other provisions of
this Plan, no Person may be a Non-Debtor CGL Settling Insurer Covered Person unless: (a) the
Total Settlement Demand Amount is fully funded as of the Effective Date of the Plan; or (b) in the
event that the Debtor and the Survivors’ Committee agree to proceed with the Partial Settlement
Option, then a Person may only be a Non-Debtor CGL Settling Insurer Covered Person with
respect to those Abuse Claims falling under the Settling Insurance Policies. For the avoidance of
doubt and notwithstanding anything to the contrary herein, no Excluded Party may be a Non-
Debtor CGL Settling Insurer Covered Person.

               1.1.91. “Non-Settling Insurer” means a CGL Insurer that is not a Settling Insurer.

               1.1.92. “Other Insurance Policy” means any policy of insurance other than the
Debtor CGL Insurance Policies, including directors’ and officers’ insurance, purchased by the
Debtor that during any period of time provided Insurance Coverage to the Debtor, its predecessors,
successors, or assigns, or any Persons that are Related Persons to the Debtor.

                1.1.93. “Other Insurers” means (a) any Person, other than a CGL Insurer, that
during any period of time either (i) provided Insurance Coverage (other than under a CGL
Insurance Policy) to the Debtor and/or a Participating Party, or their predecessors, successors, or
assigns, or (ii) issued an Other Insurance Policy to the Debtor, its predecessors, successors, or
assigns; and (b) any Person owing a duty to defend and/or indemnify the Debtor under any Other
Insurance Policy.

               1.1.94. “Other Priority Claim” means a Priority Claim that is not a Priority Tax
Claim.



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                1.1.95. “Outstanding Amount” shall have the meaning given to it in Section 3.9.

                1.1.96. “Partial Settlement Option” shall have the meaning given to it in
Section 3.5.

                1.1.97. “Partial Settlement Option Accepted Party” means (a) the Settling
Insurers; and (b) Participating Parties, but only with respect to the Abuse Claims falling under the
Settling Insurance Policies; and (c) a Non-Debtor CGL Settling Insurer Covered Person, but only
with respect to Abuse Claims falling under the Settling Insurance Policies.

              1.1.98. “Partial Settlement Option Provisions” means the provisions in Article X
implementing the Partial Settlement Option.

               1.1.99. “Participating Party” means the USOPC, the Karolyis, Twistars, and any
Person that becomes a Participating Party pursuant to the terms set forth in Section 11.6, all of
which are providing or will provide consideration or a portion of the funding for the Plan in
exchange for: (a) the release of any indemnification or contribution Claim by the Debtor against
such Participating Party; (b) the benefit of the Channeling Injunction; and/or (c) any other benefits
in favor of Participating Parties under the Plan. A Settling Insurer is not a Participating Party. A
Participating Party shall release all of its Claims against the Debtor, the Estate, and the Reorganized
Debtor, and each of their respective Related Persons. The list of current Participating Parties is
attached hereto as Exhibit C.

               1.1.100.        “Participating Party Claim” means any Claims asserted by a
Participating Party against the Debtor, including Class 9 Indemnification Claims and the USOPC
Claim if the party asserting the Class 9 Indemnification Claim or the USOPC are a Participating
Party.

                1.1.101.         “Person” means any individual or entity, including any corporation,
limited liability company, partnership, general partnership, limited partnership, limited liability
partnership, limited liability limited partnership, proprietorship, association, joint stock company,
joint venture, estate, trust, trustee, personal executor or personal representative, unincorporated
association, or other entity, including any federal, international, foreign, state, or local
governmental or quasi-governmental entity, body, or political subdivision or any agency or
instrumentality thereof and any other individual or entity within the definition of (a) “person” in
section 101(41) of the Bankruptcy Code; or (b) “entity” in section 101(15) of the Bankruptcy Code.

                1.1.102.       “Personal Injury Claim” means General Unsecured Claim No.
251.

                1.1.103.       “Personal Injury Claimant” means the Holder of the Personal
Injury Claim.

               1.1.104.       “Personal Injury Coverage” means any insurance that is available
under the Personal Injury Insurance Policy solely for the Personal Injury Claim.

              1.1.105.     “Personal Injury Insurance Policy” means: (a) a general liability
primary policy sold by National Casualty with policy number KRO0000006492900 and an


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effective period of August 1, 2016 to August 1, 2017 and an excess policy sold by National
Casualty Company with Policy Number XKO0000006519400 and an effective period of August 1,
2016 to August 1, 2017; and (b) insurance policies sold by Mutual of Omaha Insurance Company
with policy number SB21CCIN-P-050607 effective August 1, 2016 to August 1, 2018; and policy
number SR2014IN-P-051257 effective August 1, 2016 to August 1, 2017.

             1.1.106.      “Personal Injury Insurer” means National Casualty Company and
Mutual of Omaha Insurance Company, but solely with respect to the Personal Injury Claim.

            1.1.107.      “Petition Date” means December 5, 2018, the date on which the
Debtor commenced the Chapter 11 Case.

                1.1.108.      “Plan” means the Chapter 11 plan of reorganization, either in its
present form or as it may be altered, amended, or modified from time to time in accordance with
the provisions of the Bankruptcy Code and the Bankruptcy Rules, and including any and all
exhibits to the Plan and Plan Documents.

               1.1.109.       “Plan Documents” means all agreements, documents, and exhibits,
as the same may be amended, modified, supplemented, or restated from time to time, that are
necessary or appropriate to implement the Plan.

             1.1.110.       “Plan Support Agreement” means that certain USA Gymnastics
Plan Support Agreement first dated as of May 6, 2021 between and among the Debtor, the
Survivors’ Committee, and the Accepting Parties who sign it, and any amendments to the Plan
Support Agreement.

              1.1.111.       “PNC Bank” means PNC Financial Services Group d/b/a PNC
Bank, N.A.

              1.1.112.       “PNC Bank Claim” means the Claim of PNC Bank listed by the
Debtor on the Schedules.

              1.1.113.      “PPP Loan Claim” means the Claim of PNC Bank under the
Paycheck Protection Program Term Note dated June 26, 2020.

                1.1.114.        “Priority Claim” means any Claim which, if Allowed, would be
entitled to priority under Section 507 of the Bankruptcy Code.

              1.1.115.       “Priority Claimant” means the Holder of a Priority Claim.

               1.1.116.       “Priority Tax Claim” means a Claim of a governmental unit of the
kind specified in Section 507(a)(8) of the Bankruptcy Code.

             1.1.117.       “Professional” means any professional employed or to be
compensated pursuant to Sections 327, 328, 330, 331, 503(b), or 1103 of the Bankruptcy Code.

              1.1.118.      “Professional Claim” means a Claim for compensation for services
and/or reimbursement of expenses pursuant to Sections 327, 328, 330, 331, 503(b), or 1103 of the


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Bankruptcy Code in connection with an application made to the Bankruptcy Court in the Chapter
11 case.

               1.1.119.       “Professional Claims Bar Date” means (a) forty-five (45) days
after a notice of the Effective Date is filed with the Bankruptcy Court and served on such
Professional or other Persons; or (b) such later date as the Bankruptcy Court shall order upon
application made prior to the end of such 45-day period.

                 1.1.120.      “Professional Fee Hold-Back” means, if the Total Settlement
Demand Amount is fully funded on the Effective Date, the amount retained by the Debtor or the
Reorganized Debtor from the Total Settlement Demand Amount to pay Professional Claims
through the Effective Date, and if Debtor and the Survivors’ Committee elect to proceed with the
Partial Settlement Option, the amount retained by the Debtor or the Reorganized Debtor from all
payments made by Partial Settlement Option Accepted Parties to pay Professional Claims through
the Effective Date. Under the Litigation Only Alternative, Professional Claims shall be paid from
the Trust after the Trust Reserve is funded in an amount of $5 million.

                1.1.121.      “Pro Rata” means, with respect to any Distribution on account of
any Allowed Claim in any Class, the ratio of (a) the amount of such Allowed Claim to (b) the sum
of (i) all Allowed Claims in such Class and (ii) the aggregate maximum of all Allowed Claims in
such Class.

                1.1.122.      “Protected Parties” or “Protected Party” means the Debtor, the
Estate, the Reorganized Debtor, any Participating Party, any Settling Insurer, any Non-Debtor CGL
Settling Insurer Covered Person, and their respective Related Persons. For the avoidance of doubt
and notwithstanding anything to the contrary herein, no Excluded Party may be a Protected Party.

               1.1.123.        “PSA Termination Date” shall have the meaning given to it in
Section 3.4.

               1.1.124.         “Related Person” means, with respect to any Person, such Person’s
predecessors, successors, assigns, and present and former shareholders, affiliates, subsidiaries,
employees, agents, brokers, adjusters, managing agents, claims agents, underwriting agents,
administrators, officers, directors, trustees, partners, attorneys, financial advisors, accountants, and
consultants, each in their capacities solely as such; provided, however, that no Person shall be a
Related Person if such Person is an Excluded Party.

                 1.1.125.       “Released Parties” means (a) a Participating Party; (b) the
Participating Party’s Related Persons; (c) a Settling Insurer, but only to the extent that such Settling
Insurer’s liability arises out of the Settling Insurance Policies; (d) a Settling Insurer’s Related
Persons, but only to the extent such Person’s liability arises out of the Settling Insurance Policies;
and (e) the Non-Debtor CGL Settling Insurer Persons; provided, however, that the scope of any
release for a Non-Debtor CGL Settling Insurer Person under this Plan shall apply only to the extent
of the liability for such Person that is covered by Insurance Policies issued by the Settling Insurer
or that is covered by a Claim of indemnity against the Debtor. The term “Released Parties” does
not include any Excluded Party.




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               1.1.126.        “Reorganized Debtor” means USA Gymnastics, on and after the
Effective Date.

              1.1.127.        “Revested Assets” means all assets and property, real or personal,
owned by the Debtor that shall be revested in the Reorganized Debtor, pursuant to Sections 1141(b)
and 1123(a)(5) of the Bankruptcy Code, on the Effective Date.

                1.1.128.        “RRE” or Responsible Reporting Entity” means an entity with
responsibility to ensure fulfillment of the reporting and reimbursement requirements, if any under
the MSP and the MMSEA.

               1.1.129.      “Schedules” means the Schedules of Assets and Liabilities and
Statement of Financial Affairs of the Debtor, as amended, filed pursuant to Section 521 of the
Bankruptcy Code, the Official Bankruptcy Forms, and the Bankruptcy Rules, including any
supplements or amendments thereto through the Confirmation Date [Dkts. 205, 206, 218, 219,
220, 242, 337, 474].

               1.1.130.       “Settlement Trustee” means the trustee of the Trust, who initially
will be William L. Bettinelli, or such other Person the Survivors’ Committee selects and any
successor trustee appointed pursuant to the terms of this Plan and the Trust Documents.

               1.1.131.        “Settling Insurance Policies” means the CGL Insurance Policies
listed on Exhibit A hereto issued by any insurer that is a Settling Insurer.

                 1.1.132.         “Settling Insurer” means (a) if the Total Settlement Demand
Amount is funded, any CGL Insurer that accepted its CGL Insurer Settlement Offer or (b) if the
Partial Settlement Option is elected by the Debtor and the Survivors’ Committee, any CGL Insurer
that is a Partial Settlement Option Accepted Party. A Settling Insurer’s predecessors, successors,
and assigns shall receive the benefits and protections afforded to a Settling Insurer under the Plan,
but only to the extent that: (i) such predecessor’s liability was assumed by the Settling Insurer, and
not independent of the liability of such Settling Insurer; and (ii) such successor’s or assign’s
liability is derivative of the liability of the Settling Insurer and not independent of the liability of
the Settling Insurer. Pursuant and subject to the terms of this Plan, a CGL Insurer may become a
Settling Insurer after the Effective Date of the Plan with the consent of the Settlement Trustee and
upon approval of the Bankruptcy Court; provided, however, if any outstanding defense costs are
owed by such CGL Insurer, the consent of the applicable owner of the CGL Insurance Policy must
also be obtained unless such rights were transferred or assigned to the Trust.

                1.1.133.        “Settling Insurer Injunction” means the injunctions provided in
Section 12.5.

               1.1.134.        “Sexual Abuse” means any and all acts or omissions that the Debtor
or a Protected Party may be or is alleged to be legally responsible for that arise out of, are based
upon, or involve sexual conduct or misconduct, sexual abuse or molestation, sexual exploitation,
indecent assault and/or battery, rape, pedophilia, ephebophilia, or sexually related psychological
or emotional harm, humiliation, anguish, shock, sickness, disease, disability, dysfunction, or
intimidation, or any other sexual misconduct or injury, or contacts or interactions of a sexual nature
between an adult or child and a medical professional, coach, trainer, therapist, volunteer, or other


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authority figure allegedly affiliated with the Debtor, as a member or otherwise, or any current or
former employee or volunteer of the Debtor, or any other Person for whose acts or failures the
Debtor is or was allegedly responsible, or the alleged failure by the Debtor or a Protected Party or
their respective alleged agents, employees, or volunteers to report the same. An adult or child may
have been sexually abused whether or not this activity involved explicit force, whether or not this
activity involved genital or other physical contact, and whether or not there was physical,
psychological, or emotional harm to the adult or child. With regard to USOPC, the term “Sexual
Abuse” does not include any actual or alleged acts or omissions of the nature contemplated by this
provision involving athletes, medical professionals, coaches, trainers, therapists, volunteers,
authority figures, or other individuals unless such Abuse Claim relates to the Debtor.

               1.1.135.       “Sexual Abuse Claim” means a Claim arising from Sexual Abuse.

               1.1.136.      “Sharp Claim” means the secured Claim of Sharp Business
Systems, as assigned to Wells Fargo Financial Leasing, Inc.

             1.1.137.     “Survivors’ Committee” means the Additional Tort Claimants
Committee Of Sexual Abuse Survivors, appointed by the U.S. Trustee on December 19, 2018.

               1.1.138.     “Survivors’ Committee’s Professionals” means Pachulski Stang
Ziehl & Jones LLP, Rubin & Levin, P.C., and all other professionals, if any, which the Survivors’
Committee has retained or may retain to provide professional services in accordance with Section
1103(a) of the Bankruptcy Code and as approved by the Bankruptcy Court.

               1.1.139.       “Target Policy” shall have the meaning given to it in Section 10.8.3.

              1.1.140.       “Total Settlement Demand Amount” means $425,000,000.00,
which represents the aggregate amount of the CGL Insurer Settlement Offers.

               1.1.141.       “Trust” means the trust to be established pursuant to the Plan and
the Trust Agreement.

               1.1.142.     “Trust Agreement” means the agreement between and among the
Debtor, the Survivors’ Committee and the Settlement Trustee governing the Trust.

               1.1.143.       “Trust Assets” means all property funded to the Trust pursuant to
Section 9.2.2 of the Plan.

               1.1.144.        “Trust Documents” means the Trust Agreement and all other
instruments and other documents that are reasonably necessary or desirable in order to implement
the provisions of the Plan that relate to the creation, funding, and administration of the Trust.

                1.1.145.       “Trust Expenses” means the costs of administering the Trust,
including payments to the Settlement Trustee and payments to or on behalf of professionals
retained to represent the Trust.

               1.1.146.       “Trust Insurance Settlement” shall have the meaning given to it
in Section 10.8.3.


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                1.1.147.       “Trust Reserve” means a reserve sufficient to fund Trust Expenses
to be established by the Trustee.

              1.1.148.     “Twistars” means Twistars USA, Inc. d/b/a Geddert’s Twistars
Gymnastics Club USA, Geddert’s Twistars USA Gymnastics Club, Inc., Twistars USA, Inc., John
Geddert, and Kathryn Geddert.

             1.1.149.      “Twistars Payment” means the Two Million One Hundred Twenty
Five Thousand ($2,125,000.00) to be paid pursuant to the Twistars Settlement.

              1.1.150.       “Twistars Settlement” means that certain settlement agreement
between Twistars, the Twistars Settling Insurers, and certain Holders of Class 6 Claims.

            1.1.151.       “Twistars Settling Insurers” means Philadelphia Indemnity
Insurance Company, Lexington Insurance Company, New Hampshire Insurance Company,
Nationwide Mutual Insurance Company, and State Farm Fire and Casualty Company.

                1.1.152.       “Undeliverable Distribution” means a Distribution that was
returned to the Reorganized Debtor as undeliverable, and which shall be deemed an Undeliverable
Distribution on the date that such Distribution was returned.

              1.1.153.       “U.S. Trustee” means the Office of the United States Trustee for
Region 11, which includes the Southern District of Indiana.

               1.1.154.      “USOPC” means the United States Olympic and Paralympic
Committee.

               1.1.155.      “USOPC Claim” means General Unsecured Claim No. 299.

             1.1.156.       “USOPC Insurers” means Virginia Surety Company f/k/a/
Combined Specialty Insurance Company, National Casualty Company, Great American Assurance
Company, TIG Insurance Company, Gemini Insurance Company, and Philadelphia Indemnity
Insurance Company.

               1.1.157.      “USOPC Release” means the release provided for in Section 12.11
of the Plan.

              1.1.158.     “USOPC Settling Insurers” means any USOPC Insurer that
accepts such USOPC Insurer’s CGL Insurer Settlement Offer.

                             ARTICLE II. INTERPRETATION

        2.1   Bankruptcy Code Section 102. The rules of construction in Bankruptcy Code
Section 102 apply to this Plan to the extent not inconsistent with any other provision of this
Article II.




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      2.2    Undefined Terms. Any term that is not defined herein, but that is used in the
Bankruptcy Code or the Bankruptcy Rules, shall have the meaning assigned to that term in the
Bankruptcy Code or the Bankruptcy Rules, as applicable.

       2.3    Plan Definitions Control. The definition given to any term or provision in the Plan
supersedes and controls any different meaning that may be given to that term or provision in the
Bankruptcy Code, the Bankruptcy Rules, or the Disclosure Statement.

         2.4    Include and Including. The terms “including” or “include(s)” are intended to be
illustrative and not exhaustive, and shall be construed as “including, but not limited to” or
“include(s), but is not limited to.”

        2.5    Plural and Singular Terms. Whenever the context requires, terms shall include
the plural as well as the singular number, and the masculine gender shall include the feminine and
the feminine gender shall include the masculine.

       2.6     References to Court Filings. Unless the context should otherwise require, all
references to documents to be filed shall refer to filing with the Bankruptcy Court in accordance
with the Bankruptcy Code and Bankruptcy Rules.

      2.7    Inclusion of Amended Agreements. Any reference in the Plan to an existing
document or exhibit filed or to be filed means such document or exhibit, as it may have been or
may be amended, modified, or supplemented.

       2.8    Exhibits. Unless otherwise specified, all references in the Plan to “Articles,”
“Sections,” “Exhibits” and “Schedules” are references to Articles, Sections, Exhibits and
“Schedules” of or to the Plan.

        2.9      Herein/Hereof/Hereto. The words “herein,” “hereof,” and “hereto” refer to the
Plan in its entirety rather than to a particular portion of the Plan.

        2.10 Headings. Captions and headings to Articles and Sections are inserted for ease of
reference only and shall not be considered a part of the Plan or otherwise affect the interpretation
of the Plan.

        2.11 No Admissions. The Plan makes no judgments about the validity of, or insurance
coverage for, any particular Claims. Nothing contained in this Plan constitutes an admission by
any Person of liability or insurance coverage for, or the validity, priority, amount, or extent of, any
Claim, lien, or security interest asserted against the Debtor or against any third party. The fact that
a CGL Insurer agreed to make an Agreed CGL Insurer Payment is not an admission of liability and
that fact may not be used or presented in any court for any reason if the Plan that is confirmed is
the Litigation Only Alternative.

        2.12 Computation of Time. In computing any period of time prescribed or allowed by
the Plan, unless otherwise expressly provided, the provisions of Bankruptcy Rule 9006(a) shall
apply. If any act under the Plan is required to be performed on a date that is not a Business Day,
then the performance of such act may be completed on the next succeeding Business Day, but shall



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be deemed to have been completed as of the required date. Enlargement of any period of time
prescribed or allowed by the Plan shall be governed by the provisions of Bankruptcy Rule 9006(b).

        2.13 Merger. The Plan supersedes all prior plans, drafts of the Plan, and all prior
negotiations, agreements, and understandings with respect to the Plan, evidence of which shall not
affect the interpretation of any provision of the Plan.

                      ARTICLE III. MEANS OF FUNDING THE PLAN

        3.1    Plan’s Objective. The Plan provides the means for settling and paying all Claims
asserted against the Debtor. With respect to holders of General Unsecured Claims that do not elect
treatment as General Unsecured Convenience Claims, such Claims will receive payments over
three years in an amount equal to eighty (80%) percent of such Holder’s Allowed Claim. With
respect to Abuse Claims, the USOPC Claim, and the Class 9 Indemnification Claims, the Plan
provides two alternatives: (a) the Full or Partial Settlement Alternative, and (b) the Litigation Only
Alternative.

               3.1.1. Full or Partial Settlement Alternative: If the CGL Insurers commit to
fund the Total Settlement Demand Amount or the Debtor and the Survivors’ Committee jointly
elect to proceed with the Partial Settlement Option, in accordance with Section 3.5, the Plan
provides for the creation of a Trust for the exclusive benefit of Abuse Claimants and Future
Claimants. The Trust Assets will consist of contributions of the Net Settlement Payment by the
Debtor and by Participating Parties and Settling Insurer(s) and, if applicable and to the full extent
allowed without impairment of any CGL Insurers’ coverage obligations, the assignment of
Insurance Claims, including Insurance Claims held by Settling Insurers and Participating Parties.
Trust Assets will be used to fund Distributions to holders of Abuse Claims and holders of Future
Claims. Under the Partial Settlement Option, Abuse Claimants whose Claims are covered by a
Non-Settling Insurers’ policy may elect to pursue litigation against the Debtor and any other
defendant; provided, however, that any such Claims are subject to the terms of this Plan and that
Claims against the Debtor or a Protected Party may recover only from a CGL Insurance Policy
issued by a Non-Settling Insurer of the Debtor or a CGL Insurance Policy issued by a Non-Settling
Insurer of a Protected Party. Exhibit E hereto identifies which Abuse Claims are covered by each
CGL Insurance Policy.

A Future Claims Reserve will be established for the payment of any Future Claims and any
amounts remaining in the Future Claims Reserve will revert to the Trust’s general funds for use
and Distribution as set forth in the Trust Agreement after five years. Distributions and reserves
from the Trust to Abuse Claimants and Future Claimants will be determined by application of the
Allocation Protocol and the Future Claimant Allocation Protocol, as the case may be. Sexual
Abuse Claims filed after the Bar Date or not deemed to be filed by the Bar Date will not receive
any Distribution from the Trust, but will be channeled to the Trust and subject to the Channeling
Injunction.

Each Protected Party and Settling Insurer will receive the benefit of injunctions and releases
provided under this Plan, including under Article XII of the Plan. Nothing in this Plan is intended
to replace and does not affect, diminish or impair the liabilities of any Non-Settling Insurer or any




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Person that is not a Protected Party under applicable non-bankruptcy law, including the law
governing joint and several liabilities.

                3.1.2. Litigation Only Alternative: If the CGL Insurers do not commit to fund
the Total Settlement Demand Amount or the Debtor and the Survivors’ Committee do not agree to
proceed with the Partial Settlement Option, the Plan does not provide for the creation of a Trust or
for a Future Claims Reserve. Instead, as set forth in Article XIII, the Plan permits all Holders of
Abuse Claims filed or deemed to be filed by the Bar Date to prosecute their Claims against the
Reorganized Debtor in name only in the courts where such Claims were pending before the Petition
Date or the courts in which such Claims could have been brought, but for the automatic stay
imposed by Section 362 of the Bankruptcy Code. Holders of Abuse Claims may recover any
judgments or awards against the Debtor only from the proceeds of the CGL Insurance Policies
issued by the Debtor’s CGL Insurers. The 105 Order will be vacated. The Plan will include no
injunctions and releases for the benefit of Settling Insurers or Protected Parties. The Debtor will
not enter into Buy-Back Agreements with any of the Debtor’s CGL Insurers and all of the Debtor’s
Insurance Policies shall remain in full force and effect. The Debtor will receive a discharge.

       3.2     Survivors’ Committee’s Offer To Resolve Abuse Claims.

               3.2.1. Survivors’ Committee’s Offer To The CGL Insurance Carriers.
Through the Plan, the Survivors’ Committee offers to fully and finally resolve all Abuse Claims
and the FCR Claim against the Debtor and its Related Persons, the USOPC and its Related Persons,
the Karolyis and their Related Persons, and the Non-Debtor CGL Settling Insured Covered
Persons. This is a compromise resolution of the contested Abuse Claims based upon a reasonable
assessment of the risks and potential costs of continued litigation.

                3.2.2. The CGL Insurer Settlement Offer. The CGL Insurer Settlement Offer
made to each CGL Insurer set forth below is an independent offer to compromise with that CGL
Insurer for Claims potentially triggering such CGL Insurer’s applicable CGL Insurance Policy and
is contingent only upon: (i) the Holders of Class 6 Claims voting to accept the Plan; (ii) the
acceptance of all CGL Insurer Settlement Offers by each and every CGL Insurer (for the avoidance
of doubt, acceptance of the CGL Insurer Settlement Offers means, with respect to a CGL Insurer
that also issued policies to the USOPC and/or the Karolyis, the acceptance of the total CGL Insurer
Settlement Offer for each of those policies, as set forth below); and (iii) certain judicial
determinations described below.




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          CGL Insurers                         CGL Insurer Settlement Offer
          Virginia Surety Company f/k/a/
          Combined Specialty Insurance Company
              Debtor Policies                  $27,899,577
              USOPC Policies                   $4,230,199

                                                       Total: $32,129,776
          National Casualty Company
             Debtor policies                           $XXXX
             USOPC policies                            $XXXX
                                                                     2
                                                       Total: $XXX
          TIG Insurance Company
            Debtor policies                            $67,157,545
            USOPC policies                             $39,044,273

                                                       Total: $106,201,818
          CIGNA Insurance Company (n/k/a ACE           Total: $XXXX
          American Insurance Company)
          (Debtor Policies Only)
          National Union Fire Insurance Company Total: $XXXX
          of Pittsburgh, P.A. (n/k/a AIG)
          (Debtor Policies Only)
          Gemini Insurance Company              Total: $XXXX
          (USOPC Policies Only)

          Great American Assurance Company
            Debtor/Karolyi Policies                    $28,121,305
            USOPC Policies                             $13,166,680

                                                       Total: $41,287,985
          Philadelphia Indemnity Insurance             Total: $1,903,311
          Company
          (USOPC Policies Only)
          Total:                                       Total: $425,000,000.00


        3.3    Debtor’s Representations. The Debtor supports the CGL Insurer Settlement
Offers and has demanded that the Debtor CGL Insurers accept the CGL Insurer Settlement Offers.
In support of the CGL Insurer Settlement Offers, the Debtor has agreed, assuming that the Total
Settlement Demand Amount is funded or the Debtor and the Survivors’ Committee jointly elect to
proceed with the Partial Settlement Option, that on the Effective Date, each Debtor Settling CGL
Insurer may buy-back its Debtor CGL Insurance Policies pursuant to the Buy-Back Agreement.

2
    CGL Insurers who have reached agreement on a number are shown as XXXX.


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The Debtor has agreed that it will obtain approval of such Buy-Back Agreements pursuant to
Bankruptcy Code §363(b), (f), §1123(a)(5), (b)(6) and §1129. The USOPC has agreed that on the
Effective Date, it will provide the USOPC Release to each of the USOPC Settling Insurers (other
than with respect to an Abuse Claim for which USOPC has not received a release from the Sexual
Abuse Claimant) and the Karolyis have agreed that on the Effective Date they will provide the
Karolyi Release to the Karolyi Settling Insurer (other than with respect to an Abuse Claim for
which the Karolyis have not received a release from the Sexual Abuse Claimant). Each Settling
Insurer will receive the benefit of the Plan’s Channeling Injunction and other injunctions and
releases set forth in this Plan. The support of the Debtor, the USOPC, or the Karolyis for the CGL
Insurer Settlement Offers, shall not be deemed to be an admission of liability of any sort by any
Person, and may not be proffered as such in any forum.

        3.4     Deadline To Accept CGL Insurer Settlement Offer. The deadline for each CGL
Insurer to either accept or reject its CGL Insurer Settlement Offer is the date set for the hearing on
approval of the Disclosure Statement, or such later date as agreed to by the Survivors’ Committee
and the Debtor.

        3.5     Partial Settlement Option. If fewer than all of the CGL Insurers accept the CGL
Insurer Settlement Offers by the date set for the hearing on approval of the Disclosure Statement
, the Debtor and the Survivors’ Committee may, each in their sole discretion, jointly elect to invoke
the Partial Settlement Option Provisions, set forth in Article X of this Plan, in which case the
Insurance Claims against any Non-Settling CGL Insurer shall be transferred to the Trust as set
forth in Section 10.5 (the “Partial Settlement Option”). The Debtor and the Survivors’
Committee will provide notice of whether such election will be made by the conclusion of the
hearing to approve the Disclosure Statement.

        3.6      Funding of Agreed CGL Insurer Payments. If the Settlement Offer Amount is
fully funded or if the Debtor and the Survivors’ Committee elect to proceed with the Partial
Settlement Option, on the Effective Date, (i) each Settling Insurer shall make its Agreed CGL
Insurer Settlement Payment by wire transfer to the Debtor pursuant to such Settling Insurer’s Buy-
Back Agreement and (ii) the Trust will be established pursuant to the Trust Agreement for the
exclusive benefit of the Holders of Abuse Claims and the FCR Claim. Upon receipt of the Agreed
CGL Insurer Payments from the Settling Insurers, the Debtor will wire the Net Settlement Payment
to the Trust. In addition, the Trust will also be funded with the Twistars Settlement and, in the event
that the Debtor and the Survivors’ Committee elect to proceed with the Partial Settlement Option,
a transfer of the Insurance Claims against the Non-Settling Insurers, as set forth in Section 10.5.

        3.7     Other Trust Funding. If the Settlement Offer Amount is fully funded or if the
Debtor and the Survivors’ Committee jointly elect to proceed with the Partial Settlement Option,
the Plan also provides for the implementation of the Twistars Settlement and the contribution of
the Twistars Payment to the Trust. Twistars, the Twistars Settling Insurers, and certain holders of
Class 6 Claims agreed to the Twistars Settlement conditioned upon the Twistars Settlement being
implemented through a plan of reorganization for the Debtor that provided for a channeling
injunction that protected Twistars and the Twistars Settling Insurers. The Debtor was not a party
to the Twistars Settlement, however, the Debtor has agreed to implement the Twistars Settlement




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through the Plan. On the Effective Date, the Twistars Settling Insurers shall make the Twistars
Payment to the Trust by wire transfer.

         3.8    Resolution of the Insurance Coverage Adversary Proceeding as to the Settling
Insurers under the Full or Partial Settlement Alternative. Under the Full or Partial Settlement
Alternative, the Confirmation Order shall provide that, subject to the occurrence of the Effective
Date, the Debtor and any other plaintiffs shall dismiss with prejudice any and all Claims against
the Settling Insurers in the Insurance Coverage Adversary Proceeding, provided, however, that
such dismissal shall not affect the Claims of the Debtor and any other plaintiffs against any Non-
Settling Insurers nor shall such dismissal affect the Personal Injury Insurance Coverage, solely as
to the Personal Injury Claim. The Reorganized Debtor shall continue to prosecute its Costs Motion
and the recovery of Insurance Reimbursement Claims against any Non-Settling Insurers. Any
recovery on account of the Costs Motion or any Insurance Reimbursement Claim shall be used
first to repay the Trust its Professional Fee Hold-Back less the costs of such litigation incurred
after the Effective Date with the balance of any recovery retained by the Reorganized Debtor.
From and after the Effective Date, except with respect to any Settling Insurer, the Trust may pursue
all other Insurance Claims through the Insurance Coverage Adversary Proceeding or such other
action as the Trust determines to file.

        3.9     Debtor CGL Settling Insurers’ Obligation To Reimburse The Debtor For
Insurance Reimbursement Claims. The Debtor CGL Settling Insurers will continue pay any
reasonable and necessary attorneys’ fees, costs, and/or expenses incurred by the Debtor of the same
nature and type that such Settling Insurer has historically been paying on behalf of the Debtor, in
the ordinary course of business since the Petition Date and prior to the Effective Date, pursuant to
the Debtor CGL Settling Insurance Policies, including but not limited to the policies listed on
Exhibit A, but such obligation shall not include any fees or costs of the nature and/or type sought
in the Costs Motion, and/or any fees or costs for a claim for that Settling Insurer previously denied
coverage. To the extent any such amounts are outstanding on the Effective Date (the “Outstanding
Amount”), the Debtor CGL Settling Insurer which owes such Outstanding Amount shall pay such
Outstanding Amount to the Debtor or its applicable vendor on the Effective Date and the Debtor
shall retain such Outstanding Amount and shall not be obligated to transfer such Outstanding
Amount to the Trust. The payment of an Outstanding Amount shall be in addition to the payment
of the Debtor CGL Settling Insurers’ Agreed CGL Insurer Payment. The Debtor retains the right
to continue to pursue collection of the Outstanding Amounts and any additional amounts that may
come due after the Effective Date from any of the Debtor’s CGL Insurers that are not a Settling
Insurer and from the Debtor’s Other Insurers. Consistent with the foregoing, the Outstanding
Amount owed by a Debtor CGL Settling Insurer on the Effective Date shall not include any
attorneys’ fees, costs or expenses for which the Debtor is seeking reimbursement in the Costs
Motion. If the Outstanding Amounts owed to EPIQ are still the subject of an on-going arbitration
or otherwise in dispute as of the Effective Date, the existence of any Outstanding Amounts owed
by any Debtor CGL Settling Insurer to EPIQ shall in no way prevent any Debtor CGL Settling
Insurer from having all of the protections afforded a Debtor CGL Settling Insurer under this Plan.
If such arbitration or other dispute is resolved against a Debtor CGL Settling Insurer after the
Effective Date, the Debtor CGL Settling Insurer shall pay or otherwise settle the amounts




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determined to be due to EPIQ by such Debtor CGL Settling Insurer notwithstanding the Buy-Back
Agreement with such Debtor CGL Settling Insurer.

        3.10 Class 9 Indemnification Claims and USOPC Claim. Under the Full or Partial
Settlement Alternative, the Holders of the Class 9 Indemnification Claims and the USOPC Claim
and their related Released Parties will receive the benefits of the Channeling Injunction and the
other releases, covenants not to execute, injunctions and related provisions under this Plan,
including the Trust’s obligation to indemnify and defend a Protected Party with respect to
Channeled Claims (as set forth in Section 9.11), in full and complete satisfaction of such Claims
and will not receive any payment from the Trust (other than any payment required under Section
9.11), or the Debtor, or the Estate; provided, however, that under the Partial Settlement Alternative,
the Holders of Class 9 Indemnification Claims and the USOPC Claim will retain any rights that
such Holder has to receive indemnification or reimbursement from the Debtor, including all of its
rights (if any) to reimbursement, indemnification, or a defense under any of the Debtor’s Non-
Settling Insurer insurance policies, but only for Abuse Claims falling under the Debtor’s Non-
Settling Insurer insurance policies and only to the extent that there is coverage under the Debtor’s
Non-Settling Insurer insurance policies for such Indemnification Claim or the USOPC Claim and
then only to the extent of any payment made by such Debtor Non-Settling Insurer, which shall be
the sole source of recovery on account of any Class 9 Claim or the USOPC Claim under the Partial
Settlement Option. Under the Litigation Only Alternative, there will be no Distribution to the
Holders of the Class 9 Indemnification Claims; provided, however, that all rights that the Holders
of Class 9 Indemnification Claims have to reimbursement or indemnification from the Debtor are
preserved but the sole source of recovery for such Claims shall be from the Debtor’s CGL
Insurance Policies. Under the Litigation Only Alternative, the USOPC Claim will be treated as a
Class 5 General Unsecured Claim in the maximum amount of $88,983.34; provided, however, (a)
that nothing herein shall be deemed to be a determination that the USOPC Claim is Allowed in the
amount of $88,983.34, and the Debtor shall retain the right to object to the USOPC Claim as a
Class 5 General Unsecured Claim; and (b) that all rights that the Holder of the USOPC Claim has
to reimbursement or indemnification from the Debtor are preserved, but the sole source of recovery
for any such reimbursement or indemnification Claim shall be from the Debtor’s CGL Insurance
Policies. Under the Full or Partial Settlement Alternative or the Litigation Only Alternative, the
Holders of Class 9 Indemnification Claims and the USOPC Claim shall not be entitled to recover
on account of their Class 9 Indemnification Claims and the USOPC Claim from the Reorganized
Debtor’s Revested Assets or property acquired by the Reorganized Debtor after the Effective Date
(except, and only under the Litigation Only Alternative, to the extent some or all of the $88,983.34
portion of the USOPC Claim is Allowed as a Class 5 General Unsecured Claim, such portion shall
be paid in accordance with this Plan). For the avoidance of doubt, to the extent of any conflict
between the terms of this Plan, on the one hand, and the Debtor’s bylaws or any agreement between
the Debtor and the Holders of the USOPC Claim or a Class 9 Indemnification Claim, on the other,
this Plan controls.

       3.11 Sexual Abuse Claims Filed After The Bar Date Or Not Deemed To Be Timely
Filed. Under both the Full or Partial Settlement Alternative and the Litigation Only Alternative,
Sexual Abuse Claims filed after the Bar Date that are not deemed by the Bankruptcy Court to be




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timely filed shall receive nothing under the Plan, but shall be subject in all respects to the
Channeling Injunction and other injunctions and releases in this Plan.

       3.12 Claims Other Than Abuse Claims, Class 9 Indemnification Claims, and the
USOPC Claim. General Unsecured Claims will be paid from existing and future revenues of the
Reorganized Debtor over time in accordance with the Plan. The Plan permits the Personal Injury
Claimant to settle her Claim with the Personal Injury Insurer or prosecute a lawsuit against the
Reorganized Debtor in name only in the court in which the Personal Injury Claim could have been
brought, but for the automatic stay, and to recover any judgments or settlement awards exclusively
from the Personal Injury Insurance Policy. For the avoidance of doubt, only the proceeds of the
Personal Injury Insurance Policy are available to satisfy the Personal Injury Claim. The Debtor is
not admitting liability for the Personal Injury Claim. The Allowed Other Priority Claims, the PNC
Bank Claim, the Sharp Claim, the PPP Loan Claim, and General Unsecured Convenience Claims
are unimpaired under the Plan.

       3.13 Discharge. The Debtor will receive the benefit of a Section 1141(d) discharge
under both the Full or Partial Settlement Alternative and the Litigation Only Alternative.

                ARTICLE IV. TREATMENT OF UNCLASSIFIED CLAIMS

         4.1    Administrative Claims. Requests for allowance and payment of Administrative
Claims must be filed and served no later than thirty (30) days after a notice of the Effective Date
is filed with the Bankruptcy Court. Each Holder of an Allowed Administrative Claim against the
Debtor shall receive, in full satisfaction, settlement, release, and extinguishment of such Claim,
Cash equal to the Allowed amount of such Allowed Administrative Claim, either (a) on or as soon
as practicable following the Effective Date, or, if later, the Allowance Date; or (b) upon such terms
as may be agreed to in writing by the Administrative Claimant. Provided, however, that any
Administrative Claim incurred post-petition by the Debtor in the ordinary course of its operations
or arising pursuant to one or more post-petition agreements or transactions entered into by the
Debtor with Bankruptcy Court approval, including the PPP Loan Claim, shall be paid or performed
in accordance with the terms and conditions of the particular transaction(s) and any agreement(s)
relating thereto, or as otherwise agreed by the Debtor and the Estate (if before the Effective Date)
or the Reorganized Debtor (on and after the Effective Date), on the one hand, and the Holder of
such Administrative Claim, on the other.

       4.2     Professional Claims.

                4.2.1. Bar Dates for Professional Claims. All Professionals or other Persons
requesting compensation or reimbursement of expenses pursuant to any of Sections 327, 328, 330,
331, 503(b), and 1103 of the Bankruptcy Code for services rendered on or before the Effective
Date (including, among other things, any compensation requested by any Professional or any other
Person for making a substantial contribution in the Chapter 11 Case) shall file and serve in
accordance with the Bankruptcy Court’s case management order an application for final allowance
of compensation and reimbursement of expenses accruing from the Petition Date to the Effective
Date, no later than the Professional Claims Bar Date.




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               4.2.2. Objections to Professional Claims. Objections to Professional Claims or
Claims of other Persons for compensation or reimbursement of expenses must be filed and served
on the Reorganized Debtor and the Professionals or other Persons to whose application the
objections are addressed on or before (a) twenty-one (21) days after the Professional Claims Bar
Date; or (b) such later date as (i) the Bankruptcy Court shall order upon application made prior to
the end of such 21-day period or (ii) is agreed between the Debtor and the Estate (if before the
Effective Date) or the Reorganized Debtor (on and after the Effective Date), as applicable, and the
affected Professional or other Person.

        4.3     U.S. Trustee Fees. All fees due and payable pursuant to 28 U.S.C. § 1930 and not
paid prior to the Effective Date shall be paid in Cash as soon as practicable after the Effective Date.
After the Effective Date, the Reorganized Debtor shall pay quarterly fees to the U.S. Trustee, in
Cash, until the Chapter 11 Case is closed and a final decree is entered under Rule 3022 of the
Bankruptcy Rules. In addition, the Reorganized Debtor shall file post-Confirmation Date reports
in conformance with the U.S. Trustee guidelines. The U.S. Trustee shall not be required to file a
request for payment of its quarterly fees, which will be deemed Administrative Claims against the
Debtor and the Estate.

        4.4     Priority Tax Claims. With respect to each Allowed Priority Tax Claim not paid
prior to the Effective Date, the Reorganized Debtor shall (a) pay such Claim in Cash as soon as
practicable after the Effective Date; or (b) provide such other treatment agreed to by the Holder of
such Allowed Priority Tax Claim and the Debtor and the Estate (if before the Effective Date) or
the Reorganized Debtor (on and after the Effective Date).

                        ARTICLE V. CLASSIFICATION OF CLAIMS

        5.1      Classification of Claims. All Claims except Administrative Claims and Priority
Tax Claims are placed in the following Classes for all purposes including voting, confirmation of
the Plan, and Distributions pursuant to the Plan. A Claim is classified in a particular Class only to
the extent the Claim qualifies within the description of that Class and is classified in a different
Class to the extent the Claim qualifies within the description of that different Class. Except as
otherwise provided under the Bankruptcy Code or applicable law, if a Claim (other than a Claim
entitled to priority status under Section 507 of the Bankruptcy Code) is acquired or transferred, the
Claim will be placed in the Class where it would have been placed if it were owned by the original
Holder of such Claim. If a Claimant has more than one Claim in the same Class, such Claims will
be aggregated and treated as a single Claim. If a Claimant has Claims in different Classes, such
Claims will be aggregated only within the same Class and not between Classes.




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  CLASS                    DESCRIPTION                    IMPAIRMENT               VOTING
 1           Other Priority Claims                        Unimpaired         Deemed to Accept
 2           PNC Bank Claim                               Unimpaired         Deemed to Accept
 3           Sharp Claim                                  Unimpaired         Deemed to Accept
 4           General Unsecured Convenience Claims         Unimpaired         Deemed to Accept
 5           General Unsecured Claims                     Impaired           Yes
 6           Abuse Claims                                 Impaired           Yes
 7           Personal Injury Claim                        Impaired           Yes
 8           USOPC Claim                                  Impaired           Yes
             Indemnification Claims (other than the
             USOPC Claim which is separately classified
 9           in Class 8)                                Impaired             Yes
 10          FCR Claim                                    Impaired           Yes
 11          Sexual Abuse Claims filed after the Bar      Impaired           No
             Date


        5.2    Treatment in Complete Satisfaction. The treatment in this Plan is in full and
complete satisfaction of all of the legal, contractual, and equitable rights that each Holder of a
Claim may have against the Debtor, the Estate, or its Assets. This treatment supersedes and
replaces any agreements or rights those Holders have in or against the Debtor, the Estate, or its
Assets. All Distributions under the Plan will be tendered to the Person holding the Claim.

        ARTICLE VI. TREATMENT OF UNIMPAIRED CLASSES OF CLAIMS

       6.1      Class 1: Other Priority Claims.

              6.1.1. Impairment and Voting. Class 1 is unimpaired under the Plan. Holders of
Class 1 Claims are deemed to have accepted the Plan under Section 1126(f) of the Bankruptcy
Code and are not entitled to vote on the Plan.

                6.1.2. Treatment. The Holders of Class 1 Claims will receive either (a) payment
from the Reorganized Debtor of the full amount of their Allowed Claims in Cash, without interest
on or as soon as practicable following the Effective Date or, if later, the Allowance Date; or
(b) payment of their Allowed Claims upon such terms as may be agreed in writing by the Claimant
and the Debtor and the Estate (if before the Effective Date) or the Reorganized Debtor (on and
after the Effective Date).




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       6.2     Class 2: PNC Bank Claim.

                6.2.1. Impairment and Voting. Class 2 is unimpaired under the Plan. PNC Bank
is deemed to have accepted the Plan under Section 1126(f) of the Bankruptcy Code and is not
entitled to vote on the Plan.

                6.2.2. Treatment. The VISA Commercial Card Agreement dated as of May 7,
2010, as amended from time to time, between PNC Bank and the Debtor shall be reinstated and
become the obligation of the Reorganized Debtor. PNC Bank shall retain all of its rights and
collateral pledged under the VISA Commercial Card Agreement.

       6.3     Class 3: Sharp Claim.

               6.3.1. Impairment and Voting. Class 3 is unimpaired under the Plan. Sharp is
deemed to have accepted the Plan under Section 1126(f) of the Bankruptcy Code and is not entitled
to vote on the Plan.

               6.3.2. Treatment. The Value Lease Agreement, Equipment Sales Agreement, and
Customer Care Maintenance Agreement between Sharp Business Systems and the Debtor shall be
deemed assumed and will become the obligation of the Reorganized Debtor. Sharp Business
Systems shall retain all of its rights and collateral under the Value Lease Agreement, Equipment
Sales Agreement, and Customer Care Maintenance Agreement.

       6.4     Class 4: General Unsecured Convenience Claims.

               6.4.1. Impairment and Voting. Class 4 is unimpaired under the Plan. The Holders
of Class 4 Claims are deemed to have accepted the Plan under Section 1126(f) of the Bankruptcy
Code and are not entitled to vote on the Plan.

               6.4.2. Treatment. The Holders of Class 4 Claims will receive either (a) payment
from the Reorganized Debtor of the full amount of their Allowed General Unsecured Convenience
Claims in Cash, on or as soon as reasonably practicable following the Effective Date or, if later,
the Allowance Date; or (b) payment of their Allowed General Unsecured Convenience Claims
upon such terms as may be agreed in writing by the Claimant and the Debtor and the Estate (if
before the Effective Date) or the Reorganized Debtor (on and after the Effective Date).

          ARTICLE VII. TREATMENT OF IMPAIRED CLASSES OF CLAIMS

       7.1     Class 5: General Unsecured Claims.

             7.1.1. Impaired and Voting. Class 5 is impaired under the Plan. The Holders of
Allowed General Unsecured Claims are entitled to vote on the Plan.

              7.1.2. Treatment. The Holders of Allowed General Unsecured Claims will
receive payment from the Reorganized Debtor of 80% of their Allowed General Unsecured
Claims, payable in equal installments on August 15, 2022, August 15, 2023, and August 15, 2024;
or, at the Reorganized Debtor’s discretion, in less than three installments so long as the
Reorganized Debtor accelerates payment to all Holders of Allowed General Unsecured Claims.


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Holders of Allowed General Unsecured Claims may elect to reduce their Claim to $500, in which
case their Claim will be treated as a Class 4 General Unsecured Convenience Claim for purposes
of this Plan.

        7.2     Class 6: Abuse Claims.

                7.2.1. Impaired and Voting. Class 6 is impaired under the Plan. The Holders of
Allowed Abuse Claims are entitled to vote on the Plan. Only for purposes of voting, each Claim
in Class 6 is deemed to be Allowed in the amount of $1.00.

               7.2.2. Treatment of Class 6 under the Full or Partial Settlement Alternative.
On the Effective Date of the Plan, the Trust shall assume all liability for and the Trust will pay all
Class 6 Claims pursuant to the provisions of the Plan and the Trust Documents. No Holder of a
Class 6 Claim shall be entitled to recover from the Reorganized Debtor’s Revested Assets or
property acquired by the Reorganized Debtor after the Effective Date of the Plan. Except as
otherwise provided in the Plan (including the Settling Insurer Injunction, the Channeling
Injunction, the covenants not to execute against property and assets of a Protected Party, the
exculpations, and the releases in this Plan), the Plan shall not affect the liability of any other Person
on, or the property of any other Person for, the Class 6 Claims, which liability shall continue
unaffected by the terms of this Plan or the discharge granted to the Debtor, the Estate, or the
Reorganized Debtor under this Plan and Bankruptcy Code Section 1141(d). Class 6 Claims will
exclude Sexual Abuse Claims that are not filed by the Bar Date; provided, however, that pursuant
to Section 21.2(f) of the Plan, the Bankruptcy Court may determine on a motion that an Abuse
Claim is deemed to be filed before the Bar Date. The Trust shall pay Abuse Claims in accordance
with the Plan, the Confirmation Order, and the Trust Documents and the Allocation Protocol.
Because Abuse Claims and Future Claims are being paid by the Trust without regard to whether
those Claims are covered by the insurance policies issued by Settling Insurers: (a) the Trust shall
be deemed subrogated to the Claims of Abuse Claimants paid by the Trust to the extent of those
payments; and (b) the Trust may pursue such subrogation Claim or any contribution Claim;
provided however, that no such action may be brought against a Protected Party.

                7.2.3. Treatment of Class 6 under the Litigation Only Alternative. The Plan
permits the Holders of Abuse Claims filed or deemed to be filed before the Bar Date to prosecute
their Claims against the Reorganized Debtor in name only in the courts where such Claims were
pending before the Petition Date or the courts in which such Claims could have been brought, but
for the automatic stay imposed by Section 362 of the Bankruptcy Code, and to recover any
judgments or awards exclusively from the Reorganized Debtor’s CGL Insurance Policies (and
Other Insurance Policies, if any, that provide coverage for Abuse Claims). For the avoidance of
doubt, only the proceeds of the Reorganized Debtor’s CGL Insurance Policies (and Other
Insurance Policies, if any, that provide coverage for Abuse Claims) will be available to satisfy
Abuse Claims. The Debtor is not admitting liability for any such Claims. Abuse Claims that are
not filed or deemed filed by the Bar Date are disallowed and will receive nothing under the Plan.




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       7.3     Class 7: Personal Injury Claim.

               7.3.1. Impaired and Voting. Class 7 is impaired under the Plan. The Holder of
the Class 7 Claim is entitled to vote on the Plan. Only for purposes of voting, the Claim in Class 7
is deemed to be $1.00.

                 7.3.2. Treatment. On the Effective Date, the stay shall be lifted and the Holder of
the Class 7 Claim shall have thirty (30) days to file a lawsuit against the Reorganized Debtor,
subject to any applicable statute of limitations or repose, or the equitable doctrine of laches, in
accordance with Section 108(c) of the Bankruptcy Code, or reach a settlement paid by the Personal
Injury Insurer. The allowance or disallowance of the Class 7 Claim will be determined in any
litigation brought by the Personal Injury Claimant, commenced or continued after the Effective
Date of the Plan. To the extent the Holder of the Class 7 Claim obtains an award in any such
litigation, the sole source of recovery for such Claimant shall be from the Personal Injury Insurance
Policy; provided, however, that nothing herein prevents, or shall be deemed to prevent the buyback
of the Personal Injury Policy and all other coverages thereunder other than for the Personal Injury
Claim. The Holder of the Class 7 Claim shall not be entitled to recover from the Reorganized
Debtor’s Revested Assets or property acquired by the Reorganized Debtor after the Effective Date.
Nothing contained herein shall enlarge the rights or Claims of the Holder of the Class 7 Claim or
limit or waive any defenses to the Class 7 Claim. Unless otherwise provided in this Plan, the Plan
shall not affect the liability of any other Person on, or the property of any other Person for, the
Class 7 Claim including the liability of the Personal Injury Insurer, which liability shall continue
unaffected by the terms of this Plan or the discharge granted to the Debtor, the Estate, or the
Reorganized Debtor under this Plan and Section 1141(d) of the Bankruptcy Code. Nothing in the
Plan is intended to affect, diminish, or impair the Holder of the Class 7 Claim’s right against any
other parties (except the Released Parties), including such party’s joint and several liability.

       7.4     Class 8: USOPC Claim.

               7.4.1. Impairment and Voting. Class 8 is impaired under the Plan. The Holder of
the USOPC Claim is entitled to vote on the Plan. Only for purposes of voting, the Claim in Class
8 is deemed to be $1.00.

               7.4.2. Treatment of Class 8 under the Full or Partial Settlement Alternative.
The Holder of the Class 8 Claim shall not receive a distribution under the Plan. If the Total
Settlement Demand Amount is funded on the Effective Date of the Plan, all rights that the USOPC
has to receive indemnification or reimbursement from the Debtor, including any right to receive
reimbursement, indemnification, or a defense under any of the Debtor’s Insurance Policies, shall
be satisfied by granting USOPC on account of the USOPC Claim the benefit of the Channeling
Injunction and releases and exculpation provisions under this Plan and by deeming any Abuse
Claim against the USOPC to be a Channeled Claim and USOPC to be a Participating Party and
Protected Party. In the case of the Partial Settlement Option, all rights USOPC has to receive
indemnification or reimbursement from the Debtor, including any right to receive reimbursement,
indemnification, or a defense under any of the Debtor’s Settling Insurance Policies, with respect
to Abuse Claims falling under the insurance policies of any Settling Insurer, shall be satisfied by
granting the USOPC on account of the USOPC Claim the benefit of the Channeling Injunction and
the covenants not to execute, releases, and exculpation provisions under this Plan and by deeming


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any Abuse Claim falling under the insurance policies of any Settling Insurers against the USOPC
to be a Channeled Claim and USOPC to be a Participating Party and Protected Party with respect
to those Abuse Claims covered by a Settling Insurer policy. In the case of the Partial Settlement
Option, the USOPC will retain any independent rights that the USOPC has under any of the
Debtor’s Non-Settling Insurance Policies as well as any right it has to receive indemnification or
reimbursement from the Debtor, including all of its rights to reimbursement, indemnification, or a
defense under any of the Debtor’s Non-Settling Insurer policies, but only for Abuse Claims falling
under the Debtor’s Non-Settling Insurer insurance policies and only to the extent that there is
coverage under the Debtor’s Non-Settling Insurer insurance policies for the USOPC Claim and
then only to the extent of any payment made by such Debtor Non-Settling Insurer, which shall be
the sole source of recovery on account of the USOPC Claim under the Partial Settlement Option.
The USOPC shall not be entitled to recover from the Reorganized Debtor’s Revested Assets, or
property acquired by the Reorganized Debtor after the Effective Date of the Plan and shall be
deemed to have released all Claims against the Debtor, the Estate, the Reorganized Debtor, and all
rights and Claims arising under, relating to, or in connection with any of the Debtor’s Insurance
Policies issued by a Debtor CGL Settling Insurer.

                 7.4.3. Treatment of Class 8 under the Litigation Only Alternative. The USOPC
Claim will be treated as a Class 5 General Unsecured Claim in the maximum amount of
$88,983.34; provided, however, (a) that nothing in this Section 7.4.3 shall be deemed to be a
determination that the USOPC Claim is Allowed in the amount of $88,983.34, and the Debtor shall
retain the right to object to the USOPC Claim as a Class 5 General Unsecured Claim; and (b) that
all rights that the Holder of the USOPC Claim has to reimbursement or indemnification from the
Debtor are preserved, but the sole source of recovery for any such reimbursement or
indemnification Claim shall be from the Debtor’s CGL Insurance Policies. Except to the extent
that some or all of the $88,983.34 portion of the USOPC Claim is Allowed as a Class 5 General
Unsecured Claim, the Holder of the USOPC Claim shall not be entitled to recover from the
Reorganized Debtor’s Revested Assets or property acquired by the Reorganized Debtor after the
Effective Date.

       7.5     Class 9: Indemnification Claims.

               7.5.1. Impairment and Voting. Class 9 is impaired under the Plan. The Holders
of Class 9 Indemnification Claims are entitled to vote on the Plan. Only for purposes of voting,
each Claim in Class 9 is deemed to be $1.00.

               7.5.2. Treatment of Class 9 under the Full or Partial Settlement Alternative.
Holders of Class 9 Claims shall not receive a distribution under the Plan. If the entire amount of
Total Settlement Demand Amount is funded on the Effective Date of the Plan, all rights that the
Holder of a Class 9 Claim has to receive indemnification or reimbursement from the Debtor,
including any right to receive reimbursement, indemnification, or a defense under any of the
Debtor’s Insurance Policies, shall be satisfied by granting the Holder of a Class 9 Claim the benefit
of the Channeling Injunction, and the releases and exculpation provisions (to the extent applicable)
under this Plan and by deeming any Abuse Claim against the Holder of a Class 9 Claim to be a
Channeled Claim and the Holder of a Class 9 Claim a Protected Party. In the case of the Partial
Settlement Option, all rights a Holder of Class 9 Claim has to receive indemnification or
reimbursement from the Debtor, including any right to receive reimbursement, indemnification, or


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a defense under any of the Debtor’s Settling Insurance Policies, with respect to Abuse Claims
falling under the insurance policies of any Settling Insurer, shall be satisfied by granting the Holder
of the Class 9 Claim the benefit of the Channeling Injunction, and the covenants not to execute,
releases, and exculpation provisions (to the extent applicable) under this Plan and by deeming any
Abuse Claim falling under the insurance policies of any Settling Insurers against the Holder of a
Class 9 Claim to be a Channeled Claim and the Holder of a Class 9 Claim to be a Participating
Party and Protected Party with respect to those Abuse Claims covered by a Settling Insurer policy.
In the case of the Partial Settlement Option, the Holder of a Class 9 Claim will retain any rights
that the Holder of such Indemnification Claim has to receive indemnification or reimbursement
from the Debtor, including all of its rights to reimbursement, indemnification, or a defense under
any of the Debtor’s Non-Settling Insurer policies, but only for Abuse Claims falling under the
Debtor’s Non-Settling Insurer insurance policies and only to the extent that there is coverage under
the Debtor’s Non-Settling Insurer insurance policies for such Class 9 Claim and then only to the
extent of any payment made by such Debtor Non-Settling Insurer, which shall be the sole source
of recovery on account of such Class 9 Claim under the Partial Settlement Option. The Holders of
Class 9 Claims shall not be entitled to recover from the Reorganized Debtor’s Revested Assets or
property acquired by the Reorganized Debtor after the effective date of the Plan and shall be
deemed to have released all Claims against the Debtor, the Estate, the Reorganized Debtor, and all
rights and Claims arising under, relating to, or in connection with any of the Debtor’s Insurance
Policies issued by a Debtor CGL Settling Insurer.

               7.5.3. Treatment of Class 9 under the Litigation Only Alternative.
Indemnification Claims will not receive a Distribution; provided, however, that all rights that the
Holders of Indemnification Claims have to reimbursement or indemnification from the Debtor are
preserved but the sole source of recovery for such Claim shall be from the Debtor’s CGL Insurance
Policies. The Holders of Indemnification Claims shall not be entitled to recover from the
Reorganized Debtor’s Revested Assets or property acquired by the Reorganized Debtor after the
Effective Date.

       7.6     Class 10: Future Claimants Representative Claim.

              7.6.1. Impaired and Voting. Class 10 is impaired under the Plan. The FCR is
deemed to be the Holder of the Class 10 Claim and is entitled to vote on the Plan on behalf of the
Future Claimants. Only for purposes of voting, the Claim in Class 10 is deemed to be $1.00.

                7.6.2. Treatment. On the Effective Date, the Trust shall assume all liability for
and the Trust will pay all Class 10 Claims pursuant to the provisions of the Plan and the Trust
Documents; provided, however, that no Holder of a Class 10 Claim shall have an interest in the
Trust Assets other than the Future Claimant Reserve. No Holder of a Class 10 Claim shall be
entitled to recover from the Reorganized Debtor’s Revested Assets or property acquired by the
Reorganized Debtor after the Effective Date. Except as otherwise provided in the Plan (including
the Settling Insurer Injunction, the Channeling Injunction, the Partial Settlement Option Election,
and the exculpations and releases in this Plan), the Plan shall not affect the liability of any other
Person on, or the property of any other Person for, the Class 10 Claims, which liability shall
continue unaffected by the terms of this Plan or the discharge granted to the Debtor, the Estate, or
the Reorganized Debtor under this Plan and Section 1141(d) of the Bankruptcy Code.



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               7.6.3. Treatment of Class 10 under the Litigation Only Alternative. The FCR
Claim will not receive a Distribution; provided, however, that to the extent that the Holder of an
FCR Claim has a right to recovery under any of the Debtor’s CGL Insurance Policies, such rights
are preserved and will not be impaired under the Plan.

       7.7     Class 11: Sexual Abuse Claims Filed After The Bar Date.

               7.7.1. Impaired and Voting. The Holders of Class 11 Claims are deemed to have
voted no on the Plan.

               7.7.2. Treatment. The Class 11 Claims will receive no Distributions under the
Plan. No Holder of a Class 11 Claim shall be entitled to recover from the Reorganized Debtor’s
Revested Assets or property acquired by the Reorganized Debtor after the Effective Date or from
the Debtor’s Insurance Policies. Except as otherwise provided in the Plan (including the Settling
Insurer Injunction, the Channeling Injunction, the Partial Settlement Option Election, and the
exculpations and releases in this Plan), the Plan shall not affect the liability of any other Person
on, or the property of any other Person for, the Class 11 Claims, which liability shall continue
unaffected by the terms of this Plan or the discharge granted to the Debtor, the Estate, or the
Reorganized Debtor under this Plan and Section 1141(d) of the Bankruptcy Code.

                7.7.3. Treatment of Class 11 under the Litigation Only Alternative. Class 11
Claims will not receive a Distribution; provided, however, that to the extent that the Holder of a
Class 11 Claim has a right to recovery under any of the Debtor’s CGL Insurance Policies, such
rights are preserved and will not be impaired under the Plan.

               ARTICLE VIII. ACCEPTANCE OR REJECTION OF PLAN

         8.1     Impaired Classes to Vote. Each Holder of a Claim in an impaired Class shall be
entitled to vote separately to accept or reject the Plan unless such Holder is deemed to accept or
reject the Plan.

        8.2     Acceptance by Class of Creditors. An impaired Class of Holders of Claims shall
have accepted the Plan if the Plan is accepted by at least two-thirds (2/3) in dollar amount and
more than one-half (1/2) in number of the Allowed Claims of such Class that have voted to accept
or reject the Plan.

                   ARTICLE IX. TRUST FUNDING AND FORMATION

       9.1     Applicability. This Article IX is only applicable under the Full or Partial Settlement
Alternative.

       9.2     Establishment of Trust. On the Effective Date, the Trust shall be established in
accordance with the Trust Documents. The Trust is intended to qualify as a “Designated” or
“Qualified Settlement Fund” pursuant to Section 468B of the Internal Revenue Code of 1986,
26 U.S.C. §§ 1 et seq., as may be amended, and the regulations promulgated thereunder, 31 C.F.R.
§§ 900 et seq. The Debtor is the “transferor” within the meaning of Treasury Regulation
Section 1.468B-1(d)(1). The Settlement Trustee shall be classified as the “administrator” within
the meaning of Treasury Regulation Section 1.468B-2(k)(3). The Trust Documents, including the


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Trust Agreement, are incorporated herein by reference. On the Effective Date, the Trust will
assume liability for all Channeled Claims, which shall include Abuse Claims, the USOPC Claim
to the extent that the USOPC is a Participating Party or a Partial Settlement Option Accepted Party,
Indemnification Claims, the FCR Claim, and any Claim against a Protected Party arising from, in
connection with, or related in any way to a Channeled Claim. The Trust will control the allocation
of Trust Assets to Abuse Claimants and Future Claimants pursuant to the terms of the Allocation
Protocol, the Future Claims Allocation Protocol, the Trust Agreement, the Plan, the Plan
Documents and the Confirmation Order. The Settlement Trustee shall establish and maintain a
reserve for Trust Expenses, which shall be paid pursuant to the terms of the Trust Agreement. The
Trust shall be the applicable plan from which any Abuse Claimant and Future Claimant who might
also be a Medicare Beneficiary receives payment on account of a Tort Claim.

       9.3     Trust Formation and Funding.

                9.3.1. Trust Purpose. The Trust shall be established for the benefit of the Abuse
Claimants and Future Claimants and will assume all liability for the Channeled Claims. The Trust
will receive, liquidate, and distribute Trust Assets in accordance with this Plan and the Trust
Documents. The proposed Trust Agreement is attached hereto as Exhibit F.

                9.3.2. Funding of Trust. The Trust shall be funded, on or before the Effective
Date, by: (a) the Net Settlement Payment; (b) the Twistars Payment; and/or (c) the assignment of
any Insurance Claims. Upon the funding of the Trust, each Buy-Back Agreement shall be binding
on the Trust and the Settlement Trustee and FCR.

        9.4     Approval of Settlement And Buy-Back Agreements. The entry of the
Confirmation Order will constitute the order approving the compromises and settlements required
under this Plan and approving the sales contemplated by the Buy-Back Agreements pursuant to 11
U.S.C. §363. The Bankruptcy Court’s findings of fact in the Confirmation Order shall constitute
its determination that such compromises and settlements and sales are in the best interests of the
Debtor, the Claimants holding Abuse Claims, the Holders of other Claims, the Protected Parties
and all other parties in interest, and are fair, equitable, and within the range of reasonableness, and
an appropriate exercise of each such Person’s business judgment under the applicable laws of
corporate governance.

        9.5     Future Claimant Reserve. The Trust shall establish a Future Claimant Reserve
which shall be funded with one (1%) percent of the Net Settlement Payment. Notwithstanding the
entry of the Confirmation Order or the occurrence of the Effective Date, the FCR shall continue
until he or his successor resigns or the funds in the Future Claimant Reserve are completely
distributed as provided in Section 11.8 of the Plan.

        9.6    Closing. Closing under this Plan will be conducted in the offices of Jenner & Block,
353 North Clark Street, Chicago, Illinois, 60654, or at such other location designated by the
Reorganized Debtor, as soon as reasonably practicable following the Confirmation Date for the
purpose of the Reorganized Debtor, and the Participating Parties executing and delivering the Plan
Documents and completing those actions necessary for the Reorganized Debtor and the
Participating Parties to establish and fund the Trust and make other Distributions required to be
made upon, or promptly following, the Effective Date. As soon as practicable after the conditions


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set forth in Section 17.1 have been satisfied or waived in accordance with Section 17.2, the
Reorganized Debtor shall file a notice of the Closing and the occurrence of the Effective Date.

       9.7       Appointment of the Settlement Trustee. The initial Trustee shall be William L.
Bettinelli. In the event Mr. Bettinelli elects not to serve, the Survivors’ Committee shall identify
the Settlement Trustee in a supplement to be filed within fourteen (14) days prior to the
Confirmation Hearing. The Settlement Trustee shall commence serving as the Settlement Trustee
on the Effective Date; provided, however, that the Settlement Trustee shall be permitted to act in
accordance with the terms of the Trust Agreement from such earlier date, as authorized by the
Debtor. The Settlement Trustee shall be entitled to seek compensation in accordance with the
terms of the Trust Agreement and the Plan.

        9.8     Tax Matters. The Trust shall not be deemed to be the same legal entity as the
Debtor, but only the assignee of certain Assets of the Debtor and a representative of the Estate for
delineated purposes within the meaning of Section 1123(b)(3) of the Bankruptcy Code. The Trust
is expected to be tax exempt. The Settlement Trustee shall file such income tax and other returns
and documents as are required to comply with the applicable provisions of the Internal Revenue
Code, the regulations promulgated thereunder, and applicable state law, and shall pay from the
Trust all taxes, assessments, and levies upon the Trust, if any.

       9.9     Cooperation by the Debtor and Reorganized Debtor. The Debtor, the Estate, the
Reorganized Debtor, and their counsel shall reasonably cooperate with the Settlement Trustee as
requested in connection with the Settlement Trustee’s administration of the Trust.

        9.10 Objections to Channeled Claims. No Person other than the Settlement Trustee has
the right to object to the Channeled Claims, and any such objection will be prosecuted and resolved
in accordance with the terms of the Trust Documents.

        9.11 Trust Indemnification Obligations. From and after the Effective Date, the Trust
shall be bound by the terms of the Plan and shall defend, indemnify, and hold harmless the
Protected Parties with respect to any and all Channeled Claims, Medicare Claims, and Claims
against the Debtor, the Estate, the Reorganized Debtor, a Participating Party, or a Settling Insurer
relating to an Abuse Claim, including: all Claims made by (a) any Person claiming to be insured
(as a named insured, additional insured, or otherwise) under any Settling Insurer Policy; (b) any
Person who has made, will make, or can make (but for this Plan) an Abuse Claim or a Claim
against the Debtor, the Estate, the Reorganized Debtor, a Participating Party, or a Settling Insurer;
(c) any Person who has actually or allegedly acquired or been assigned the right to make a Claim
under any Settling Insurer Policy relating to Sexual Abuse or other abuse. The Protected Parties
shall have the right to defend any Claims identified in this Section and shall do so in good faith.
The Protected Parties may undertake the defense of any Claim on receipt of such Claim. The
Protected Parties shall notify the Trust as soon as practicable of any Claims identified in this
Section and of their choice of counsel. The Protected Parties may seek to enjoin such Claim and
introduce a copy of the Confirmation Order in support thereof, and the Trust shall take all
reasonable steps to join in and support such injunctive relief. The Protected Parties’ defense of any
Claims shall have no effect on the obligations of the Trust, as applicable, to indemnify any such
party for such Claims, as set forth in this Section. The Trust shall promptly reimburse all reasonable
and necessary attorneys’ fees, expenses, costs, and amounts incurred by the Protected Parties in


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defending such Claims upon presentation of statements for such fees, expenses, costs, and amounts
to the Trust. In defense of any such Claims, the Protected Parties may settle or otherwise resolve a
Claim consistent with the terms of this Plan and with the prior consent of the indemnifying party,
which consent shall not be unreasonably withheld. The Settlement Trustee shall be obligated to
ensure that the Trust complies in all respects with the obligations set forth herein.

             ARTICLE X. PARTIAL SETTLEMENT OPTION PROVISIONS

       10.1 Applicability. This Article X is only applicable if the Survivors’ Committee and
the Debtor elect to proceed under the Partial Settlement Option.

        10.2 Partial Settlement Option Election. If fewer than all of the CGL Insurers accept
the CGL Insurer Settlement Offers by the date set for the hearing to approve the Disclosure
Statement, the Debtor and the Survivors’ Committee may, each in their sole discretion, jointly elect
to include the Partial Settlement Option in the Plan if the Survivors’ Committee and the Debtor
each determine that there is sufficient liquidity available to fund the Trust due to sufficient funding
through settlement with one or more CGL Insurer or other Participating Party. The Debtor and the
Survivors’ Committee will provide notice of whether such election will be made by the conclusion
of the hearing to approve the Disclosure Statement.

         10.3 Selection of CGL Insurer(s) in the Partial Settlement Option. The Debtor and
the Survivors’ Committee can select which CGL Insurer(s) may participate in the Partial
Settlement Option and obtain the benefit of the Channeling Injunction and become a Released
Party. If the Debtor and the Survivors’ Committee jointly elect to proceed with the Partial
Settlement Option, any CGL Insurer that has agreed to fund its full CGL Insurer Settlement Offer
will be included in the Partial Settlement Option. For the avoidance of doubt, unless the Total
Settlement Demand Amount is committed prior to the entry of the Confirmation Order, even a
CGL Insurer that accepts its CGL Insurer Settlement Offer may be excluded from settlement unless
the Partial Settlement Option is jointly accepted by the Survivors’ Committee and the Debtor, each
in their sole discretion.

        10.4 Treatment Under Partial Settlement Option. Under the Partial Settlement
Option: (a) each Partial Settlement Option Accepted Party shall receive the benefit of the Plan’s
Channeling Injunction and releases and shall become a Participating Party or Settling Insurer, as
the case may be; (b) the Debtor shall assign all Insurance Claims against a Non-Settling Insurer to
the Trust, to the extent that such assignment may be effectuated without impairing the defense and
indemnity obligations under the applicable Non-Settling Insurer insurance policies, as set forth
herein; (c) each Participating Party and Settling Insurer shall assign all Insurance Claims against a
Non-Settling Insurer to the Trust that may be asserted against such Non-Settling Insurer with
respect to Abuse Claims, to the extent such assignment may be effectuated without impairing the
defense and indemnity obligations under the applicable Non-Settling Insurer insurance policies, as
set forth herein; (d) any Abuse Claimant holding an Abuse Claim insured solely by one or more
Non-Settling Insurers that provided insurance coverage to the Debtor and/or any other
Participating Party shall be authorized to pursue his or her Abuse Claim against the Debtor and
any Participating Party to the extent authorized herein; provided, however, that such Abuse
Claimant shall be authorized to seek payment solely from any Non-Settling Insurer on account of
Claims against the Debtor and any Participating Party; and (e) the Trust shall have sole and


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exclusive authority to settle Insurance Claims and Abuse Claims with such Non-Settling Insurer
or other party after the Effective Date of the Plan; provided, further, however, that with respect to
Insurance Claims assigned by a Participating Party, the Trust shall only be authorized to settle such
Insurance Claims with respect to Abuse Claims and Future Claims.

        10.5 Transfer of Insurance Claims Upon Failure of CGL Insurer to Accept Its CGL
Insurer Settlement Offer. If the Debtor and the Survivors’ Committee, each in their sole
discretion, jointly agree to the Partial Settlement Option, Insurance Claims against any Non-
Settling CGL Insurer shall be transferred to the Trust as follows:

               (a) On the Effective Date, and without further action by any party, the Debtor, the
                   Reorganized Debtor, and each of the Participating Parties will be deemed to
                   have assigned to the Trust, the Reorganized Debtor’s and the Participating
                   Parties’ rights, if any, to all Insurance Claims and recoveries on account of such
                   Insurance Claims against the Non-Settling Insurers, exclusive of Claims for
                   recoveries, if any, of past or future defense costs including those defense costs
                   sought in by various motions filed in the Insurance Coverage Adversary
                   Proceeding. The foregoing transfer shall be effective to the maximum extent
                   permissible under applicable law and shall not be construed: (i) as an
                   assignment of the Insurance Policies; or (ii) to entitle any Person to Insurance
                   Coverage other than those Persons or entities entitled to coverage under the
                   terms of the Non-Settling Insurers’ insurance policies. The determination of
                   whether the assignment of Insurance Claims is valid and does not defeat or
                   impair the Insurance Coverage shall be made by the Bankruptcy Court at the
                   Confirmation Hearing. If a party in interest fails to timely file an objection to
                   the proposed assignment by the deadline for filing objections to confirmation
                   of this Plan, that party in interest shall be deemed to have irrevocably consented
                   to the assignment and will be forever barred from asserting that the assignment
                   in any way affects the ability of the Trust to pursue Insurance Claims from the
                   Non-Settling Insurers, and each of them, or Insurance Coverage. In the event
                   that the Bankruptcy Court determines that the assignment of Insurance Claims
                   is valid and does not defeat or impair the Insurance Coverage under such
                   insurance policies, following the Effective Date, the Trust shall assume
                   responsibility for, and be bound by, only such obligations of the Debtor and
                   Participating Parties under the Non-Settling Insurers’ insurance policies as are
                   necessary to enforce assigned rights to the Insurance Claims and any recoveries
                   on account of Insurance Claims against the Non-Settling Insurers; provided,
                   however, that the assignment shall not relieve the Debtor, the Reorganized
                   Debtor or the Participating Parties from any obligation that such entities may
                   have under the Non-Settling Insurer’s insurance policies.

               (b) In the event that the Bankruptcy Court does not enter an Order authorizing the
                   assignment of the Insurance Claims to the Trust, from and after the Effective
                   Date of the Plan, the Trust shall be empowered and entitled, in its sole and
                   absolute discretion, to pursue, compromise, or settle the Insurance Claims as
                   the representative of the Debtor, the Reorganized Debtor or any Participating
                   Party. If a party in interest fails to timely file an objection to the proposed


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                  appointment by the deadline for filing objections to confirmation of this Plan,
                  that party in interest shall be deemed to have irrevocably consented to the
                  appointment and will be forever barred from asserting that the appointment in
                  any way affects the ability of the Trust to pursue Insurance Claims from the
                  Non-Settling Insurers, and each of them, or Insurance Coverage. In the event
                  that the Bankruptcy Court determines that the appointment is valid and does not
                  defeat or impair the Insurance Coverage, following the Effective Date of the
                  Plan, the Trust shall assume responsibility for, and be bound by, only such
                  obligations of the Debtor and Participating Parties under the Insurance Policies
                  as are necessary to act as the representative of the Debtor’s estate or any
                  Participating Party for the purpose of retaining and enforcing the Debtor’s and
                  the Debtor’s Estate’s rights, if any, to Insurance Claims against the Non-Settling
                  Insurers and any recoveries on Insurance Claims; provided, however, that the
                  Trust’s appointment shall not relieve the Debtor, the Reorganized Debtor or the
                  Participating Parties from any obligation that such entities may have under the
                  Insurance Policies.

               (c) In the event that the Bankruptcy Court does not enter an order determining that
                   either the assignment of the Insurance Claims or the appointment of a
                   representative for the Insurance Claims is valid and does not defeat or impair
                   the Insurance Coverage, the Reorganized Debtor, and each of the Participating
                   Parties, will retain the Insurance Claims. The Reorganized Debtor, or a
                   Participating Party will assert Insurance Claims to the extent requested by the
                   Trust against any Non-Settling Insurer. All recoveries on account of Insurance
                   Claims will be paid to the Trust. The Reorganized Debtor or Participating Party
                   will retain counsel to prosecute any Insurance Claims, subject to the Settlement
                   Trustee’s approval, which approval shall not be unreasonably withheld. The
                   Trust shall pay the reasonable attorney’s fees and costs and expenses of such
                   counsel.

               (d) The duties, obligations, and liabilities of any Non-Settling CGL Insurer are not
                   enhanced, altered, diminished, reduced, or eliminated by: (i) the discharge of
                   the Debtor from all Abuse Claims or any covenants not to execute against the
                   assets (exclusive of insurance policies) of any Participating Party; (ii) the
                   injunctive protection provided to the Protected Parties; or (iii) the assumption
                   of and responsibility for all Abuse Claims by the Trust.

       10.6 Treatment of CGL Insurers That Are Not A Partial Settlement Option
Accepted Party. Any CGL Insurer or other Person that is not a Partial Settlement Option Accepted
Party shall not receive the benefit of a Channeling Injunction or any release or exculpation under
the Plan.

       10.7 No Claims Of Non-Settling Insurers Against Settling Insurers or Non-Debtor
Settling Insurer Covered Persons. Consistent with the holdings in Eli Lilly and Co. v. The Aetna
Casualty and Surety Co., et al., Cause No. 49D12 0102 CP 000243 (Marion Cty. Sup. Ct. 2002)
and Southern Indiana Gas & Electric Company v. Admiral Ins. Co., Cause No. 49D05 0411 PL
2265 (Marion Cty. Sup. Ct. 2011), the Confirmation Order shall order that any Non-Settling Insurer


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shall have no Claims, causes of action, or any other remedies of any kind, in law or equity, against
any Settling Insurer or Non-Debtor Settling Insurer Covered Persons and any and all such Claims,
causes of action, and other remedies shall be deemed released and enjoined.

        10.8 Abuse Claimant’s Right to Litigate Abuse Claim Upon Failure of CGL Insurer
to Accept Its CGL Insurer Settlement Offer. If the Debtor and the Survivors’ Committee, each
in their sole discretion, jointly elect to proceed with the Partial Settlement Option, an Abuse
Claimant whose Abuse Claim is covered by a Non-Settling CGL Insurer, as set forth on Exhibit E,
may make a one-time election to be treated as a “Litigation Claimant” within 60 days of the
Effective Date of the Plan, but solely to the extent that such Abuse Claim may be covered by a
Non-Settling Insurer. A Future Claimant may not elect to become a Litigation Claimant. An Abuse
Claimant whose Abuse Claim is covered by a Settling Insurer may not elect to become a Litigation
Claimant.

               10.8.1. Litigation Claimant’s Right to Commence or Continue Actions. A
Litigation Claimant may, at his or her own expense, commence or continue any action against the
Debtor or a Participating Party that is covered by a Non-Settling Insurer; provided, however, that
such Litigation Claimant may only collect a judgment or award from the proceeds of an insurance
policy issued by a Non-Settling Insurer.

                10.8.2. Effect of Trust Insurance Settlements. To the extent the Settlement
Trustee enters into a settlement agreement (such settlement, a “Trust Insurance Settlement”)
with any Non-Settling Insurer that covers a Litigation Claimant’s Abuse Claim (the policy or
policies that respond to such Claim(s) are a “Target Policy”), such Litigation Claimant shall be
entitled to an enhancement (the “Claim Enhancement”) as set forth below to his or her allocation
pursuant to the Allocation Protocol, which enhanced amount shall be deducted from the proceeds
of the settlement agreement with the applicable Non-Settling Insurer. The Claim Enhancements
are independent of one another, and are not intended to be cumulative. The Trustee shall reserve
sufficient amounts to fund such enhanced payments prior to Distribution of settlement proceeds to
Abuse Claimants who are not Litigation Claimants.

                10.8.3. Application of Claim Enhancement. The Claim Enhancement shall be
applied as follows:

               (a) A Litigation Claimant shall be entitled to an enhancement of five percent (5%)
                   if the Trust negotiates a Trust Insurance Settlement for a Target Policy of such
                   Litigation Claimant if the Trust Insurance Settlement is entered into prior to
                   such time that discovery is propounded in such Litigation Claimant’s case.
               (b) A Litigation Claimant shall be entitled to an enhancement of ten percent (10%)
                   if the Trust negotiates a Trust Insurance Settlement for a Target Policy of such
                   Litigation Claimant if the Trust Insurance Settlement is entered into after
                   discovery is propounded but before a motion for summary judgment is filed in
                   such Litigation Claimant’s case.
               (c) A Litigation Claimant shall be entitled to an enhancement of fifteen percent
                   (15%) if the Trust negotiates a Trust Insurance Settlement for a Target Policy
                   of such Litigation Claimant if the Trust Insurance Settlement is entered into



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                   after a motion for summary judgment is filed but before trial in such Litigation
                   Claimant’s case.
               (d) A Litigation Claimant shall be entitled to an enhancement of twenty percent
                   (20%) if the Trust negotiates a Trust Insurance Settlement for a Target Policy
                   of such Litigation Claimant if the Trust Insurance Settlement is entered into
                   after trial commences but before a verdict is returned or a judgment is entered
                   in favor of the Litigation Claimant.

               10.8.4. Withdrawal of Litigation Claimant Election. A Litigation Claimant may
withdraw his or her election to be a Litigation Claimant at any time. Once withdrawn, the election
may not be reinstated.

               10.8.5. Litigation Claimant’s Allocated Settlement Payment. A Litigation
Claimant’s allocated settlement payment shall be held in reserve by the Settlement Trustee until
either:

               (a) There is a Final Order determining that the Debtor does not have any liability
                   on account of such Claimant’s Abuse Claim, in which case such Claimant’s
                   Claim shall be disallowed and the Claimant shall not be entitled to any
                   Distribution from the Settlement Fund.
               (b) There is a Final Order determining that the Debtor is liable to the Claimant on
                   account of the Abuse Claim, in which case the Settlement Trustee shall release
                   such Claimant’s Distribution from the Settlement Fund.
               (c) The Trust enters into a Trust Settlement Agreement with the applicable Target
                   Policy, in which case the Litigation Claimant’s Abuse Claim shall become a
                   Channeled Claim and the Settlement Trustee shall release such Claimant’s
                   Distribution (including the enhancement described above) from the Settlement
                   Fund.
               (d) Notwithstanding the foregoing, if and to the extent a Litigation Claimant
                   obtains a verdict or judgment on account of his or her Abuse Claim, then, at the
                   election of the Litigation Claimant, the Settlement Trustee shall not be
                   authorized to include such Abuse Claim in any settlement agreement with the
                   Non-Settling Insurer. Such Abuse Claimant may receive the full amount of his
                   or her share under the Allocation Protocol, except for proceeds of any
                   settlement with any Non-Settling Insurer responsible to pay such judgment.
                   The Abuse Claimant shall have all rights available under the law to pursue
                   direct Claims against and payment from the applicable Non-Settling Insurer.

        10.9 Abuse Claimants’ Rights Reserved. All Abuse Claimants’ (and any other parties’)
rights with respect to Claims against any Person other than a Protected Party shall be preserved
and remain unaffected by the Plan.

        10.10 No Compromise of Insurance Policies for Claims that are not Abuse Claims.
The Trust shall not be authorized to compromise any Insurance Policy of a Participating Party with
respect to any Claim that is not an Abuse Claim without the express written consent of the
Participating Party. Any settlement between the Trust and a Non-Settling Insurer or other party
shall entitle such Non-Settling Insurer and any Participating Party or Non-Debtor CGL Settling


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Insurer Covered Person with a Claim to Insurance Coverage under such Non-Settling Insurer’s
insurance policies to the benefits afforded Settling Insurers, Participating Parties, or Non-Debtor
CGL Settling Insurer Covered Persons as the case may be, under the Plan.

       ARTICLE XI. LIQUIDATION AND PAYMENT OF CHANNELED CLAIMS

       11.1    Applicability. This Article XI is only applicable under the Full or Partial Settlement
Alternative.

        11.2 Liquidation and Resolution of Channeled Claims. The Trust shall pay Abuse
Claims in accordance with the Plan, the Confirmation Order, and the Trust Documents and the
Allocation Protocol. The FCR Claim shall be paid from the Future Claimant Reserve and not from
any other Trust Assets. Except as set forth in Sections 9.10 and 9.11, the USOPC Claim and the
Indemnification Claims shall not be entitled to payment from Trust Assets but rather shall be
satisfied by granting the USOPC Claim and the Indemnification Claims the benefit of the
Channeling Injunction and by deeming any Abuse Claim against the USOPC or a Holder of an
Indemnification Claim to be a Channeled Claim. Because Abuse Claims and Future Claims are
being paid by the Trust without regard to whether those Claims are covered by the insurance
policies issued by Settling Insurers: (a) the Trust shall be deemed subrogated to the Claims of
Abuse Claimants paid by the Trust to the extent of those payments; and (b) the Trust may pursue
such subrogation Claim or any contribution Claim; provided however, that no such action may be
brought against a Protected Party.

               11.2.1. Conditions to Payment of Abuse Claims and FCR Claims. As a pre-
condition to receiving any payment from the Trust, each Abuse Claimant or Future Claimant shall
execute and deliver to the Trust a full and complete general release of the Debtor, the Estate, the
Reorganized Debtor, the Settling Insurers, all Participating Parties, and all known or unknown
parties who may claim coverage under any Insurance Policy issued to the Debtor, including the
Non-Debtor CGL Settling Insurer Covered Persons, in form and substance acceptable to the
Debtor, the Estate, the Reorganized Debtor, the Participating Parties, and the Settling Insurers, of
any and all Claims arising from or relating to USAG, Abuse Claims, Future Claims or Settling
Insurance Policies. In addition, within ten (10) days after receiving any payment from the Trust,
an Abuse Claimant or Future Claimant shall dismiss with prejudice any lawsuit that such Abuse
Claimant or Future Claimant had brought against the Debtor, any Participating Party, any Settling
Insurer and any Non-Debtor CGL Settling Insurer Covered Person, and shall promptly deliver
evidence of such dismissal, with prejudice, to the Settlement Trustee. The Settlement Trustee shall
provide copies of such dismissal orders to the Debtor or any Protected Party that requests a copy.

             11.2.2. Trust Documents May Not Modify The Plan. Nothing in the Trust
Documents shall (a) impose any costs, directly or indirectly, upon the Debtor, the Estate, the
Reorganized Debtor, any Participating Party, or any Settling Insurer relating to the treatment of
Channeled Claims, or (b) otherwise modify the rights or obligations of the Debtor, the Estate, the
Reorganized Debtor, any Participating Party, or any Settling Insurer as otherwise set forth in the
Plan.

      11.3 Effect of No Award on Channeled Claims. If a Channeled Claim, including an
Abuse Claim filed after the Bar Date, is denied payment from the Trust, the Holder of such


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Channeled Claim will have no further rights against any Protected Party, the Settlement Trustee
and any of his Related Persons, the FCR and any of his Related Persons, and any of their respective
assets or property, including any Revested Assets, relating to such Channeled Claim.

        11.4 Treatment of Attorneys’ Fees and Costs of Channeled Claimants. The fees and
expenses of attorneys representing Channeled Claimants who receive payment from the Trust will
be borne by such Channeled Claimants based on applicable state law and individual arrangements
made between such Channeled Claimants and their respective attorneys. The Debtor, the Estate,
the Reorganized Debtor, the Released Parties, the Trust, and the Settlement Trustee will not have
any liability for any fees and expenses of attorneys representing any of the Channeled Claimants,
and all Claims for such fees and expenses, if any, will be disallowed.

        11.5 Withdrawal of Channeled Claims. A Channeled Claimant may withdraw a
Channeled Claim at any time on written notice to the Settlement Trustee. If withdrawn, (a) the
Channeled Claim will be withdrawn with prejudice and may not be reasserted, (b) as a condition
to withdrawal of the Channeled Claim, any funds paid to the Channeled Claimant by the Trust
shall be returned to the Trust, and (c) any releases granted by a Channeled Claimant pursuant to
Section 11.2.1 of this Plan and the Channeling Injunction granted Protected Parties in Section 12.3
of this Plan shall remain valid and enforceable against any Channeled Claimant who withdraws a
Channeled Claim.

       11.6    Supplementing Exhibit C to Add Participating Parties.

               11.6.1. Participating Party Agreement. After the Effective Date and
notwithstanding any present exclusionary language contained in this Plan, upon the consent of the
Settlement Trustee, any Person may become a Participating Party if the Bankruptcy Court, after
notice and hearing, approves an agreement between such Person and the Settlement Trustee (a
“Participating Party Agreement”). After the Effective Date, the Settlement Trustee shall have
the exclusive authority to seek approval of such a Participating Party Agreement. Upon the
Bankruptcy Court’s entry of a Final Order approving such an agreement, Exhibit C will be
amended by the Settlement Trustee to include such Person. For the purposes of defining a
Participating Party, the Persons listed on Exhibit C shall include their respective predecessors,
successors, and assigns, or their respective employees, officers, agents, attorneys, and directors,
except as provided in the agreement.

               11.6.2. Rights of Additional Participating Parties. Any Person becoming a
Participating Party shall have all of the rights, remedies, and obligations of a Participating Party
notwithstanding that such Person originally may have been excluded as a Participating Party under
any provision of the Plan, including, without limitation, the terms and conditions of the Channeling
Injunction.

               11.6.3. Retention of Jurisdiction. The Bankruptcy Court’s retained jurisdiction to
approve a Participating Party Agreement under this Section shall include jurisdiction to determine
the adequacy of the notice of a motion to approve such a Participating Party Agreement.

        11.7 Additional Settling Insurers. After the Effective Date a Person may become a
Settling Insurer with the consent of the Settlement Trustee and the Reorganized Debtor, and in the



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case of the USOPC Insurers with the consent of the USOPC, upon approval of the Bankruptcy
Court (and upon payment of an amount that is acceptable to the Settlement Trustee and the
Reorganized Debtor, which amount may or may not be the same as that Person’s CGL Insurer
Settlement Offer). If the addition of such Person is approved pursuant to a Final Order, the defined
term “Settling Insurer” will be deemed amended to include such Person.

                11.7.1. Rights of Additional Settling Insurers. Any Person becoming a Settling
Insurer shall have all of the rights, remedies, and duties of a Settling Insurer notwithstanding that
such Person originally may have been excluded as a Settling Insurer under any provision of the
Plan. Such rights, remedies, and duties shall include, without limitation, the terms and conditions
of the Channeling Injunction.

               11.7.2. Retention of Jurisdiction. The Bankruptcy Court’s retained jurisdiction to
approve an agreement under this Section shall include jurisdiction to determine the adequacy of
notice of a motion to approve such an agreement.

        11.8 Future Claimant Process. A Future Claimant must file a Claim with the Settlement
Trustee on or before the fifth (5th) anniversary of the Effective Date. The Claim will be entitled to
a Distribution from the Future Claimant Reserve, provided funds remain in such Future Claimant
Reserve, only if the Settlement Trustee, in consultation with the FCR, determines that the Holder
of such Claim has proven by a preponderance of the evidence that such Holder meets the definition
of a Future Claimant and such Holder’s Claim meets the definition of a Sexual Abuse Claim.
Except as provided in the Plan, Future Claimants will have no right to payment or any other right
under the Plan or against the Debtor, the Estate, or the Reorganized Debtor, or any of their
respective property including any Revested Assets, or against the Settling Insurers, or the
Participating Parties, or any Persons that are Related Persons to any of the foregoing Persons.
Following the fifth (5th) anniversary of the Effective Date, any funds held in the Future Claimant
Reserve shall be released to the Settlement Trustee to administer to Holders of Abuse Claims
consistent with the Trust Documents and the terms of this Plan. In the event that the remaining
funds held, when combined with other Trust assets, total $50,000 or less, the Settlement Trustee
shall have the discretion to either (a) administer to Holders of Abuse Claims consistent with the
Trust Documents and the terms of the Plan; or (b) distribute to a charitable entity mutually agreed
upon by the Settlement Trustee and the Reorganized Debtor; provided, however, that any such
funds shall not revert to the Debtor, the Estate, the Reorganized Debtor, the National Gymnastics
Foundation, or the USOPC.

       11.9    Special Distribution Conditions.

                11.9.1. Medicare Secondary Payer. Pursuant to the MMSEA, the Trust shall be
the applicable plan from which any Abuse Claimant and Future Claimant who might also be a
Medicare Beneficiary receives payment on account of a Tort Claim. All payment obligations to
any Abuse Claimant or Future Claimant will be funded from the assets of the Trust, and the
Settlement Trustee, in his capacity as trustee, shall be the Responsible Reporting Entity as that
term is defined in the MMSEA and the Confirmation Order shall so provide. To the extent that any
of the Trust, the Debtor, the Reorganized Debtor, the Settling Insurers or the Participating Parties
may be considered Responsible Reporting Entities for purposes of MMSEA (and the Debtor does
not concede or contend that they are), the Trust shall, at its sole expense, in connection with the


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implementation of the Plan, act as a reporting agent for the Debtor, the Reorganized Debtor, the
Participating Parties, and the Settling Insurers, as applicable, and shall timely submit all reports
that would be required to be made by any of the Debtor, the Reorganized Debtor, the Participating
Parties, or any of the Settling Insurers as a Responsible Reporting Entity under MMSEA on
account of any Claims settled, resolved, paid, or otherwise liquidated by the Trust or with respect
to contributions to the Trust for purposes of MMSEA. The Trust, in its role as reporting agent,
shall follow all applicable guidance published by the Centers for Medicare and Medicaid Services
(“CMS”) to determine whether or not, and, if so, how, to report to CMS pursuant to MMSEA.

                11.9.2. Medicare-Related Obligations. The Settlement Trustee as the RRE will be
responsible for fulfilling, at the sole expense of the Trust, the reporting and reimbursement
requirements, if any, pursuant to the MSP and the MMSEA and any other similar statute or
regulation, and any related rules, regulations, user guides, or any other guidance issued in
connection therewith. The Settlement Trustee as the RRE shall follow all applicable guidance
published by the Centers for Medicare and Medicaid Services (“CMS”) to determine whether or
not and, if so, how, to report to CMS pursuant to the MMSEA and to protect the Medicare Trust
Fund as required by the MSP. All Medicare-Related Obligations apply equally to any MAO as to
CMS.

                       (a)    On or after the date that the Confirmation Order becomes a Final
                              Order, the Settlement Trustee shall determine, for any Abuse
                              Claimant or Future Claimant whose Claim, including a proof of
                              Claim, complaint (if one has been served or filed), or other
                              documentation offered in support of that Claim, if the Person
                              potentially alleges or indicates that he or she was or may have
                              suffered Abuse after December 5, 1980 (a “Post- 1980 Claimant”),
                              by query to CMS: (i) whether that Post-1980 Claimant is Medicare
                              Eligible (as defined in the Plan) and, if so, (ii) whether he or she has
                              received, or if any medical provider has received for items and
                              services rendered to the Claimant, any Conditional Payment arising
                              from or relating to treatment for Abuse. The Settlement Trustee shall
                              initiate such queries as soon as practicable, including prior to the
                              Effective Date. The Settlement Trustee shall also, reasonably
                              contemporaneously with initiating such queries, provide to any of
                              the Reorganized Debtor, or Settling Insurer who may request all
                              information necessary to perform the same queries, although none
                              of the Reorganized Debtor, or any Settling Insurer is under an
                              obligation to conduct such queries.

                       (b)    If the Settlement Trustee does not receive a response from CMS
                              (including a response from a query that the Reorganized Debtor, or
                              a Settling Insurer or Tort Claimant’s counsel has initiated, so long
                              as the Reorganized Debtor, and Settling Insurer receives a copy of
                              any such query initiated by Tort Claimant’s counsel) within seventy-
                              five days as to whether a Post-1980 Claimant is Medicare Eligible
                              and/or has received one or more Conditional Payments, then that
                              Claimant may, in lieu of the query response, certify in writing to the


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                              Settlement Trustee that he or she (i) is not Medicare Eligible and (ii)
                              that he or she will provide for payment and/or resolution of any
                              future obligations owing or potentially owing under the MSP and
                              will indemnify the Trust and the Reorganized Debtor, and any
                              Settling Insurer for any liability to CMS and/or an MAO that may
                              arise under the MSP.

                      (c)     Prior to issuing a payment to any Post-1980 Tort Claimant who is
                              Medicare Eligible, the Trust and Settlement Trustee shall require
                              that the Abuse Claimant or Future Claimant, or his or her counsel,
                              obtain a Final Payment Letter or the equivalent from CMS and any
                              MAO holding a lien. The Abuse Claimant or Future Claimant’s
                              payment shall be held by the Settlement Trustee until that Abuse
                              Claimant, Future Claimant or his or her counsel has provided written
                              documentation from CMS, Medicare or an MAO, such as a Final
                              Payment Letter, demonstrating that all Conditional Payments have
                              been satisfied, waived or otherwise released.

                      (d)     If any portion of the Settlement Amount is paid to any Post-1980
                              Tort Claimant who is identified as Medicare Eligible, the Settlement
                              Trustee will report such payments to Medicare in accordance with
                              the MMSEA. The Settlement Trustee will also provide to the
                              Reorganized Debtor, and Settling Insurers all information necessary
                              for any of the Reorganized Debtor, or Settling Insurer to report such
                              payments to CMS or Medicare although none of the Reorganized
                              Debtor, or Settling Insurer is under an obligation to make such
                              reports.

                      (e)     The Trust shall defend, indemnify and hold harmless the Debtor,
                              Reorganized Debtor and the Protected Parties from any Claims
                              related to Medicare Claims reporting and payment obligations,
                              whether relating to past Conditional Payments made, future
                              payments to be made, or otherwise arising out of, relating to, or in
                              connection with Tort Claims, including any obligations owing or
                              potentially owing under MMSEA or MSP, and any Claims related to
                              the Trust’s obligations under the Plan, the Trust Documents, and the
                              Plan Documents. The Trust shall not be required to create a reserve
                              for this potential obligation.

                11.9.3. Certification of Reports. The Settlement Trustee shall provide a written
certification to each of the Debtor, the Reorganized Debtor, the Participating Parties, and the
Settling Insurers within ten (10) business days following the end of each calendar quarter,
confirming that all reports to CMS required by the previous section have been submitted in a timely
fashion, and identifying (a) any reports that were rejected or otherwise identified as noncompliant
by CMS, along with the basis for such rejection or noncompliance, and (b) any payments to
Medicare Beneficiaries that the Trust did not report to CMS.



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                11.9.4. Rejected or Non-Compliant Reports. With respect to any reports rejected
or otherwise identified as noncompliant by CMS, the Settlement Trustee shall, upon request by the
Debtor, the Reorganized Debtor, any Participating Party, or any of the Settling Insurers, promptly
provide copies of the original reports submitted to CMS, as well as any response received from
CMS with respect to such reports; provided, however, that the Trust may redact from such copies
the names, Social Security numbers other than the last five digits, health insurance claim numbers,
taxpayer identification numbers, employer identification numbers, mailing addresses, telephone
numbers, and dates of birth of Abuse Claimants, Future Claimants, guardians, conservators, and/or
other personal representatives, as applicable. With respect to any such reports, the Trust shall
reasonably undertake to remedy any issues of noncompliance identified by CMS and resubmit
such reports to CMS, and, upon request by the Debtor, the Reorganized Debtor, the Participating
Parties, or the Settling Insurers, provide the Debtor, the Reorganized Debtor, the Participating
Parties, or the Settling Insurers copies of such resubmissions; provided, however, that the Trust
may redact from such copies the names, Social Security numbers other than the last five digits,
health insurance claim numbers, taxpayer identification numbers, employer identification
numbers, mailing addresses, telephone numbers, and dates of birth of Abuse Claimants, Future
Claimants, guardians, conservators, and/or other personal representatives, as applicable. In the
event the Trust is unable to remedy any issue of noncompliance, the provisions of Section 11.9.8
shall apply.

                11.9.5. Medicare-Related Obligations for Unreported Settlements. With
respect to each Claim of a Medicare Beneficiary that was paid by the Trust and not disclosed to
CMS, the Settlement Trustee shall, upon request by the Debtor, the Reorganized Debtor, any of
the Participating Parties, or any of the Settling Insurers, promptly provide the last five digits of the
Abuse Claimant’s or Future Claimant’s Social Security number, the year of the Abuse Claimant’s
or Future Claimant’s birth, and any other information that may be necessary in the reasonable
judgment of any of the Debtor, the Reorganized Debtor, the Participating Parties, or Settling
Insurers to satisfy their obligations, if any, under MMSEA, as well as the basis for the Trust’s
failure to report the payment. In the event that any of the Participating Parties or Settling Insurers
inform the Settlement Trustee that it disagrees with the Trust’s decision not to report a Claim paid
by the Trust, the Settlement Trustee shall promptly report the payment to CMS. All documentation
relied upon by the Settlement Trustee in making a determination that a payment did not have to be
reported to CMS shall be maintained for a minimum of six (6) years following such determination.

                11.9.6. Duration of Medicare-Related Obligations. The Settlement Trustee shall
make the reports and provide the certifications and perform the obligations required by Sections
11.9.1, 11.9.2, 11.9.3, 11.9.4, or 11.9.5 until such time as the Debtor, the Reorganized Debtor, the
Participating Parties, and each of the Settling Insurers determine, in their reasonable judgment,
that no further legal obligation exists under MMSEA or otherwise to report any settlements,
resolutions, payments, or liquidation determinations made by the Trust or contributions to the
Trust. Furthermore, following any permitted cessation of reporting, and if the Debtor, the
Reorganized Debtor, the Participating Parties, or any of the Settling Insurers reasonably
determines, based on subsequent legislative, administrative, regulatory, or judicial developments,
that continued reporting is required, then the Trust shall promptly perform its obligations under
Sections 11.9.1, 11.9.2, 11.9.3, 11.9.4, or 11.9.5.




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              11.9.7. Prophylactic Measures. Section 11.9 is intended to be purely prophylactic
in nature, and does not imply, and shall not constitute an admission, that the Debtor, the
Reorganized Debtor, the Participating Parties, and/or the Settling Insurers are in fact Responsible
Reporting Entities or within the meaning of MMSEA, or that they have any legal obligation to
report any actions undertaken by the Settlement Trustee or contributions to the Trust under
MMSEA or any other statute or regulation.

                11.9.8. Corrections of Reports. In the event that CMS concludes that reporting
done by the Settlement Trustee in accordance with Section 11.9 is or may be deficient in any way,
and has not been corrected to the satisfaction of CMS in a timely manner, or if CMS communicates
to the Trust, the Debtor, the Reorganized Debtor, any of the Participating Parties, or any of the
Settling Insurers a concern with respect to the sufficiency or timeliness of such reporting, or there
appears to the Debtor, the Reorganized Debtor, the Participating Parties, or any of the Settling
Insurers a reasonable basis for a concern with respect to the sufficiency or timeliness of such
reporting or non-reporting based upon the information received pursuant to sections 11.9.1, 11.9.2,
11.9.3, 11.9.4, or 11.9.5, or other credible information, then each of the Debtor, the Reorganized
Debtor, the Participating Parties, and the Settling Insurers shall have the right to submit its own
reports to CMS under MMSEA, and the Trust shall provide to any party that elects to file its own
reports such information as the electing party may require in order to comply with MMSEA,
including the full reports filed by the Trust pursuant to Section 11.9.1 or 11.9.2 without any
redactions. The Debtor, the Reorganized Debtor, the Participating Parties and the Settling Insurers
shall keep any information they receive from the Trust pursuant to this Section confidential and
shall not use such information for any purpose other than meeting obligations under MMSEA.

                 11.9.9. Medicare Reporting Information Required. Notwithstanding any other
provisions hereof, for each Abuse Claimant and Future Claimant, the Settlement Trustee shall not
be required to report as required by this Section until such Person on whose behalf the Settlement
Trustee is required to report shall have provided all Medicare Reporting Information that may be
required, including the Person’s full name, address, telephone number, date of birth, gender, last
five digits of the Person’s Social Security number, and Medicare Number, and Medicare Claim
Number, if one exists. Moreover, the Trust shall have no indemnification obligation under Section
11.9.11 to such Person for any penalty, interest, or sanction with respect to a Claim that may arise
solely on account of such Person’s failure timely to provide all required Medicare Reporting
Information to the Settlement Trustee in response to a timely request by the Trust for such
Medicare Reporting Information. However, nothing herein relieves the Settlement Trustee from its
reporting obligations with respect to each Person who provides the Settlement Trustee with its
Medicare Reporting Information. The Trust shall indemnify the Debtor, the Estate, the
Reorganized Debtor, a Participating Party, or a Settling Insurer for any failure to report payments
to Medicare-eligible Abuse Claimants or Future Claimants who have supplied Medicare Reporting
Information.

                11.9.10.        Payment from the Trust. In connection with the implementation
of the Plan, the Settlement Trustee of the Trust shall obtain, prior to remitting funds to an Abuse
Claimant’s or Future Claimant’s counsel, or to an Abuse Claimant or Future Claimant, if pro se,
in respect of any Claim, a certification from the Abuse Claimant or Future Claimant to be paid that
said Abuse Claimant or Future Claimant has or will provide for the payment and/or resolution of
any obligations owing or potentially owing under the MSP relating to such Claim; otherwise the


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Trust shall withhold from any payment to the Abuse Claimant or Future Claimant funds sufficient
to assure that any obligations owing or potentially owing under the MSP relating to such Claim
are paid to CMS. The Trust shall provide a quarterly certification of its compliance with this
Section to each of the Debtor, the Reorganized Debtor, the Participating Parties, and the Settling
Insurers, and permit reasonable audits by such Persons, no more often than quarterly, to confirm
the Trust’s compliance with this Section. For the avoidance of doubt, the Trust shall be obligated
to comply with the requirements of this Section regardless of whether any of the Participating
Parties or the Settling Insurers elects to file its own reports under MMSEA pursuant to Section
11.9.8.

                11.9.11.        Indemnification. The Trust shall defend, indemnify, and hold
harmless the Debtor, the Estate, the Reorganized Debtor, the Participating Parties, and the Settling
Insurers from any Claims related to MSP compliance, including Medicare Claims reporting and
payment obligations, whether relating to past Conditional Payments made, future payments to be
made, or otherwise arising out of, relating to, or in connection with Tort Claims, including any
obligations owing or potentially owing under MMSEA or MSP, and any Claims related to the
Trust’s obligations under the Plan, the Trust Documents, and the Plan Documents. The Trust shall
not create a reserve for this potential obligation.

                  11.9.12.        Medicare Hold-back. The Trust shall establish a “Medicare Hold-
back” and such Medicare Hold-back shall consist of the proceeds of the Net Settlement Payment.
The Trust shall not distribute any portion of the Medicare Hold-back until such time as the
Medicare Procedures (defined below) are completed by the Trust. The “Medicare Procedures” to
be completed by the Trust are as follows: (i) immediately upon the Effective Date, the Settlement
Trustee shall make a query to the Social Security Administration (the “SSA Query”), with respect
to each Abuse Claimant or Future Claimant, to determine whether each Abuse Claimant or Future
Claimant is eligible to receive, is receiving, or has received Medicare benefits (“Medicare
Eligible”); (ii) within ten (10) calendar days after the Effective Date, the Settlement Trustee shall
provide to the Settling Insurers and Participating Parties, and, if requested, the Reorganized Debtor,
information sufficient to allow them to perform their own SSA queries to the extent they wish to
do so; (iii) in the event that one or more Abuse Claimants or Future Claimants is identified through
the SSA Query as Medicare Eligible, the Settlement Trustee shall complete a query to CMS for
each such Abuse Claimant or Future Claimant to determine whether any Conditional Payment has
been made to or on behalf of that Abuse Claimant or Future Claimant arising from or relating to
treatment for abuse; (iv) if any Conditional Payment has been made to or on behalf of that Abuse
Claimant or Future Claimant, the Settlement Trustee shall, within the time period called for by the
MSP, reimburse the appropriate Medicare Trust Fund for the appropriate amount, and submit the
required information for that Abuse Claimant or Future Claimant to the appropriate agency of the
United States government; and upon resolution of all CMS inquiries or matters relating to the
foregoing provisions of this Section 11.9.12, the Medicare Hold-back shall be immediately
available for Distribution by the Trust. The Settlement Trustee’s obligation to make the
reimbursements required by Section 11.9.12(iv) above and to indemnify the Debtor, the Estate, the
Reorganized Debtor, the Participating Parties, and the Settling Insurers with respect to Medicare
Claims, Claims of an Abuse Claimant or Future Claimant, and Claims against a Settling Insurer
Policy related to the Abuse Claims is not limited to the amount of the Medicare Hold-back.




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                    ARTICLE XII. CHANNELING INJUNCTION

       12.1 Applicability. This Article XII is only applicable under the Full or Partial
Settlement Alternative.

     12.2 Effective Date Injunctions. THE INJUNCTIONS PROVIDED FOR IN THIS
PLAN SHALL BE DEEMED ISSUED, ENTERED, VALID, AND ENFORCEABLE
ACCORDING TO THEIR TERMS. THE INJUNCTIONS SHALL BE PERMANENT AND
IRREVOCABLE AND MAY ONLY BE MODIFIED BY THE BANKRUPTCY COURT.

     12.3 Channeling Injunction Preventing Prosecution of Abuse Claims. IN
CONSIDERATION OF THE CRITICAL UNDERTAKINGS AND SUBSTANTIAL
CONTRIBUTIONS OF THE DEBTOR, THE PARTICIPATING PARTIES, AND SETTLING
INSURERS PURSUANT TO THE TERMS OF THIS PLAN, INCLUDING THE FUNDING OF
THE TRUST, AND TO FURTHER PRESERVE AND PROMOTE THE SETTLEMENTS
EMBEDDED IN THIS PLAN BETWEEN AND AMONG THE PARTICIPATING PARTIES,
THE SETTLING INSURERS, HOLDERS OF SEXUAL ABUSE CLAIMS, THE SURVIVORS’
COMMITTEE, THE FCR, AND THE DEBTOR, AND PURSUANT TO SECTIONS 105, 363,
AND 1129 OF THE BANKRUPTCY CODE:

      (A) ANY AND ALL CHANNELED CLAIMS ARE CHANNELED INTO THE TRUST
          AND SHALL BE TREATED, ADMINISTERED, DETERMINED, AND RESOLVED
          UNDER THE PROCEDURES AND PROTOCOLS AND IN THE AMOUNTS AS
          ESTABLISHED UNDER THE PLAN AND TRUST AGREEMENT AS THE SOLE
          AND EXCLUSIVE REMEDY FOR ALL HOLDERS OF CHANNELED CLAIMS;
          AND

      (B) ALL PERSONS THAT HAVE HELD OR ASSERTED, HOLD OR ASSERT, OR
          MAY IN THE FUTURE HOLD OR ASSERT, ANY CHANNELED CLAIM
          (INCLUDING ALL DEBT HOLDERS, GOVERNMENTAL, TAX, AND
          REGULATORY AUTHORITIES, LENDERS, TRADE AND OTHER CREDITORS,
          ABUSE CLAIMANTS, FUTURE CLAIMANTS, OTHER INSURERS, AND ALL
          OTHERS HOLDING CLAIMS OR INTERESTS OF ANY KIND OR NATURE
          WHATSOEVER AGAINST OR RELATED TO THE PROTECTED PARTIES) ARE
          HEREBY PERMANENTLY STAYED, ENJOINED, BARRED, AND RESTRAINED
          FROM TAKING ANY ACTION, DIRECTLY OR INDIRECTLY, FOR THE
          PURPOSES OF ASSERTING, ENFORCING, OR ATTEMPTING TO ASSERT OR
          ENFORCE ANY CHANNELED CLAIM AGAINST A PROTECTED PARTY,
          INCLUDING:

                    i. COMMENCING OR CONTINUING IN ANY MANNER ANY
                       ACTION OR OTHER PROCEEDING OF ANY KIND WITH
                       RESPECT TO ANY CHANNELED CLAIM AGAINST THE
                       PROTECTED PARTIES OR AGAINST THE PROPERTY OF THE
                       PROTECTED PARTIES;




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                 ii. ENFORCING, ATTACHING, COLLECTING OR RECOVERING,
                     BY ANY MANNER OR MEANS, FROM THE PROTECTED
                     PARTIES, OR FROM THE PROPERTY OF THE PROTECTED
                     PARTIES, WITH RESPECT TO ANY SUCH CHANNELED CLAIM,
                     ANY JUDGMENT, AWARD, DECREE, OR ORDER AGAINST THE
                     PROTECTED PARTIES;

                iii. CREATING, PERFECTING OR ENFORCING ANY LIEN OF ANY
                     KIND AGAINST THE PROTECTED PARTIES, OR THE
                     PROPERTY OF THE PROTECTED PARTIES, WITH RESPECT TO
                     ANY SUCH CHANNELED CLAIM;

                iv. ASSERTING, IMPLEMENTING, OR EFFECTUATING ANY
                    CHANNELED CLAIM OF ANY KIND AGAINST: (1) THE
                    PROTECTED PARTIES; (2) ANY DIRECT OR INDIRECT
                    OBLIGATION DUE TO THE PROTECTED PARTIES; OR (3) THE
                    PROPERTY OF THE PROTECTED PARTIES, WITH RESPECT TO
                    ANY SUCH CHANNELED CLAIM; AND

                 v. TAKING ANY ACTION, IN ANY MANNER, IN ANY PLACE
                    WHATSOEVER, THAT DOES NOT CONFORM TO, OR COMPLY
                    WITH, THE PROVISIONS OF THE PLAN.

ALL CLAIMS DESCRIBED IN THIS SECTION 12.3 SHALL BE CHANNELED TO THE
TRUST. THIS INJUNCTION SHALL NOT APPLY TO ANY REINSURANCE CLAIM OR
THE PERSONAL INJURY CLAIM. FOR THE AVOIDANCE OF DOUBT, CLAIMS BY
OR AGAINST ANY NON-SETTLING INSURER SHALL NOT BE CHANNELED
CLAIMS BUT CLAIMS BY ANY NON-SETTLING INSURER SHALL BE SUBJECT TO
THE INJUNCTIONS AND RELEASES SET FORTH IN THIS PLAN.

            12.3.1. LIMITATIONS ON THE SCOPE OF CHANNELING INJUNCTION.
NOTWITHSTANDING ANY PROVISION OF THIS PLAN, THE FOREGOING
“CHANNELING INJUNCTION PREVENTING PROSECUTION OF ABUSE CLAIMS”
PROVIDES ABSOLUTELY NO PROTECTION TO: (A) AN EXCLUDED PARTY; (B) ANY
CLAIMS EXCEPTED FROM EXCULPATION UNDER SECTION 18.4 OF THE PLAN; (C) TO
THE EXTENT THE SETTLING INSURERS ARE ALSO INSURERS TO THE DEBTOR OR
TO ANY PARTICIPATING PARTY UNDER POLICIES NOT SPECIFICALLY IDENTIFIED IN
EXHIBIT A, THE CHANNELING INJUNCTION SHALL NOT APPLY TO CLAIMS BY THE
DEBTOR OR ANY PARTICIPATING PARTY AGAINST ANY SETTLING INSURERS IN
THEIR CAPACITY AS AN INSURER TO SUCH PARTIES UNDER POLICIES NOT
SPECIFICALLY IDENTIFIED IN EXHIBIT A; AND (D) ANY NON-SETTLING INSURER.

     12.4 ENFORCEMENT TO THE MAXIMUM EXTENT. TO THE EXTENT NOT
OTHERWISE ENJOINED IN SECTION 12.3, THE ASSERTION OR ENFORCEMENT OF
CHANNELED CLAIMS, AND ANY ATTEMPT TO ASSERT OR ENFORCE A CHANNELED




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CLAIM, DIRECTLY OR INDIRECTLY, BY ANY PERSON, AGAINST A PROTECTED PARTY
IS HEREBY PERMANENTLY STAYED, ENJOINED, BARRED, AND RESTRAINED.

      12.5 SETTLING INSURER INJUNCTION. IN CONSIDERATION OF THE
CRITICAL UNDERTAKINGS AND SUBSTANTIAL CONTRIBUTIONS OF THE SETTLING
INSURERS PURSUANT TO THE TERMS OF THIS PLAN, INCLUDING THE FUNDING OF
THE TRUST, AND TO FURTHER PRESERVE AND PROMOTE THE SETTLEMENTS
EMBEDDED IN THIS PLAN BETWEEN AND AMONG THE PARTICIPATING PARTIES,
THE SETTLING INSURERS, HOLDERS OF SEXUAL ABUSE CLAIMS, THE SURVIVORS’
COMMITTEE, THE FCR, AND THE DEBTOR, AND PURSUANT TO SECTIONS 105, 363,
AND 1129 OF THE BANKRUPTCY CODE, AND EXCEPT AS OTHERWISE PROVIDED IN
THE PLAN, ANY AND ALL PERSONS (INCLUDING, WITHOUT LIMITATION, ALL DEBT
HOLDERS, ALL EQUITY HOLDERS, GOVERNMENTAL, TAX, AND REGULATORY
AUTHORITIES, LENDERS, TRADE AND OTHER CREDITORS, ABUSE CLAIMANTS,
FUTURE CLAIMANTS, SETTLING INSURERS, NON-SETTLING INSURERS, OTHER
INSURERS, AND ALL OTHERS HOLDING CLAIMS OR INTERESTS OF ANY KIND OR
NATURE WHATSOEVER AGAINST OR RELATED TO THE PROTECTED PARTIES) ARE
PERMANENTLY ENJOINED AND BARRED FROM ASSERTING AGAINST A SETTLING
INSURER, OR ANY OF ITS RELATED PERSONS, OR ANY NON-DEBTOR SETTLING
INSURER COVERED PERSON ANY CLAIM (INCLUDING ANY INSURANCE COVERAGE
CLAIM, EXTRA-CONTRACTUAL CLAIM, CONTRIBUTION CLAIM, OR SUBROGATION
CLAIM) OR INTEREST OF ANY KIND OR NATURE WHATSOEVER ARISING FROM OR
RELATING IN ANY WAY TO (A) ANY ABUSE CLAIM OR FUTURE CLAIM OR (B) ANY
OF THE SETTLING INSURER POLICIES OR (C) ANY CLAIM AGAINST ANY SETTLING
INSURER, OR ANY OF ITS RELATED PERSONS, OR ANY NON-DEBTOR SETTLING
INSURER COVERED PERSON FOR CONTRIBUTION, INDEMNITY, DEFENSE,
SUBROGATION, OR SIMILAR RELIEF THAT ARISES DIRECTLY OR INDIRECTLY FROM
ANY CLAIM AGAINST THE DEBTOR OR ANY NON-DEBTOR CGL SETTLING INSURER
COVERED PERSON, OR ANY SETTLING INSURER POLICY; PROVIDED, HOWEVER,
THAT SUCH INJUNCTION SHALL NOT APPLY TO THE HOLDER OF THE PERSONAL
INJURY CLAIM AND HER ABILITY TO PURSUE RECOVERY FROM THE PERSONAL
INJURY INSURANCE POLICY. NOTWITHSTANDING THE FOREGOING, TO THE
EXTENT THE SETTLING INSURERS ARE ALSO INSURERS TO THE DEBTOR OR TO
ANY PARTICIPATING PARTY UNDER POLICIES NOT SPECIFICALLY IDENTIFIED IN
EXHIBIT A, THE CHANNELING INJUNCTION SHALL NOT APPLY TO CLAIMS BY THE
DEBTOR OR ANY PARTICIPATING PARTY AGAINST ANY SETTLING INSURERS IN
THEIR CAPACITY AS AN INSURER TO SUCH PARTIES UNDER POLICIES NOT
SPECIFICALLY IDENTIFIED IN EXHIBIT A; AND (D) ANY NON-SETTLING INSURER.

     12.6 Contribution Bar against Non-Settling Insurers. IN CONSIDERATION OF
THE CRITICAL UNDERTAKINGS AND SUBSTANTIAL CONTRIBUTIONS OF THE
SETTLING INSURERS PURSUANT TO THE TERMS OF THIS PLAN, INCLUDING THE
FUNDING OF THE TRUST, AND TO FURTHER PRESERVE AND PROMOTE THE
SETTLEMENTS EMBEDDED IN THIS PLAN BETWEEN AND AMONG THE
PARTICIPATING PARTIES, THE SETTLING INSURERS, HOLDERS OF SEXUAL ABUSE
CLAIMS, THE SURVIVORS’ COMMITTEE, THE FCR, AND THE DEBTOR, AND
PURSUANT TO SECTIONS 105(a), 363, AND 1129 OF THE BANKRUPTCY CODE, ANY


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NON-SETTLING INSURER IS HEREBY PERMANENTLY STAYED, ENJOINED, BARRED,
AND RESTRAINED FROM TAKING ANY ACTION, DIRECTLY OR INDIRECTLY,
INCLUDING FILING ANY SUIT OR CAUSE OF ACTION AGAINST ANY SETTLING
INSURER, OR ANY OF ITS RELATED PERSONS, OR ANY NON-DEBTOR SETTLING
INSURER COVERED PERSON, FOR THE PURPOSES OF ASSERTING, ENFORCING, OR
ATTEMPTING TO ASSERT OR ENFORCE ANY CLAIM, INCLUDING ANY
CONTRIBUTION CLAIM, SUBROGATION CLAIM, CLAIM FOR RECOVERY OF
DEFENSE COSTS OR INDEMNITY PAYMENTS, OR ANY SIMILAR CLAIM, CAUSE OF
ACTION, OR REMEDY, AGAINST ANY SETTLING INSURER AND ANY NON-DEBTOR
SETTLING INSURER COVERED PERSON.

     12.7 PERMANENT TERM OF INJUNCTIONS OR STAYS AND
CONFIRMATION OF SETTLEMENTS WITH PARTICIPATING PARTIES AND
SETTLING INSURERS. ALL INJUNCTIONS AND STAYS PROVIDED FOR IN THIS PLAN
AND UNDER AND PURSUANT TO THE INJUNCTIVE PROVISIONS OF SECTIONS 524
AND 1141 OF THE BANKRUPTCY CODE ARE PERMANENT AND WILL REMAIN IN
FULL FORCE AND EFFECT FOLLOWING THE EFFECTIVE DATE AND ARE NOT
SUBJECT TO BEING VACATED OR MODIFIED.

      12.8 RELEASE OF AVOIDANCE CLAIMS AND OTHER CLAIMS AGAINST
PARTICIPATING PARTIES, NON-DEBTOR CGL SETTLING INSURER PERSONS,
AND SETTLING INSURERS. ON THE EFFECTIVE DATE, ALL AVOIDANCE RIGHTS OF
THE DEBTOR, THE ESTATE, AND THE REORGANIZED DEBTOR, INCLUDING THOSE
ARISING UNDER SECTIONS 544, 547, 548, 549, 550, AND 553 OF THE BANKRUPTCY
CODE, AGAINST EACH OF THE PARTICIPATING PARTIES, NON-DEBTOR CGL
SETTLING INSURER PERSONS, AND SETTLING INSURERS SHALL BE DEEMED
SETTLED, COMPROMISED, AND RELEASED BY THIS PLAN. AS TO EACH SETTLING
INSURER, ON THE EFFECTIVE DATE, THE INSURANCE COVERAGE ADVERSARY
PROCEEDING AND ALL RELATED PROCEEDINGS IN ANY COURT SHALL
IMMEDIATELY CEASE, AND THE INSURANCE COVERAGE ADVERSARY
PROCEEDING AND ANY RELATED PROCEEDINGS SHALL BE DISMISSED, WITH
PREJUDICE, AGAINST EACH SETTLING INSURER.

      12.9 MUTUAL RELEASE. EXCEPT FOR (i) OBLIGATIONS ARISING UNDER
ANY EXECUTORY CONTRACT ASSUMED BY THE REORGANIZED DEBTOR
PURSUANT TO ARTICLE XIX OF THIS PLAN, (ii) OBLIGATIONS UNDER THE PLAN
INCLUDING THE OBLIGATIONS OF THE PERSONAL INJURY INSURER SOLELY WITH
RESPECT TO THE PERSONAL INJURY CLAIM AND THE OBLIGATIONS OF SETTLING
INSURERS TO PAY DEFENSE COSTS (EXCLUDING ALL DEFENSE COSTS OF THE TYPE
SOUGHT IN THE COSTS MOTION) THROUGH THE EFFECTIVE DATE OF THE PLAN, AND (iii)
CLAIMS EXCEPTED FROM EXCULPATION UNDER SECTION 18.4, ON THE EFFECTIVE
DATE, THE DEBTOR, THE ESTATE, AND THE REORGANIZED DEBTOR, ON THE ONE
HAND, AND THE PARTICIPATING PARTIES, THE NON-DEBTOR CGL SETTLING
INSURER COVERED PERSONS, AND SETTLING INSURERS, ON THE OTHER HAND,
WAIVE, RELEASE, AND DISCHARGE ANY AND ALL CLAIMS OR CAUSES OF ACTION
OF EVERY KIND AND NATURE, KNOWN OR UNKNOWN, THAT THEY MAY HAVE
AGAINST EACH OTHER, AND THEIR RESPECTIVE RELATED PERSONS, INCLUDING


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CLAIMS ARISING UNDER OR AGAINST THEIR RESPECTIVE INSURANCE POLICIES.
NO SUCH CLAIM WILL SURVIVE THE EFFECTIVE DATE. NO SUCH CLAIM WILL BE
DEEMED TO BE ASSIGNED TO THE TRUST. NOTWITHSTANDING THE FOREGOING,
TO THE EXTENT THE SETTLING INSURERS ARE ALSO INSURERS TO THE DEBTOR OR
TO ANY PARTICIPATING PARTY UNDER POLICIES ISSUED TO THE DEBTOR OR ANY
PARTICIPATING PARTY NOT SPECIFICALLY IDENTIFIED IN EXHIBIT A, THIS MUTUAL
RELEASE SHALL NOT APPLY TO CLAIMS BY THE DEBTOR OR ANY PARTICIPATING
PARTY AGAINST ANY SETTLING INSURERS IN THEIR CAPACITY AS AN INSURER TO
SUCH PARTIES UNDER POLICIES NOT SPECIFICALLY IDENTIFIED IN EXHIBIT A.

     12.10 PROTECTED PARTY RELEASE. EXCEPT FOR (i) OBLIGATIONS UNDER
THE PLAN INCLUDING THE OBLIGATIONS OF THE PERSONAL INJURY INSURER WITH
RESPECT TO THE PERSONAL INJURY CLAIM AND THE OBLIGATIONS OF SETTLING
INSURERS TO PAY DEFENSE COSTS (EXCLUDING ALL DEFENSE COSTS OF THE TYPE
SOUGHT IN THE COSTS MOTION) THROUGH THE EFFECTIVE DATE OF THE PLAN, AND (ii)
CLAIMS EXCEPTED FROM EXCULPATION UNDER SECTION 18.4, ON THE EFFECTIVE
DATE OF THE PLAN, EACH AND EVERY PROTECTED PARTY SHALL GRANT, AND
SHALL BE DEEMED TO HAVE GRANTED, TO EACH DEBTOR CGL SETTLING INSURER
AND ITS RELATED PERSONS A FULL AND COMPLETE GENERAL RELEASE OF ALL
CLAIMS OR CAUSES OF ACTION OF EVERY KIND AND NATURE, KNOWN OR
UNKNOWN, THAT THEY MAY HAVE AGAINST EACH DEBTOR CGL SETTLING
INSURER AND ITS RELATED PERSONS RELATED IN ANY WAY TO THE DEBTOR CGL
INSURANCE POLICIES ISSUED BY SUCH DEBTOR CGL SETTLING INSURERS. NO
SUCH CLAIM WILL SURVIVE THE EFFECTIVE DATE AND SUCH RELEASES WILL BE
DEEMED GRANTED REGARDLESS OF WHETHER THE PROTECTED PARTY EXECUTES
AND DELIVERS A SEPARATE RELEASE TO A DEBTOR CGL SETTLING INSURER. IN
ADDITION, EACH PROTECTED PARTY WILL BE DEEMED TO HAVE CONSENTED TO
THE SALE BY THE DEBTOR OF EACH DEBTOR CGL INSURANCE POLICIES ISSUED
BY A DEBTOR CGL SETTLING INSURER BACK TO THE DEBTOR CGL SETTLING
INSURER. NOTWITHSTANDING THE FOREGOING, TO THE EXTENT THE DEBTOR CGL
SETTLING INSURERS ARE ALSO INSURERS TO THE USOPC UNDER POLICIES ISSUED
TO THE USOPC OR TO THE KAROLYIS UNDER INSURANCE POLICIES ISSUED TO THE
KAROLYIS, THIS RELEASE SHALL BE LIMITED BY THE USOPC RELEASE AND THE
KAROLYI RELEASE.

     12.11 USOPC RELEASE. ON THE EFFECTIVE DATE OF THE PLAN, THE USOPC
SHALL GRANT, AND SHALL BE DEEMED TO HAVE GRANTED, TO EACH USOPC
SETTLING INSURER AND ITS RELATED PERSONS A FULL AND COMPLETE GENERAL
RELEASE OF ANY RIGHTS AND INTERESTS IN INDEMNITY COVERAGE FOR ABUSE
CLAIMS UNDER ANY INSURANCE POLICY ISSUED BY A USOPC SETTLING INSURER
FOR WHICH THE ABUSE CLAIMANT HAS PROVIDED A FULL AND COMPLETE
GENERAL RELEASE TO THE USOPC PURSUANT TO SECTION 11.2.1 OF THE PLAN. THE
USOPC SHALL ALSO GRANT, AND SHALL BE DEEMED TO HAVE GRANTED, ONLY TO
NATIONAL CASUALTY COMPANY AND ITS RELATED PERSONS, AND ONLY IF
NATIONAL CASUALTY COMPANY IS A SETTLING INSURER, AND THEN ONLY UPON
THE EFFECTIVE DATE, A FULL AND COMPLETE RELEASE OF ANY AND ALL RIGHTS
AND INTERESTS TO DEFENSE COSTS INCURRED AFTER THE EFFECTIVE DATE OF


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THE PLAN FOR ABUSE CLAIMS UNDER ANY INSURANCE POLICY ISSUED BY
NATIONAL CASUALTY COMPANY THAT IS SPECIFICALLY IDENTIFIED ON
EXHIBIT A, WHETHER OR NOT SUCH ABUSE CLAIMS ARE THOSE FOR WHICH AN
ABUSE CLAIMANT HAS PROVIDED A RELEASE TO THE USOPC PURSUANT TO
SECTION 11.2.1 OF THE PLAN. NOTWITHSTANDING THE FOREGOING, THE USOPC
RETAINS THE RIGHT TO REIMBURSEMENT OF, AND TO PURSUE COLLECTION OF,
ANY DEFENSE COSTS INCURRED BEFORE THE EFFECTIVE DATE OF THE PLAN
UNDER ANY INSURANCE POLICY ISSUED BY NATIONAL CASUALTY COMPANY. THE
USOPC ALSO RETAINS THE RIGHT TO REIMBURSEMENT OF, AND TO PURSUE
COLLECTION OF, ANY DEFENSE COSTS INCURRED BEFORE OR AFTER THE
EFFECTIVE DATE OF THE PLAN UNDER ANY INSURANCE POLICY ISSUED BY A
USOPC INSURER OTHER THAN NATIONAL CASUALTY COMPANY. NOTHING IN THIS
PROVISION SHALL BE DEEMED TO LIMIT THE PROTECTED PARTY RELEASE
(DESCRIBED ABOVE) GRANTED BY THE USOPC TO ANY DEBTOR CGL SETTLING
INSURER OF CLAIMS AGAINST A DEBTOR CGL INSURANCE POLICY. PROVIDED,
HOWEVER, NOTHING IN THIS PROVISION SHALL BE CONSTRUED TO EFFECTUATE A
RELEASE OF ANY CLAIM BY THE USOPC AGAINST ANY DEBTOR CGL SETTLING
INSURER OR USOPC SETTLING INSURER UNDER OR IN CONNECTION WITH ANY
INSURANCE POLICY THAT IS NOT SUBJECT TO A CGL SETTLEMENT OFFER THAT IS
ACCEPTED BY A SETTLING INSURER AND THAT IS NOT LISTED ON EXHIBIT A.

     12.12 KAROLYI RELEASE. ON THE EFFECTIVE DATE OF THE PLAN, THE
KAROLYIS SHALL GRANT, AND SHALL BE DEEMED TO HAVE GRANTED, TO THE
KAROLYI SETTLING INSURER AND ITS RELATED PERSONS A RELEASE OF ANY
RIGHTS AND INTERESTS IN INDEMNITY COVERAGE FOR ABUSE CLAIMS UNDER
ANY INSURANCE POLICY ISSUED BY THE KAROLYI INSURER FOR WHICH THE
ABUSE CLAIMANT HAS PROVIDED A RELEASE TO THE KAROLYIS PURSUANT TO
SECTION 11.2.1 OF THE PLAN. NOTWITHSTANDING THE FOREGOING, NOTHING
SHALL BE CONSTRUED TO EFFECT A RELEASE OF ANY CLAIMS BY THE KAROLYIS
FOR REIMBURSEMENT OF DEFENSE COSTS UNDER ANY INSURANCE POLICY
ISSUED BY THE KAROLYIS SETTLING INSURER. THE KAROLYIS RETAIN THE RIGHT
TO REIMBURSEMENT OF, AND TO PURSUE COLLECTION OF, ANY DEFENSE COSTS
INCURRED TO DATE OR WHICH MAY BE INCURRED AFTER THE EFFECTIVE DATE OF
THE PLAN. NOTHING IN THIS PROVISION SHALL BE DEEMED TO LIMIT THE
PROTECTED PARTY RELEASE (DESCRIBED ABOVE) GRANTED BY THE KAROLYIS TO
ANY DEBTOR CGL SETTLING INSURER OF CLAIMS AGAINST A DEBTOR CGL
INSURANCE POLICY.

        12.13 EXCLUDED PARTIES LIMITATION OF RELEASES AND CHANNELING
INJUNCTION. Notwithstanding anything to the contrary herein, nothing herein shall be deemed
to release or affect any Claims by any Person (including Abuse Claimants, Future Claimants, and
any other Person) against any Excluded Parties. The Excluded Parties shall not be Released Parties
or receive the benefits or protections of the Channeling Injunction. The fact that an Excluded Party
shall not be a Released Party or receive the benefits or protections of the Channeling Injunction




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shall not prevent a release of Insurance Coverage under the Debtor CGL Insurance Policies issued
by Debtor CGL Settling Insurers.

           ARTICLE XIII. LITIGATION ONLY ALTERNATIVE PROVISIONS

       13.1    Applicability. This Article XIII is applicable only under the Litigation Only
Alternative.

        13.2 Lifting of Automatic Stay and Stay Imposed Under the 105 Order for the
Benefit of the Holders of Class 6 Claims. On the Effective Date, the automatic stay shall be lifted
only for the Holders of Class 6 Claims and the injunction imposed by the 105 Order will be
dissolved. Holders of Class 6 Claims who had not filed a Lawsuit before the Petition Date against
the Debtor shall have, subject to any and all defenses, including any applicable statute of
limitations or repose, or the equitable doctrine of laches, thirty (30) days pursuant to Section 108(c)
of the Bankruptcy Code, to file such lawsuit in a court of appropriate jurisdiction against the
Debtor; provided, however, that the sole source of recovery for such Claims against the Debtor
shall be limited to available proceeds of the Debtor’s CGL Insurance Policies (and Other Insurance
Policies, if any, that provide coverage for Class 6 Claims). Holders of a Class 6 Claim who filed a
Pre-Petition Lawsuit against the Debtor or any Co-Defendants shall have thirty (30) days to file a
notice in such Pre-Petition Lawsuit stating that the Claimant is electing to recommence litigation
against the Reorganized Debtor in name only pursuant to the terms of the Plan; provided, however,
that the sole source of recovery for such Claims against the Debtor shall be shall be limited to
available proceeds of the Debtor’s CGL Insurance Policies (and Other Insurance Policies, if any,
that provide coverage for Class 6 Claims). A Holder of a Class 6 Claim that does not file a suit or
file a notice to recommence litigation of a Pre-Petition Lawsuit within such thirty (30) day period
shall be forever barred from asserting the Holder’s Claim.

       13.3 Post-Effective Date Awards. In the event that any Holder of a Class 6 Claim
obtains a Post-Effective Date Award against the Reorganized Debtor, the Reorganized Debtor will
not object to the Claimant pursuing payment from any Debtor CGL Insurer that the Claimant
contends provides Debtor CGL Insurance Coverage for such Post-Effective Date Award. If the
Holder of a Class 6 Claim pursues payment from an Insurer other than a Debtor CGL Insurer, the
Debtor and Reorganized Debtor reserve their rights to object to the pursuit of such payment.

        13.4 Cooperation with Insurers in Defense of Claims. In the event that any Holder of
a Class 6 Claim prosecutes an action against the Reorganized Debtor, the Reorganized Debtor shall
reasonably cooperate, in accordance with the terms of any applicable Insurance Policy, governing
law, and consistent with the terms of this Plan, with any Insurer that is providing a defense to such
a Claim, but the Reorganized Debtor shall not be required to pay for the costs of any such defense
or cooperation, which will be paid solely by the Insurer(s) providing the defense. The Debtor does
not admit liability for any Class 6 Claims.

         13.5 Remand of Removed Actions and Relief from Automatic Stay/Discharge. On
the thirtieth (30th) day after the Effective Date and without further order of the Bankruptcy Court
or the District Court, (a) all actions removed by the Debtor or any other Co-Defendant during the
Chapter 11 Case are remanded to the Court from which they were removed; and (b) such actions
are not subject to the automatic stay or the injunction in Bankruptcy Code Section 524(a)(2).


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Nothing contained herein is intended to affect, diminish, or impair those provisions of this Plan
which prohibit execution of any judgment against the Reorganized Debtor, the Reorganized
Debtor’s Revested Assets or property the Reorganized Debtor acquires after the Effective Date.
Notwithstanding the foregoing, any plaintiff in a removed action may object to remand of such
action by filing an objection with the Bankruptcy Court within fifteen (15) days after the Effective
Date. Any removed action subject to an objection to remand shall not be remanded except upon
order of the Bankruptcy Court. The Reorganized Debtor shall file a notice of remand on the docket
for each remanded action.

                        ARTICLE XIV. INSURANCE NEUTRALITY

       14.1 No Modification of Debtor’s Insurance Policies of Non-Settling Insurers,
Other Insurers, or Personal Injury Insurer. Nothing in this Plan, the Confirmation Order, or in
any Plan Document modifies any of the terms of any Debtor’s Insurance Policies.

        14.2 Non-Settling Insurers’, Other Insurers’, and Personal Injury Insurer’s Duties
Not Impaired. The duties and obligations, if any, of the Non-Settling Insurers, the Personal Injury
Insurer and Other Insurer under their respective insurance policies shall not be impaired, altered,
reduced, or diminished by: (a) the discharge granted to the Debtor under the Plan pursuant to
Section 1141(d) of the Bankruptcy Code; (b) the injunctions, exculpations, and releases contained
in the Plan; or (c) any other provision of the Plan, the Confirmation Order, or the Plan Documents.
Nothing in the Plan, the Confirmation Order, or the Plan Documents shall provide any Non-
Settling Insurer, the Personal Injury Insurer, or any Other Insurer with a defense to their rights,
obligations, or duties to provide Insurance Coverage under any insurance policy.

        14.3 Trust Has No Impact. The fact that under the Full or Partial Settlement Alternative
the Trust is liquidating and paying or reserving monies on account of the Abuse Claims and Future
Claims shall not be construed in any way to diminish any obligation of any Non-Settling Insurer,
the Personal Injury Insurer, or an Other Insurer under any insurance policy to provide Insurance
Coverage to the Debtor, the Reorganized Debtor or a Participating Party for Abuse Claims. The
assignment of Insurance Claims or the appointment of the Trust as the representative of the Debtor,
the Reorganized Debtor or a Participating Party to pursue Insurance Claims, shall not be asserted
as a defense to coverage under any Non-Settling Insurer’s Insurance Policy or as a defense to the
Insurance Claims.

       14.4 Obligations for Claims. The Non-Settling Insurers’, Other Insurers’, and Personal
Injury Insurer’s obligations, if any, with respect to any Claim or Cause of Action, shall be
determined by and in accordance with the terms of their respective insurance policies and
applicable non-bankruptcy law, subject in all respects to the provisions of this Plan.

        14.5 Non-Settling Insurers’, Other Insurers’, and Personal Injury Insurer’s
Defenses. Nothing in this Plan, the Confirmation Order, or any Plan Document shall constitute a
finding or determination that the Debtor and/or any third party is or is not a named insured,
additional insured, or insured in any other way under any insurance policy; or that any Non-Settling
Insurer or Personal Injury Insurer or Other Insurer has or does not have any defense or indemnity
obligation with respect to any Claim. Such rights shall be determined by and in accordance with
the terms of the insurance policies and applicable non-bankruptcy law and this Plan. Nothing in


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the Plan, any Plan Document, or Confirmation Order creates a right of direct action not in
accordance with applicable non-bankruptcy law or insurance policy or eliminates a right of direct
action in accordance with applicable non-bankruptcy law or insurance policy.

        14.6 Reinsurance. Nothing in this Plan affects the rights of a Settling Insurer under any
agreement or contract providing reinsurance to the Settling Insurer. All such rights are retained by
the Settling Insurer.

         14.7 Defenses of the Debtor, the Estate, and the Reorganized Debtor. Nothing in the
Plan, the Confirmation Order, or any Plan Document shall diminish or impair the Debtor’s, the
Estate’s, or the Reorganized Debtor’s defenses to liability or damages in connection with any
insured Claim and the right of any Non-Settling Insurer or Other Insurer or Personal Injury Insurer
that is defending the Reorganized Debtor to assert any such underlying defenses to liability.

       14.8 Governing Law. Nothing in this Plan is intended to affect the governing law of the
any insurance policy.

                       ARTICLE XV. CLAIMS AND DISTRIBUTIONS

        15.1 Lift of Automatic Stay for Personal Injury Claim. On the Effective Date, the
automatic stay of litigation against the Debtor will be modified solely to permit the Holder of the
Personal Injury Claim to file a lawsuit against the Debtor in a court of appropriate jurisdiction
within thirty (30) days, subject to any applicable statute of limitations or repose, or the equitable
doctrine of laches, and pursuant to Section 108(c) of the Bankruptcy Code; provided, however,
that the sole source of recovery for the Personal Injury Claimant shall be any available proceeds
of the Personal Injury Insurance Policy. In the event the Personal Injury Claimant prosecutes an
action against the Reorganized Debtor, the Reorganized Debtor shall reasonably cooperate, in
accordance with the terms of the Personal Injury Insurance Policy, governing law, and consistent
with the terms of this Plan, with the Insurer that is providing a defense to such a Claim, but the
Reorganized Debtor shall not be required to pay for the costs of any such defense or cooperation.
The Debtor admits no liability for the Personal Injury Claim. If the Holder of the Personal Injury
Claim does not file suit within such thirty (30) day period, the Holder of the Personal Injury Claim
shall be forever barred from asserting the Holder’s Claim.

        15.2 Objections to Claims other than Abuse Claims, the Personal Injury Claim, the
USOPC Claim, Indemnification Claims, and the FCR Claim. Unless a Claim is (a) expressly
described as an Allowed Claim pursuant to or under the Plan; or (b) otherwise becomes an Allowed
Claim prior to the Effective Date, upon the Effective Date, the Reorganized Debtor shall be deemed
to have a reservation of any and all rights, interests, and objections of the Debtor, or the Estate, to
any and all Claims and motions or requests for the payment of or on account of Claims, whether
administrative expense, priority, secured, or unsecured, and whether under the Bankruptcy Code,
other applicable law, or contract. The Debtor’s failure to object to any Claim in the Chapter 11
Case shall be without prejudice to the Reorganized Debtor’s rights to object to, to contest or
otherwise defend against such Claim in the Bankruptcy Court as set forth in this Section when and
if such Claim is sought to be enforced by the Holder of such Claim. Objections to a Claim (except
for Abuse Claims, the USOPC Claims, Indemnification Claims, and the Personal Injury Claim) as
to which no objection is pending as of the Effective Date, must be filed and served not later than


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sixty (60) days after the later of (a) the Effective Date or (b) the date such Claim is filed, provided
that the Reorganized Debtor may request (and the Bankruptcy Court may grant) extensions of such
deadline, or of any Bankruptcy Court approved extensions thereof, by filing a motion with the
Bankruptcy Court without any requirement to provide notice to any Person, based upon a
reasonable exercise of the Reorganized Debtor’s business judgment. A motion seeking to extend
the deadline to object to any Claim shall not be deemed an amendment to the Plan.

        15.3 Service of Objections. An objection to a Claim shall be deemed properly served
on the Holder of such Claim if the objector effects service by any of the following methods: (a) in
accordance with Rule 4 of the Federal Rules of Civil Procedure, as modified and made applicable
by Bankruptcy Rule 7004; (b) to the extent counsel for such Holder is unknown, by first class mail,
postage prepaid, on the signatory on the proof of Claim or other representative identified on the
proof of Claim or any attachment thereto; or (c) by first class mail, postage prepaid, on any counsel
that has appeared on the behalf of such Holder in the Chapter 11 Case.

        15.4 Additional Documentation. From and after the Effective Date, the Reorganized
Debtor shall be authorized to enter into, execute, adopt, deliver, and/or implement all contracts,
leases, instruments, releases, and other agreements or documents necessary to effectuate or
memorialize the settlements contained in this Plan without further Order of the Bankruptcy Court.

       15.5    Provisions Governing Distribution To Holders of Allowed Claims.

               15.5.1. Distribution Only to Holders of Allowed Claims. Distributions under this
Plan and the Plan Documents will be made only to the Holders of Allowed Claims. Until a
Disputed Claim becomes an Allowed Claim, the Holder of that Disputed Claim will not receive
any Distribution otherwise provided to the Claimants under this Plan. If necessary in determining
the amount of a Pro Rata Distribution due to the Holders of Allowed Claims in any Class, the
Reorganized Debtor will make the Pro Rata calculation as if all unresolved Claims were Allowed
Claims in the full amount claimed or in the Estimated Amount. When an unresolved Claim in any
Class becomes an Allowed Claim, the Reorganized Debtor will make full or partial Distributions,
as applicable, with respect to such Allowed Claim, net of any setoff contemplated by the order, if
any, allowing such Claim and/or any required withholding of applicable federal and state taxes.

                15.5.2. Timing of Distributions. Unless otherwise agreed by the Reorganized
Debtor and the recipient of a Distribution under this Plan on account of an Allowed Claim,
whenever any payment to be made is due on a day other than a Business Day, such payment will
instead be made on the next Business Day, with interest to the extent expressly contemplated by
this Plan or any applicable agreement or instrument. Any Claimant that is otherwise entitled to an
Undeliverable Distribution and who does not provide the Reorganized Debtor, within thirty (30)
days after a Distribution is deemed to be an Undeliverable Distribution, a written notice asserting
its Claim to that Undeliverable Distribution and setting forth a current, deliverable address, will
be deemed to waive any Claim to such Undeliverable Distribution and will be forever barred from
receiving such Undeliverable Distribution or asserting any Claim against the Reorganized Debtor
or its property. Any Undeliverable Distributions that are not claimed under this Section will be
retained by the Reorganized Debtor in accordance with the Plan. Nothing in the Plan requires the
Reorganized Debtor to attempt to locate any Claimant who is otherwise entitled to an
Undeliverable Distribution.


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               15.5.3. Waiver of Distribution. If an instrument delivered as a Distribution to a
Claimant is not negotiated within one hundred and twenty (120) days after such instrument is sent
to the Claimant, that instrument shall be null and void, the Claimant shall be deemed to have
waived such Distribution, and such Distribution shall become Cash available to the Reorganized
Debtor.

               15.5.4. Form of Distributions. Unless otherwise agreed by the Reorganized
Debtor and the recipient of a Distribution under this Plan, all Distributions will be made, at the
option of the Reorganized Debtor, by a check by first class mail, postage prepaid, or by wire or
ACH transfer.

                15.5.5. No Professional Fees or Expenses. No professional fees or expenses
incurred by a Claimant will be paid by the Debtor, the Estate, or the Reorganized Debtor, except
as specified in this Plan.

        15.6 No Distributions Pending Allowance. No payments or Distributions will be made
with respect to all or any portion of a Disputed Claim unless and until all objections to such
Disputed Claim have been settled or withdrawn or have been determined by a Final Order, and the
Disputed Claim has become an Allowed Claim; provided, however, that in the event that only a
portion of such Disputed Claim is an Allowed Claim, the Reorganized Debtor may, in its discretion,
make a Distribution on account of the portion of such Claim that is an Allowed Claim.

        15.7 Claim Estimation. In order to effectuate Distributions pursuant to the Plan and
avoid undue delay in the administration of the Chapter 11 Case, the Debtor and the Estate (if prior
to the Effective Date) and the Reorganized Debtor (on and after the Effective Date), after notice
and a hearing (which notice may be limited to the Holder of such Disputed Claim), shall have the
right to seek an Order of the Bankruptcy Court or the District Court, pursuant to Section 502(c) of
the Bankruptcy Code, estimating or limiting, on account of a Disputed Claim, the amount of
(a) property that must be withheld from or reserved for distribution purposes on account of such
Disputed Claim, (b) such Claim for allowance or disallowance purposes, or (c) such Claim for any
other purpose permitted under the Bankruptcy Code; provided, however, that the Bankruptcy Court
or the District Court, as applicable, shall determine (a) whether such Claims are subject to
estimation pursuant to Section 502(c) of the Bankruptcy Code and (b) the timing and procedures
for such estimation proceedings, if any, with such matters being beyond the scope of the Plan.

         15.8 Setoffs. The Reorganized Debtor may, to the extent permitted under applicable law,
set off against any Allowed Claim and the Distributions to be made pursuant to the Plan on account
of such Allowed Claim, the Claims, rights, and Causes of Action of any nature that the Reorganized
Debtor may hold against the Holder of such Allowed Claim that are not otherwise waived, released
or compromised in accordance with the Plan; provided, however, that neither such a setoff nor the
allowance of any Claim hereunder shall constitute a waiver or release by the Reorganized Debtor
of any such Claims, rights, and Causes of Action that the Reorganized Debtor possesses against
such Holder.

       15.9 No Interest on Claims. Post-petition interest shall not accrue or be paid on any
Claim, and no Holder of a Claim shall be entitled to interest accruing on or after the Petition Date
on any Claim. In addition, and without limiting the foregoing or any other provision of the Plan or


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the Confirmation Order, interest shall not accrue on or be paid on any Disputed Claim in respect
of the period from the Effective Date to the date a final Distribution is made when and if such
Disputed Claim becomes an Allowed Claim.

       15.10 Withholding Taxes. The Reorganized Debtor shall comply with all withholding
and reporting requirements imposed by any federal, state, local, or foreign taxing authority, and all
Distributions hereunder shall be subject to any such withholding and reporting requirements. As a
condition to making any Distribution under the Plan, the Reorganized Debtor may require that the
Holder of an Allowed Claim provide such Holder’s taxpayer identification number and such other
information and certification as may be deemed necessary to comply with applicable tax reporting
and withholding laws.

        15.11 No De Minimis Distributions. Notwithstanding anything to the contrary in this
Plan, no cash payment of less than $10 will be made by the Reorganized Debtor to any Holder of
an Allowed Claim. No consideration will be provided in lieu of the de minimis Distributions that
are not made under this Section. Allowed Claims that are entitled to a Pro Rata Distribution of less
than $10 shall continue to accrue until such time as the Pro Rata Distribution on account of such
Claim will be $10 or more.

        15.12 Manner of Cash Payments. Cash payments to domestic Claimants will be
denominated in U.S. dollars and will be made by checks drawn on a domestic bank selected by the
Reorganized Debtor, or at the Reorganized Debtor’s option, by wire transfer from a domestic bank.
Cash payments to foreign Claimants may be paid, at the Reorganized Debtor’s option, either in the
same manner as payments to domestic entities or in any funds and by any means that are necessary
or customary in the particular foreign jurisdiction.

                                 ARTICLE XVI. LITIGATION

         16.1 Reorganized Debtor’s Retention of Causes of Action and Litigation. Except as
provided otherwise in this Plan, the Reorganized Debtor shall retain and exclusively enforce the
Debtor’s Claims and Causes of Action, including against any Non-Settling CGL Insurer or Other
Insurer in the Insurance Coverage Adversary Proceeding, whether arising before or after the
Petition Date, in any court or other tribunal, including without limitation any adversary proceeding
filed in the Chapter 11 Case. The Reorganized Debtor shall have the exclusive right, authority, and
discretion to institute, prosecute, abandon, settle, or compromise any and all such Claims and
Causes of Action, without obtaining Bankruptcy Court approval. Confirmation of this Plan shall
not release any of the Debtor’s Claims or Causes of Action except as expressly provided in this
Plan.

        16.2 Additional Actions. Any Person to whom the Debtor has incurred an obligation
(whether on account of the provision of goods, services, or otherwise), or who has received goods
or services from the Debtor or a transfer of money or property of the Debtor, or who has transacted
business with the Debtor, or leased equipment or property from the Debtor, should assume that
such obligation, transfer, or transaction may be reviewed by the Reorganized Debtor subsequent
to the Effective Date and may, if appropriate, be the subject of an action after the Effective Date,
regardless of whether (a) such Person has filed a proof of Claim against the Debtor in this Chapter
11 Case; (b) such Person’s proof of Claim has been objected to; (c) such Person’s Claim was


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included in the Schedules; or (d) such Person’s scheduled Claim has been objected to or has been
identified as disputed, contingent, or unliquidated. Notwithstanding the foregoing, this Section
shall not be applicable to Abuse Claimants.

                       ARTICLE XVII. CONDITIONS PRECEDENT

        17.1 Conditions to Effectiveness. The Effective Date will occur when each of the
following conditions is met: (a) the Bankruptcy Court shall have entered the Confirmation Order
in form and substance reasonably acceptable to the Reorganized Debtor and the Survivors’
Committee, and in addition, if the Full or Partial Settlement Alternative are selected, to the
Participating Parties, and the Settling Insurers; (b) the Confirmation Order shall have become a
Final Order on or before December 31, 2021; (c) if the Full or Partial Settlement Alternative are
selected, the Settlement Trustee, the FCR, and the Reorganized Debtor have signed the Trust
Agreement; (d) if the Full or Partial Settlement Alternative are selected, the Settling Insurers have
made their Agreed CGL Insurer Payments to the Debtor and the transfers to the Trust contemplated
in Section 9.3.2 of the Plan have been made to the Trust; (e) if the Full or Partial Settlement
Alternative are selected, the Bankruptcy Court has approved, by Final Order, the Buy-Back
Agreement of each Settling Insurer in form and substance reasonably acceptable to each Settling
Insurer, the Reorganized Debtor and the Survivors’ Committee; and (f) if the Full or Partial
Settlement Alternative are selected, the Settling Insurers have been dismissed from the Insurance
Coverage Adversary Proceeding with prejudice.

        17.2 Waiver of Conditions. Any conditions set forth in Section 17.1 of this Plan may
be waived only by the mutual written consent of the Debtor, the Survivors’ Committee, and, if the
Full or Partial Settlement Alternative, the Participating Parties, and Settling Insurers.

        17.3 Statement. A statement shall be filed with the Court within three (3) Business Days
after the Effective Date, advising the Court and all parties in interest of the occurrence of the
Effective Date.

        17.4 Non-Occurrence of Effective Date. Subject to further order of the Bankruptcy
Court, in the event that the Effective Date does not occur within one hundred twenty (120) days
after entry of a Final Order confirming the Plan, the Plan shall become null and void. A statement
shall be filed with the Court within three (3) Business Days after the Effective Date, advising all
parties of the Effective Date, or within three (3) Business Days after the occurrence of any event
that renders the Plan null and void, advising all parties that the Plan is null and void.

      ARTICLE XVIII. EFFECTS OF PLAN CONFIRMATION AND DISCHARGE

         18.1 Discharge. On the Effective Date of the Plan, pursuant to Section 1141(d) of the
Bankruptcy Code, the Debtor, the Estate, and the Reorganized Debtor will be discharged from all
liability for any and all Claims and Debts, known or unknown, whether or not giving rise to a right
to payment or an equitable remedy, that arose, directly or indirectly, from any action, inaction,
event, conduct, circumstance, happening, occurrence, agreement, or obligation of the Debtor, or
the Debtor’s Related Persons, before the Confirmation Date, or that otherwise arose before the
Confirmation Date, including all interest, if any, on any such Claims and Debts, whether such
interest accrued before or after the date of commencement of the Chapter 11 Case, and including



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all Claims and Debts based upon or arising out of Abuse Claims, the Personal Injury Claim, the
USOPC Claim, or the Indemnification Claims and from any liability of the kind specified in
Sections 502(g), 502(h), and 502(i) of the Bankruptcy Code, whether or not (a) a proof of claim is
filed or is deemed filed under Section 501 of the Bankruptcy Code; (b) such Claim is Allowed
under this Plan; or (c) the Holder of such Claim has accepted this Plan.

        18.2 Vesting of Assets. In accordance with Sections 1141 and 1123(a)(5) of the
Bankruptcy Code, the Revested Assets shall vest in the Reorganized Debtor on the Effective Date
free and clear of all liens, Claims, and interests of Creditors, including successor liability Claims.
On and after the Effective Date, the Reorganized Debtor may operate and manage its affairs and
may use, acquire, and dispose of property without notice to any Person, and without supervision
or approval by the Bankruptcy Court, and free of any restrictions imposed by the Bankruptcy Code,
Bankruptcy Rules, or the Bankruptcy Court, other than those restrictions expressly imposed by the
Plan or the Confirmation Order.

       18.3 Continued Existence of Reorganized Debtor. The Debtor will, as the
Reorganized Debtor, continue to exist after the Effective Date in accordance with the applicable
laws of the State of Texas, with all the powers of a not-for-profit having tax-exempt status under
26 U.S.C. § 501(c)(3) and all other applicable laws, and without prejudice to any right to alter or
terminate such existence under applicable state law.

     18.4 Exculpation and Limitation of Liability. NONE OF THE EXCULPATED
PARTIES WILL HAVE OR INCUR ANY LIABILITY TO, OR BE SUBJECT TO ANY RIGHT
OF ACTION BY, ANY HOLDER OF A CLAIM, ANY OTHER PARTY IN INTEREST, OR ANY
OF THEIR RESPECTIVE RELATED PERSONS, FOR ANY ACT OR OMISSION IN
CONNECTION WITH, RELATING TO, OR ARISING OUT OF THIS CHAPTER 11 CASE,
INCLUDING (1) THE EXERCISE OF THEIR RESPECTIVE BUSINESS JUDGMENT AND
THE PERFORMANCE OF THEIR RESPECTIVE FIDUCIARY OBLIGATIONS, (2) THE
PURSUIT OF CONFIRMATION OF THE PLAN, OR (3) THE ADMINISTRATION OF THE
PLAN, EXCEPT LIABILITY FOR THEIR WILLFUL MISCONDUCT OR FRAUD
(PROVIDED, HOWEVER, THE DEBTOR, THE ESTATE, AND REORGANIZED DEBTOR
WILL BE DISCHARGED FROM ANY SUCH LIABILITY FOR SUCH ACTS OR OMISSIONS
OCCURRING PRIOR TO THE CONFIRMATION DATE) AND, IN ALL RESPECTS, SUCH
PARTIES WILL BE ENTITLED TO REASONABLY RELY UPON THE ADVICE OF
COUNSEL WITH RESPECT TO THEIR DUTIES AND RESPONSIBILITIES UNDER THE
PLAN OR IN THE CONTEXT OF THE CASE. WITHOUT LIMITING THE GENERALITY OF
THE FOREGOING, THE DEBTOR AND ITS RELATED PARTIES, ITS EMPLOYEES, AND
THE DEBTOR’S PROFESSIONALS, AND THE SURVIVORS’ COMMITTEE, ITS
MEMBERS SOLELY IN THEIR CAPACITIES AS MEMBERS OF THE SURVIVORS’
COMMITTEE, AND THE SURVIVORS’ COMMITTEE’S PROFESSIONALS SHALL BE
ENTITLED TO AND GRANTED THE BENEFITS OF SECTION 1125(E) OF THE
BANKRUPTCY CODE. FOR THE AVOIDANCE OF DOUBT, THIS SECTION AND THE
DEFINITION OF “EXCULPATED PARTIES” SHALL NOT, DIRECTLY OR INDIRECTLY,
INURE TO OR FOR THE BENEFIT OF A PERSON OR PERSONS HAVING PERSONALLY
COMMITTED AN ACT OR ACTS OF SEXUAL ABUSE RESULTING IN A CLAIM AGAINST
THE DEBTOR. NEITHER THE EXCULPATED PARTIES, NOR THE TRUST OR THE
SETTLEMENT TRUSTEE, AND PROFESSIONALS EMPLOYED BY THE FOREGOING,


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SHALL HAVE ANY LIABILITY TO ANY GOVERNMENTAL ENTITY OR INSURER ON
ACCOUNT OF PAYMENTS MADE TO A SEXUAL ABUSE CLAIMANT, INCLUDING
LIABILITY UNDER THE MEDICARE SECONDARY PAYER ACT, EXCEPT AS EXPRESSLY
PROVIDED HEREIN.

  ARTICLE XIX. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
                             LEASES

      19.1 Assumed Employee Benefit Plans. To the extent not previously assumed, all
employee and retiree benefit plans to which the Debtor is a party will be deemed assumed by the
Reorganized Debtor on the Effective Date.

        19.2 General; Assumed if Not Rejected. Subject to the requirements of Section 365 of
the Bankruptcy Code, all executory contracts and unexpired leases of the Debtor that have not
been rejected by order of the Bankruptcy Court or are not the subject of a motion to reject pending
on the Confirmation Date will be deemed assumed by the Reorganized Debtor on the Effective
Date. If any party to an executory contract or unexpired lease that is being assumed objects to such
assumption, the Bankruptcy Court may conduct a hearing on such objection on any date that is
either mutually agreeable to the parties or fixed by the Bankruptcy Court. All payments to cure
defaults that may be required under Section 365(b)(1) of the Bankruptcy Code will be made by the
Reorganized Debtor. In the event of a dispute regarding the amount of any such payments, or the
ability of the Debtor to provide adequate assurance of future performance, the Reorganized Debtor
will make any payments required by Section 365(b)(1) of the Bankruptcy Code after the entry of
a Final Order resolving such dispute.

        19.3 Claims for Contract Rejection. All proofs of claim with respect to Claims arising
from the rejection of executory contracts or unexpired leases must be filed with the Bankruptcy
Court within 30 days after the Effective Date or such Claims will be forever barred. If any order
providing for the rejection of an executory contract or unexpired lease did not provide a deadline
for the filing of Claims arising from such rejection, proofs of Claim with respect thereto must be
filed within 30 days after the later to occur of (a) the Effective Date or, (b) if the order is entered
after the Effective Date, the date such order becomes a Final Order, or such Claims will be forever
barred.

        19.4 Indemnification Claims. Notwithstanding the foregoing, any agreement to
provide indemnification to any Person contained in the Debtor’s By-laws or any executory contract
shall be satisfied by the treatment set forth in this Plan for Claims in Classes 8 and 9.

                    ARTICLE XX. NON-MONETARY COMMITMENTS

        20.1 Commitment to Athlete Safety. Athletes are the heart and soul of gymnastics, and
the Debtor and the Survivors’ Committee are both focused on making the organization more
athlete-centric. As part of this commitment, the Survivors’ Committee and the Debtor are working




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towards an agreement on certain non-monetary commitments to be included in the Plan when it is
sent to survivors for their vote.

As those discussions continue, and subject to their completion, the parties have discussed and
agreed upon a number of steps to strengthen athlete safety and are in discussion about other steps
to be taken. The Debtor has committed thus far to the following:

      Before the Petition Date, the Debtor implemented a streamlined Board structure, reducing
       the number of directors from 21 to 15 and requiring a majority of the Board to be
       independent directors. In November 2020, the Debtor adopted Amended and Restated
       Bylaws, which further changed the Board structure. The Board continues to have 15
       members, now comprised of 8 independent directors, 5 athlete representatives, 1 national
       membership director, and 1 affiliated organizations Director. At least 1 of USAG’s
       directors will be a survivor. At least 1 member of USAG’s Safe Sport Committee and at
       least 1 member of USAG’s Athlete Health and Wellness Council will be a survivor. The
       Survivors’ Committee is working on a proposed process to nominate and/or select the
       survivors to fill these positions.

      Any complaints about individuals holding positions on the USAG board or standing
       committee member over whom the USAG board has oversight or removal capabilities will
       be addressed by the USAG board at the next board meeting following the complaint, or
       within 30 days, whichever is earlier.

      The Debtor hired a new President and CEO, who has met nearly one thousand stakeholders,
       including survivors, to hear their perspectives on how to improve athlete safety and the
       organization overall.

      The Debtor updated its bylaws and policies to strengthen Safe Sport provisions and
       complaint processing. These updates include: creating a permanent Safe Sport Committee;
       increasing the number of independent directors to eight; removing the President from a role
       in the processing of complaints; easing complaint filing requirements;
       delineating responsibilities of the Board and president more clearly; and providing for the
       publication of the names of members who have been suspended or placed on the
       permanently ineligible list as part of the disciplinary process.

      The Debtor adopted a new Safe Sport Policy, which mandates reporting, defines specific
       types of misconduct, sets standards to prohibit “grooming” behavior, and establishes
       greater accountability. The policy further provides important requirements and information
       on mandatory reporting and Proactive Policies that empower athletes and guide athlete-
       coach interactions. A copy of the Safe Sport Policy is available at:
       https://usagym.org/pages/education/safesport/policy.html. The Debtor will not permit a
       gym club to be a member of USAG unless it commits, as part of its membership agreement
       with USAG, to adopt and share these policies with its coaches, employees and gymnasts.
       The website also includes a “Policy Snapshot” summary, Safe Sport FAQs, including an
       FAQ page specific to parents and guardians, and educational webinars.




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     The Debtor has expanded its Safe Sport Department to better support, train, educate, and
      serve members. The department now includes a Director of Safe Sport Education and
      Policy, a Safe Sport Legal Counsel, four Safe Sport Investigators, a Safe Sport
      Administrative Manager, and paralegal with dedicated Safe Sport responsibilities.

     The Debtor has hired a Chief of Athlete Wellness, which is a new role. This person is
      responsible for overseeing the Safe Sport Department as well as the organization’s strategy
      and execution of holistic athlete health and wellness initiatives, including sports medicine,
      sports psychology, and nutrition services. Medical care at USAG-hosted camps and events
      is provided in accessible areas where multiple athletes may be present and multiple medical
      staff are present and able to view all medical encounters.

     The Debtor will ensure that posters with information setting forth how to report abuse or
      assault (“reporting posters”) shall be affixed in prominent places throughout the venue
      during a USAG-hosted camp or event. The reporting poster will have QRC codes for easy
      accessibility to USAG’s and the Center for SafeSport’s (the “Center”) online reporting
      portals. The reporting poster will be written so that it is easily understood by its intended
      audience, including children. USAG member clubs must also hang such posters in
      prominent places throughout their facilities as a condition of membership in USAG.
      USAG will supply the posters to member clubs at USAG’s expense.

     The Debtor will not permit a gymnastics club to be a member of USAG unless it commits,
      as a condition of the membership agreement (which will include this Non-Monetary
      Commitments section of the Plan as an attachment to the agreement), to at the least:

         o affix the reporting posters in prominent places throughout the member club’s
           facility;

         o provide gymnasts (or the gymnast’s parent/guardian, if the gymnast is a minor) with
           information and pamphlets about sexual assault and how to report it and USAG will
           supply the pamphlets to member clubs at USAG’s expense;

         o adopt and utilize USAG’s Safe Sport Policy;

         o provide educational programs and training to volunteers, gymnasts (including
           minor gymnasts, with parent/guardian consent) and coaches related to appropriate
           boundaries, sexual assault, abuse and how to report it;

         o require individual members, including member club owners and coaches, to agree
           as a condition of membership that they understand their abuse reporting obligations
           and that they will report any suspicion of abuse to law enforcement;

         o prohibit one-on-one contact between a minor and an unrelated adult, in accordance
           with the Center’s Minor Athlete Abuse Prevention Policy;

         o utilize the member club’s website to provide educational information regarding
           assault and abuse and how to report it; and



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         o require all persons, including but not limited to volunteers, coaches, and owners,
           who have regular contact with or authority over with minor athletes to complete
           Safe Sport training.

     Each member club will have a Safety Champion, who is responsible for communicating
      with USAG and facilitating compliance with the above mentioned requirements. The
      Safety Champion will work with USAG so that the member club has access to materials
      and information, provided at USAG’s expense, needed to fulfill its obligations set forth
      above. The process of selecting and training the Safety Champion is under discussion with
      the Survivors’ Committee.

     The Debtor has charged all of its employees with supporting and encouraging athlete
      wellness. For example, the Debtor’s Chief Communications and Marketing Officer is
      responsible for incorporating the message of safety in all communications, and the Debtor’s
      Chief of Staff and human Resources is responsible for ensuring that there is an internal,
      organizational culture of prioritizing safety. As part of this initiative, all new staff members
      receive SafeSport training within their first week with the organization.

     The Debtor has streamlined the reporting process by creating a dedicated, toll-free number,
      833-844-SAFE; the safe sport email address of safesport@usagym.org; and online
      reporting at usagym.org/safesport. In addition to reporting violations of the Safe Sport code
      to USA Gymnastics, members are required to immediately report suspected child abuse,
      including sexual abuse, to law enforcement and to the U.S. Center for Safe Sport. The
      Debtor will set up a reporting portal that is accessible through use of a QRC code and a
      hotline for ease of reporting by a person or child. The reporting portal and/or hotline will
      be user friendly and make it easy for even a child to report abuse. The Debtor will promptly
      provide all reporting information that it receives to the U.S. Center for Safe Sport. The
      Survivors’ Committee may make additional suggestions to aid in ease of use of the portal.

     USAG will work with the Survivors’ Committee to address issues that currently exist with
      the Center’s performance and USAG will help facilitate that communication with the
      Center, including, but not limited to, using its best efforts to arrange for a video conference
      with the Debtor, the Survivor’s Committee and the Center’s decision-makers and those
      with the ability to assist in implementing changes to the reporting process and procedures
      thereafter, including expediting timing of the investigation and its conclusion.

     The Debtor publishes on its website the names of permanently ineligible members and
      suspended members.         The website for permanently ineligible members is:
      https://usagym.org/pages/aboutus/pages/permanently_ineligible_members.html And the
      website              for             suspended               members             is:
      https://usagym.org/pages/aboutus/pages/suspended_members.html

     The Debtor has strengthened its educational initiatives about athlete safety. The Debtor
      rolled out its new Safe Sport educational and training materials, which include industry
      best practices and ideas from experts in the prevention of child sexual abuse. The
      educational outreach encompasses presentations at Regional and National Congresses,


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       social media posts, along with live additional educational and informational opportunities
       for clubs and all professional members; informational videos and articles about Safe Sport
       issues at usagym.org/safesport; and additional resources for parents at
       usagymparents.com. Professional members, Board members, and USA Gymnastics staff
       are required to take Safe Sport training. Safe Sport is also included as part of the safety and
       risk management course.

      The Debtor has instituted a Protest Policy for National Team Athletes. The below statement
       is memorialized in the National Team Handbook.

              As a National Team athlete, you have an opportunity to use your voice to
              help improve the sport and the National Team experience by providing
              critical feedback, responding to surveys, and speaking candidly about what
              is and is not working well. Our role at USA Gymnastics is to listen to your
              feedback, and ensure that your input is an important component in the
              planning and decision-making process.

              In a number of forums (e.g., on social media, at press conferences, etc.),
              you also have a platform to use your voice in other ways – whether that is
              to inspire the next generation of gymnasts, provide feedback on your
              experiences, share personal anecdotes, or advocate for causes you believe
              in. Your choice to do so – including through peaceful protest at a USA
              Gymnastics’ event – will not impact selections, team participation, or
              results, to the extent it is under USA Gymnastics’ control (i.e., the Olympic
              Games are not under USAG control), so long as you are complying with the
              USA Gymnastics’ policies, including the Code of Ethical Conduct.

      The Debtor adopted an Athlete Bill of Rights, which is posted on the Debtor’s website
       here: https://usagym.org/PDFs/About%20USA%20Gymnastics/athlete_bor.pdf.

      The Debtor has partnered with the Positive Coaching Alliance and has instituted training
       for clubs, gyms, gymnasts (or their parent/guardian, if the gymnast is a minor), organization
       staff, national team staff, and coaches of national team members.
      The Debtor issued a Culture Survey to athlete parents and our membership to track its
       progress, and the Debtor is committed to doing this survey on an annual basis.

      The Debtor retained Deborah Daniels to audit the Debtor’s progress on the Daniels’
       recommendations.

In addition, the Debtor and the Reorganized Debtor commit to the following steps to continue
strengthening athlete safety:

      Ensure that all sponsorship and partnership dals incorporate some aspect of athlete
       wellness.

      Become a more data-driven organization, particularly with regards to athlete safety;



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      Implement additional educational programming about athlete safety, including dialogue-
       based information-share opportunities and more easily-accessed content, such
       programming will be shared with gyms and clubs through conferences and Safety
       Champions;

      Become more transparent in the Safe Sport process to build trust within the community
       and encourage reporting;

      Audit member clubs for compliance with the Safe Sport Policy;

      Continue to engage with, and listen to, all stakeholders; and

      Engage with survivors who want to be involved in order to improve the organization on
       every level—culture, policies, governance, etc.

Accountability. The Debtor and the Survivors’ Committee are discussing a process to provide for
historical accountability, healing for all stakeholders, with focus on the survivors, and future
supervision, monitoring, auditing and implementation of the Plans’ Non-Monetary Commitments.
The Survivor’s Committee and the Debtor commit to continued discussions regarding the hiring
of an independent, trauma-informed Expert, with experience in childhood sexual abuse involving
betrayal trauma/institutional betrayal. The Survivors’ Committee and the Debtor commit to
continued discussions about the work and make-up of a Restorative Justice Task Force.

                    ARTICLE XXI. MISCELLANEOUS PROVISIONS

       21.1   Obligations of the Reorganized Debtor. The Reorganized Debtor will:

       (a)    In the exercise of its business judgment, review all Claims filed against the Estate
              except for Channeled Claims, and, if advisable, object to such Claims;

       (b)    In the exercise of its business judgment, investigate, prosecute, settle, dismiss, or
              otherwise resolve all Causes of Action that are not resolved under this Plan. Unless
              otherwise provided in this Plan, the Reorganized Debtor will be entitled to receive
              recoveries from Causes of Action, including Insurance Reimbursement Claims, and
              from the Debtor’s Insurance Policies other than any recoveries awarded to the
              Personal Injury Claimant;

       (c)    Perform all of its obligations under this Plan and Plan Documents, in each case, as
              and when the same become due or are to be performed; and

       (d)    Notwithstanding anything to the contrary in this Plan, honor all of the Debtor’s
              obligations under the Debtor’s Insurance Policies and under applicable non-
              bankruptcy law, with the Reorganized Debtor’s attorneys’ fees, costs, and expenses
              incurred in doing so, if any, to be paid by the Insurers, as provided under the
              Debtor’s Insurance Policies.




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        21.2 Retention of Jurisdiction. Notwithstanding entry of the Confirmation Order or the
occurrence of the Effective Date, the Bankruptcy Court will retain jurisdiction over all matters
arising under, in furtherance of, or in connection with this Plan, including the following:

       (a)     The determination of objections to Disputed Claims, and the determination of
               requests for payment of Claims entitled to priority under Section 507 of the
               Bankruptcy Code, including compensation of and reimbursement of expenses of
               parties entitled thereto;

       (b)     The resolution of controversies and disputes regarding interpretation and
               implementation of this Plan and the Plan Documents;

       (c)     The granting of relief in aid of this Plan and the Plan Documents, including the
               entry of appropriate orders (which may include removal of actions in non-
               Bankruptcy Court forums to the Bankruptcy Court, as well as contempt or other
               sanctions) to protect the Reorganized Debtor and the Released Parties from actions
               prohibited under this Plan or the Plan Documents;

       (d)     Amendments to and modifications of this Plan;

       (e)     The determination of any and all applications, adversary proceedings, and contested
               or litigated matters pending on the Effective Date, including but not limited to the
               Insurance Coverage Adversary Proceeding;

       (f)     The determination of any motion to determine that a Claimant is a Future Claimant
               or to determine that a Sexual Abuse Claim filed after the Bar Date shall be deemed
               to have been filed before the Bar Date; and

       (g)     The closing of this Chapter 11 Case.

        21.3 Modification of Plan. The Plan Proponents reserve the right, in accordance with
the Bankruptcy Code, to amend, modify, or withdraw this Plan prior to the entry of the
Confirmation Order. After the entry of the Confirmation Order, the Plan Proponents may, upon
order, amend, or modify this Plan in accordance with Section 1127(b) of the Bankruptcy Code, or
remedy any defect or omission or reconcile any inconsistency in this Plan in such manner as may
be necessary to carry out the purpose and intent of this Plan.

        21.4 Post-Confirmation Court Approval. Any action requiring Bankruptcy Court,
District Court, or state court approval after the Effective Date will require the Person seeking such
approval to file an application, motion, or other request with the Bankruptcy Court, District Court,
or state court, as applicable, and obtain a Final Order approving such action before the requested
action may be taken. The Person filing such application, motion, or other request shall serve such
application, motion, or other request, together with a notice setting forth the time in which
objections must be filed with the Bankruptcy Court, on the Reorganized Debtor by first-class mail,
electronic mail, ECF, overnight courier, facsimile, or hand delivery. Unless the court orders
otherwise, all notices shall provide at least 21 days in which to file an objection to the application,
motion, or other request. If no objection is timely filed, the court may authorize the proposed action
without further notice or a hearing. If an objection is timely filed, the court will determine whether


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to conduct a hearing, or to require the submission of further documentation, prior to ruling on the
application, motion, or other request.

         21.5 Election Pursuant to Section 1129(b) of the Bankruptcy Code. If necessary, the
Plan Proponents hereby request confirmation of the Plan pursuant to Section 1129(b) of the
Bankruptcy Code if the requirements of all provisions of Section 1129(a) of the Bankruptcy Code,
except Section 1129(a)(8) thereof, are met with regard to the Plan. In determining whether the
requirements of Section 1129(a)(8) of the Bankruptcy Code have been met, any Class that does
not contain as an element thereof an Allowed Claim or a Claim temporarily allowed under
Bankruptcy Rule 3018 as of the date fixed by the Bankruptcy Court for filing acceptances or
rejections of this Plan shall be deemed deleted from this Plan for purposes of voting to accept or
reject this Plan and for purposes of determining acceptance or rejection of this Plan by such Class.

        21.6 Closing of the Chapter 11 Case. As soon as practicable after the Effective Date,
when the Reorganized Debtor deems appropriate, the Reorganized Debtor will seek authority from
the Bankruptcy Court to close the Chapter 11 Case in accordance with the Bankruptcy Code and
the Bankruptcy Rules; provided, however, that entry of a final decree closing the Chapter 11 Case
shall, whether or not specified therein, be without prejudice to the right of the Reorganized Debtor,
or any other party in interest, to reopen the Chapter 11 Case for any matter over which the
Bankruptcy Court or the District Court has retained jurisdiction under this Plan. Any order closing
this Chapter 11 Case will provide that the Bankruptcy Court or the District Court, as appropriate,
will retain (a) jurisdiction to enforce, by injunctive relief or otherwise, the Confirmation Order,
any other orders entered in this Chapter 11 Case, and the obligations created by this Plan and the
Plan Documents; and (b) all other jurisdiction and authority granted to it under this Plan and the
Plan Documents.

        21.7 Dissolution of the Survivors’ Committee. On the Effective Date, the Survivors’
Committee shall dissolve automatically, whereupon its members and the Survivors’ Committee’s
Professionals shall be released from any further duties and responsibilities in the Chapter 11 Case
and under the Bankruptcy Code, except that such parties shall continue to be bound by any
obligations arising under confidentiality agreements, joint defense/common interest agreements
(whether formal or informal), and protective orders entered during the Chapter 11 Case, which
shall remain in full force and effect according to their terms, and further provided that such parties
shall continue to have a right to be heard with respect to any and all applications for Professional
Claims.

       21.8 Termination of the Appointment of the FCR. The Bankruptcy Court’s
appointment of the FCR shall be terminated when the funds in the Future Claimant Reserve are
completely distributed as provided in Sections 9.5 and 11.8 of the Plan, whereupon the FCR and
the FCR’s Professionals shall be released from any further duties and responsibilities in the
Chapter 11 Case and under the Bankruptcy Code, except that such parties shall continue to be
bound by any obligations arising under confidentiality agreements, joint defense/common interest
agreements (whether formal or informal), and protective orders entered during the Chapter 11
Case, which shall remain in full force and effect according to their terms, and further provided that
such parties shall continue to have a right to be heard with respect to any and all applications for




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Professional Claims. The fees and expenses of the FCR from and after the Effective Date shall be
paid from the Future Claimant Reserve.

        21.9 Notices. All notices or requests to the Debtor, the Estate, or the Reorganized Debtor
in connection with this Plan shall be in writing and served either by (i) United States mail, postage
prepaid, (ii) hand delivery, or (iii) reputable overnight delivery service, all charges prepaid, and
shall be deemed given when received by the following parties:

       If to the Debtor, the Estate, or Reorganized Debtor:

       USA Gymnastics
       1099 N. Meridian St.,
       Suite 800
       Indianapolis, Indiana 46204

       With a copy to:
       Jenner & Block LLP
       353 North Clark Street
       Chicago, Illinois 60654
       Attn: Catherine Steege and Melissa Root

       If to the Survivors’ Committee:

       Pachulski Stang Ziehl & Jones
       10100 Santa Monica Blvd., 11th Floor
       Los Angeles, California 90067
       Attn: James Stang and Ilan Scharf

        21.10 Notices to Claimants. All notices and requests to a Person holding any Claim will
be sent to them at the last known address listed for such Person with the Bankruptcy Court or with
the Claims Agent, or to the last known address of their attorney of record. The Holder of a Claim
may designate in writing any other address, which designation will be effective upon actual receipt
by the Reorganized Debtor. Any Person entitled to receive notice under this Plan will have the
obligation to provide the Reorganized Debtor with such Person’s current address for notice
purposes. The Reorganized Debtor will have no obligation to attempt to locate a more current
address in the event any notice proves to be undeliverable to the most recent address which has
been provided to the Reorganized Debtor.

       21.11 Consummation of the Plan. The Debtor reserves the right to request that the
Confirmation Order include a finding by the Bankruptcy Court that Bankruptcy Rule 3020(e) shall
not apply to the Confirmation Order.

        21.12 Severability. If, before confirmation, the Bankruptcy Court holds that any Plan
term or provision is invalid, void, or unenforceable, the Bankruptcy Court may alter or interpret
that term or provision so that it is valid and enforceable to the maximum extent possible consistent
with the original purpose of that term or provision. That term or provision will then be applicable
as altered or interpreted, except if such term or provision is inconsistent with the intent of the Plan


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Proponents, in which case the Plan may be unilaterally withdrawn by the Plan Proponents.
Notwithstanding any such holding, alteration, or interpretation, the Plan’s remaining terms and
provisions will remain in full force and effect and will in no way be affected, impaired, or
invalidated. The Confirmation Order will constitute a judicial determination providing that each
Plan term and provision, as it may have been altered or interpreted in accordance with this Section,
is valid and enforceable under its terms.

       21.13 Headings. The headings of the Sections of this Plan are inserted for convenience
only and will not affect the interpretation hereof.

        21.14 Exemption from Transfer Taxes. Pursuant to Section 1146(a) of the Bankruptcy
Code, the delivery of any deed or other instrument of transfer under, in furtherance of, or in
connection with this Plan, whether occurring prior or subsequent to the Confirmation Date,
including any deeds, bills of sale, or assignments executed in connection with any disposition of
assets contemplated by this Plan, shall not be subject to any stamp tax, real estate transfer tax,
excise tax, sales tax, use tax, or other similar tax. The Plan may be modified after the Effective
Date to incorporate the terms of such sale.

       21.15 Waivers. Any term of the Plan may be waived by the party benefited by the term
to be waived.

        21.16 Setoffs, Recoupments, and Defenses. Nothing contained in the Plan shall
constitute a waiver or release by the Debtor, the Estate, or the Reorganized Debtor of any rights of
setoff or recoupment or of any defense they may have with respect to any Claim (including rights
under Section 502(d) of the Bankruptcy Code). The Debtor, the Estate, and the Reorganized Debtor
may, but will not be required to, set off against any Claim or any Distributions with respect to such
Claim, any and all of the Claims, rights, and causes of action of any nature that the Debtor, the
Estate, or the Reorganized Debtor may hold against the Holder of such Claim; provided, however,
that neither the failure to effect such a setoff, the allowance of any Claim hereunder, the payment
of any Distribution hereunder or any other action or omission of the Debtor, the Estate, or the
Reorganized Debtor, nor any provision of the Plan, shall constitute a waiver or release by the
Debtor, the Estate, or the Reorganized Debtor of any such Claims, rights, and causes of action that
the Debtor, the Estate, or the Reorganized Debtor may possess against such Holder.

       21.17 Withdrawal or Revocation of the Plan. The Plan Proponents reserve the right to
revoke or withdraw the Plan prior to the Confirmation Date.

        21.18 Default. In the event that the Reorganized Debtor defaults in the performance of
any of its respective obligations under the Plan or under any of the Plan Documents, and shall not
have cured such default within any applicable cure period (or, if no cure period is specified in the
Plan, Plan Documents, or any instrument issued to or retained by a Claimant under the Plan, then
within 30 days after receipt of written notice of default), then the entity to whom the performance
is due may pursue such remedies as are available at law or in equity. An event of default occurring
with respect to one Claim shall not be an event of default with respect to any other Claim.

        21.19 Governing Law. Except as provided in section 14.8 or to the extent that federal
law (including the Bankruptcy Code or Bankruptcy Rules) is applicable, the rights and obligations



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arising under the Plan and under the Plan Documents shall be governed by and construed and
enforced in accordance with the laws of the State of Indiana without giving effect to the principles
of conflicts of laws.

        21.20 Reservation of Rights. If the Plan is not confirmed, or, if confirmed, the Effective
Date does not occur by December 31, 2021 (unless such deadline is waived or modified as
provided in Section 17.1), the rights of all parties in interest in the Chapter 11 Case are and will be
reserved in full. Any concessions or settlements reflected herein, if any, are made for purposes of
the Plan only, and if the Plan is not confirmed, or, if confirmed, the Effective Date does not occur,
no party in interest in the Chapter 11 Case shall be bound or deemed prejudiced by any such
concessions or settlements.

        21.21 Successors and Assigns. The Plan shall be binding upon and inure to the benefit
of the Debtor, the Estate, the Reorganized Debtor, all Claimants, and all other parties in interest
affected thereby, and their respective successors, heirs, legal representatives, and assigns.

       21.22 Direction to a Party. On and after the Effective Date, the Reorganized Debtor may
apply to the Bankruptcy Court for entry of an Order directing any Person to execute or deliver or
to join in the execution or delivery of any instrument or document reasonably necessary or
reasonably appropriate to effect a transfer of properties dealt with by the Plan, and to perform any
other act (including satisfaction of any lien or security interest) that is reasonably necessary or
reasonably appropriate for the consummation of the Plan.

        21.23 Certain Actions. By reason of entry of the Confirmation Order, prior to, on, or
after the Effective Date (as appropriate), all matters provided for under the Plan that would
otherwise require approval of the officers of the Debtor under the Plan, including (a) the adoption,
execution, delivery, and implementation of all contracts, leases, instruments, releases, and other
agreements or documents related to the Plan, and (b) the adoption, execution, and implementation
of other matters provided for under the Plan involving the Debtor or the organizational structure
of the Debtor, shall be deemed to have occurred and shall be in effect prior to, on, or after the
Effective Date (as appropriate), pursuant to applicable non-bankruptcy law, without any
requirement of further action by the officers of the Debtor.

       21.24 Rounding of Fractional Numbers. All fractional numbers, including payments or
Distributions under the Plan, shall be rounded (up or down) to the nearest whole number.

        21.25 Saturday, Sunday, or Legal Holiday. If any payment or act under the Plan should
be required to be made or performed on a day that is not a Business Day, then the payment or act
may be completed on the next succeeding day that is a Business Day, in which event the payment
or act will be deemed to have been completed on the required day.

         21.26 Exhibits. All Exhibits to this Plan are incorporated into and are a part of this Plan
as if set forth in full herein.




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                      ARTICLE XXII. CONFIRMATION REQUEST

       22.1      Request for Confirmation. The Plan Proponents request confirmation of the Plan
under Section 1129 of the Bankruptcy Code with respect to any impaired class that does not accept
the Plan or is deemed to reject the Plan.

Dated: August 31, 2021                              Respectfully submitted,

 JENNER & BLOCK LLP                              PACHULSKI STANG ZIEHL & JONES

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                                EXHIBIT A
              Schedule of CGL Insurers and CGL Insurance Policies
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USA Gymnastics Plan of Reorganization
Exhibit A, Schedule of CGL Insurers and CGL Insurance Policies

                                       Debtor CGL Insurers

       NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH,
       PA
       Policy Number                            Coverage Dates
       S 138-60-74                              6-1-79 to 1-1-86

       TIG INSURANCE COMPANY
       Policy Number                                                 Coverage Dates
       SSL0001820 or SSL0001820SA                                    6-1-86 to 8-1-87
       SSP1229882                                                    8-1-87 to 8-1-88
       SSP1228108 or SSP1228111 or SSP1229705 or
                                                                     1-1-88 to 8-1-88
       SSP1229704
       SSP1229705 or SSP1230368 or SSP1230529                        8-1-88 to 8-1-89
       SSP1230368 or SSP1230529 or SSP1340151                        8-1-89 to 8-1-89
       SSP1340151 or SSP1340354                                      8-1-89 to 1-1-90
       SSP2718914                                                    8-1-90 to 8-1-91
       SSP02719412                                                   8-1-91 to 8-1-92
       SSP35038808                                                   8-1-92 to 8-1-93
       SSP35036185                                                   6-1-92 to 6-1-93
       SSP35036205                                                   6-1-92 to 6-1-93
       SSP36099770                                                   8-1-93 to 8-1-94
       SSP36099761                                                   6-1-93 to 6-1-94
       SSP36099764                                                   6-1-93 to 6-1-94
       SPX36099765                                                   6-1-93 to 6-1-94
       SSP3621154000                                                 6-1-94 to 6-1-95
       SSP36212187                                                   8-1-94 to 8-1-95
       SSP3621153700                                                 8-1-94 to 8-1-95
       SSP3624508000                                                 8-1-95 to 8-1-96
       SSP36245084                                                   8-1-95 to 8-1-96
       KLB37391537                                                   6-25-96 to 7-2-96
       SSP37393550-01                                                8-1-96 to 8-1-97
       KLB37498134                                                   9-16-96 to 8-1-97
       SSP3739355001                                                 8-1-97 to 8-1-98
       KLB-00037498134-01                                            8-1-97 to 8-1-98
       T7 0003921762800                                              8-1-01 to 8-1-04
       KLB003921763000                                               8-1-01 to 8-1-02

       ACE AMERICAN INSURANCE COMPANY F/K/A CIGNA INSURANCE
       COMPANY
       Policy Number                            Coverage Date
       G19421752                                8-1-98 to 8-1-99
       XCP G19493805                            8-1-98 to 8-1-99
       G19421752 (Renewal)                      8-1-99 to 8-1-00
       XCP G20086427                            8-1-99 to 8-1-00
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       G19421752 (Renewal)                                           8-1-00 to 8-1-01
       XCP G20125858                                                 8-1-00 to 8-1-01

       VIRGINIA SURETY COMPANY F/K/A COMBINED SPECIALTY
       INSURANCE COMPANY
       Policy Number                            Coverage Date
       T7 0000000734000                         8-1-02 to 8-1-03
       T7 0000000734001                         8-1-03 to 8-1-04

       GREAT AMERICAN ASSURANCE COMPANY
       Policy Number                                                 Coverage Date
       EXC000591017800                                               8-1-02 to 8-1-03
       EXC000591017801                                               8-1-03 to 8-1-04
       PAC0000568846300                                              8-1-04 to 8-1-05
       EXC00005688847900                                             8-1-04 to 8-1-05
       PAC0000568846301                                              8-1-05 to 8-1-06
       EXC00005688847901                                             8-1-05 to 8-1-06
       PAC0000568846302                                              8-1-06 to 8-1-07
       EXC00005688847902                                             8-1-06 to 8-1-07

       NATIONAL CASUALTY COMPANY
       Policy Number                                                 Coverage Date
       KRO0000000103500                                              8-1-07 to 8-1-08
       XKO00000000103600                                             8-1-07 to 8-1-08
       KRO0000000103501                                              8-1-08 to 8-1-09
       XKO00000000103601                                             8-1-08 to 8-1-09
       KRO0000000103502                                              8-1-09 to 8-1-10
       XKO00000000103602                                             8-1-09 to 8-1-10
       KRO0000001198500                                              8-1-10 to 8-1-11
       XKO0000001198600                                              8-1-10 to 8-1-11
       KRO0000002032600                                              8-1-11 to 8-1-12
       XKO0000002032700                                              8-1-11 to 8-1-12
       KRO0000002905000                                              8-1-12 to 8-1-13
       XKO0000002905100                                              8-1-12 to 8-1-13
       KRO0000003809900                                              8-1-13 to 8-1-14
       XKO0000003810100                                              8-1-13 to 8-1-14
       KRO0000004695000                                              8-1-14 to 8-1-15
       XKO0000004695400                                              8-1-14 to 8-1-15
       KRO0000005683700                                              8-1-15 to 8-1-16
       XKO0000005690800                                              8-1-15 to 8-1-16
       KRO0000006492900                                              8-1-16 to 8-1-17
       XKO0000006519400                                              8-1-16 to 8-1-17
       KRO0000007069300                                              8-1-17 to 8-1-18
       XKO0000007069600                                              8-1-17 to 8-1-18



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                                         USOPC Insurers

       TRANSAMERICA INSURANCE COMPANY
       Policy Number                                                 Coverage Dates
       SSP-02719143                                                  1-1-91 to 1-1-92
       KLB2723643                                                    1-1-91 to 1-1-92
       SSP-02767733                                                  1-1-92 to 1-1-93
       KLB2777292                                                    1-1-92 to 1-1-93
       SSP-35042049                                                  1-1-93 to 1-1-94
       KLB-35042101                                                  1-1-93 to 1-1-94
       SSP-36105725                                                  1-1-94 to 1-1-95
       KLB-36207747                                                  1-1-94 to 1-1-95
       TIG INSURANCE COMPANY
       Policy Number                                                 Coverage Dates
       SSP-36239586                                                  1-1-95 to 1-1-96
       KLB-36239589                                                  1-1-95 to 1-1-96
       SSP-37274344                                                  1-1-96 to 1-1-97
       KLB-37274346                                                  1-1-96 to 1-1-97
       SSP-00037501755-00                                            1-1-97 to 1-1-00
       KLB-00037501757-00                                            1-1-97 to 1-1-98
       KLB-00037501757-01                                            1-1-98 to 1-1-99
       KLB00037501757-02                                             1-1-99 to 5-1-99
       KLB00037501757-03                                             5-1-99 to 1-1-00
       SSP0003750175503                                              1-1-00 to 1-1-03
       KLB00037501757-04                                             1-1-00 to 1-1-01
       KLB00037501757-05                                             1-1-01 to 1-1-02
       KLB00037501757-05                                             1-1-02 to 1-31-02

       VIRGINIA SURETY COMPANY F/K/A COMBINED SPECIALTY
       INSURANCE COMPANY
       Policy Number                            Coverage Date
       SSP0000001020600                         2-8-03 to 2-8-04

       GREAT AMERICAN ASSURANCE COMPANY
       Policy Number                                                 Coverage Date
       EXC0000565946200                                              2-8-03 to 2-8-04
       GLO0000558255700                                              2-8-04 to 2-8-05
       EXC0000558255800                                              2-8-04 to 2-8-05
       GLO0000558255701                                              2-8-05 to 2-8-06
       EXC0000558255801                                              2-8-05 to 2-8-06
       GLO0000558255702                                              2-8-06 to 2-8-07
       EXC0000558255802                                              2-8-06 to 2-8-07
       GLO0000558255703                                              2-8-07 to 2-8-08
       EXC0000558255803                                              2-8-07 to 2-8-08



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       NATIONAL CASUALTY COMPANY
       Policy Number                                                 Coverage Date
       KRO0000000264700                                              2-8-08 to 2-8-09
       XKO0000000264800                                              2-8-08 to 2-8-09
       KRO0000000264701                                              2-8-09 to 2-8-10
       XKO0000000264801                                              2-8-09 to 2-8-10
       KRO0000000887100                                              2-8-10 to 2-8-11
       XKO0000000887200                                              2-8-10 to 2-8-11
       KRO00000001579400                                             2-8-11 to 2-8-12
       XKO0000001579600                                              2-8-11 to 2-8-12
       XLO0019010                                                    2-8-11 to 2-8-12
       KRO00000002423400                                             2-8-12 to 2-8-13
       XKO0000002423600                                              2-8-12 to 2-8-13
       XLO0019647                                                    2-8-12 to 2-8-13
       KRO00000003302500                                             2-8-13 to 5-1-14
       XKO0000003302600                                              2-8-13 to 5-1-14
       XLO0019783                                                    2-8-13 to 5-1-14
       KRO00000004481400                                             5-1-14 to 5-1-15
       XKO0000004481500                                              5-1-14 to 5-1-15
       XLO0020136                                                    5-1-14 to 5-1-15

       GEMINI INSURANCE COMPANY
       Policy Number                                                 Coverage Date
       CEX09601478-00                                                5-1-15 to 5-1-16


       PHILADELPHIA INDEMNITY INSURANCE COMPANY
       Policy Number                          Coverage Date
       PHPK1330247                            5-1-15 to 5-1-16




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                                 EXHIBIT B
                       Schedule of Indemnification Claims
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Exhibit B, Indemnification Claims


                                     1
                   Claim Number                             Claimant’s Name
                General Unsecured Claim 7                      Debra Van Horn
              General Unsecured Claim 143            All Olympic Gymnastics Center Inc.
              General Unsecured Claim 147                     Galina Marinova
              General Unsecured Claim 189                      Artur Akopyan
              General Unsecured Claim 246                       Mihael Anton
              General Unsecured Claim 285                   Stephen D. Penny, Jr.
              General Unsecured Claim 288                    Twistars USA, Inc.
              General Unsecured Claim 292                 Federal Insurance Company
              General Unsecured Claim 293              Executive Risk Indemnity, Inc.
              General Unsecured Claim 294            ACE American Insurance Company
              General Unsecured Claim 295       ACE Property & Casualty Insurance Company
              General Unsecured Claim 299                          USOPC
              General Unsecured Claim 317                      Leslie L. French
              General Unsecured Claim 319                      BELIEVE LLC
              General Unsecured Claim 332             National Gymnastics Foundation
              General Unsecured Claim 355                      Martha Karolyi
              General Unsecured Claim 356                       Bela Karolyi
              General Unsecured Claim 357               Karolyi Training Camps, LLC
              General Unsecured Claim 358                    BMK Partners, Ltd.
              General Unsecured Claim 359               BMK Training Facilities, Ltd.




1
  The Debtor reserves the right to object to any of the Claims on this Exhibit B and to supplement or amend
this Exhibit B.
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                                 EXHIBIT C
                        Schedule of Participating Parties
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Exhibit C, Schedule of Participating Parties




                                          Participating Parties
                                                 Twistars
                                                 USOPC
                                                 Karolyis
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                                   EXHIBIT D
                            Schedule of Excluded Parties
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USA Gymnastics Plan of Reorganization
Exhibit D, Excluded Parties




                                         Excluded Parties
                                               Don Peters
                            SCATS Gymnastics, including without limitation
                                 any predecessor in interest thereto
                                             Steve Rybacki
                                             Beth Rybacki
                               Charter Oak Gymnastics, including without
                              limitation any predecessor in interest thereto
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                                 EXHIBIT E
                Schedule of Abuse Claims by CGL Insurance Policy

                             [To be Supplemented]
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                                 EXHIBIT F
                            Form of Trust Agreement
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USA Gymnastics Plan of Reorganization
Exhibit F, Trust Agreement

                                        TRUST AGREEMENT

       This Trust Agreement is made and entered into between USA Gymnastics (“USAG”, the
“Debtor”, or the “Reorganized Debtor”), William L. Bettinelli (the “Settlement Trustee”), and
Fred C. Caruso, not individually but as the Future Claims Representative (“FCR”) pursuant to the
terms of the Joint Chapter 11 Plan Of Reorganization Proposed By USA Gymnastics And The
Additional Tort Claimants Committee Of Sexual Abuse Survivors (as it may hereafter be amended
or modified, the “Plan”), filed by the Debtor in its chapter 11 case in the United States Bankruptcy
                                                                          1
Court for the Southern District of Indiana (the “Bankruptcy Court”).

                                               RECITALS

       A.      On December 5, 2018, USAG filed a voluntary petition under chapter 11 of the
Bankruptcy Code. The Debtor remained in possession of its property and continued to operate and
maintain its organization as a debtor in possession pursuant to Sections 1107(a) and 1108 of the
Bankruptcy Code.

       B.     On August 31, 2021, the Debtor filed the Plan. On [_________ __], 2021, the
Bankruptcy Court confirmed the Plan by entering the Confirmation Order. The Debtor will become
the Reorganized Debtor upon the Effective Date of the Plan.

       C.      Pursuant to the Plan, a Trust is created for the benefit of Abuse Claimants and
Future Claimants. All Abuse Claims and Future Claims are channeled to the Trust, along with the
USOPC Claim, the Indemnification Claims, all other Claims arising from or related in any way to
the Abuse Claims, and any Claims for punitive damages, alter ego liability, or piercing the
corporate veil against any Participating Party, Settling Insurer, or Non-Debtor CGL Settling
Insurer Covered Person. Distributions to Holders of Allowed Abuse Claims and Holders of
Allowed Future Claims shall be made from assets contributed to the Trust by the Settling Insurers
and Participating Parties.

       D.       The Trust is intended to qualify as a “Designated” or “Qualified” Settlement Fund
pursuant to Section 468B of the Internal Revenue Code of 1986, 26 U.S.C. §§ 1 et seq., as may be
amended (the “Internal Revenue Code”), and the regulations promulgated thereunder, 31 C.F.R.
§§ 900 et seq. (the “Treasury Regulations”).

       E.      The Settlement Trustee is duly appointed as a representative of the Debtor and its
Estate for the sole purpose of implementing the Plan through the Settlement Trustee’s
administration of the Trust and Distribution of the Trust Assets (defined below) pursuant to 11
U.S.C. §1123(a)(5)(B).



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  The definitions set forth in Article I of the Plan apply to capitalized terms used, but not defined, in this
Trust Agreement. The rules of construction set forth in Article II of the Plan apply to this Trust Agreement.
To the extent that any provision of this Trust Agreement conflicts with any term of the Plan, the terms of
the Plan shall control.
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USA Gymnastics Plan of Reorganization
Exhibit F, Trust Agreement

         F.      The FCR is appointed as the representative of holders of Future Claims. The FCR
is a party to this Agreement for purposes of performing the duties necessary with respect to Future
Claims.

       NOW, THEREFORE, pursuant to the Plan and the Confirmation Order and in
consideration of the mutual covenants set forth herein, it is agreed as follows:

                           ARTICLE I. AGREEMENT OF TRUST

     1.1     Creation and Name. The Debtor hereby creates a trust known as “The USA
Gymnastics Trust” as the Trust provided under the Plan.

        1.2     Purpose. The Trust is established for the benefit of the Abuse Claimants and Future
Claimants and shall assume all liability for the Channeled Claims. The Trust shall receive and
distribute the Trust Assets (defined below) to Abuse Claimants and Future Claimants in accordance
with the terms of this Trust Agreement, the Plan, and the Confirmation Order.

        1.3     Irrevocability. The Trust is irrevocable. The Reorganized Debtor shall not alter,
amend, revoke, or terminate the Trust. The Reorganized Debtor shall have no power or authority
to direct the Settlement Trustee to return any of the Trust Assets to the Reorganized Debtor. The
Settlement Trustee shall nevertheless have the power to amend this Trust Agreement for the
purpose of conforming the Trust Agreement to the provisions of the Plan and the Confirmation
Order, subject to approval by the Bankruptcy Court.

      1.4     Bound By The Plan. By executing this Agreement, the Settlement Trustee and the
FCR agree to be bound by the terms of the Plan.

                           ARTICLE II. CORPUS OF THE TRUST

      2.1      Trust Corpus. The Trust shall be initially funded with: (a) the Net Settlement
Payment; (b) the Twistars Payment; and (c) the assignment of any Insurance Claims.

       2.2    Future Claimant Reserve. The Trust shall establish a Future Claimant Reserve
funded with one percent (1%) of the Net Settlement Payment.

               2.2.1 Expiration Of Future Claimant Reserve. Following the fifth (5th)
anniversary of the Plan’s Effective Date, any funds held in the Future Claimant Reserve shall be
released to the Settlement Trustee to administer to Holders of Abuse Claims consistent with the
terms of this Trust Agreement, the Plan, and the Confirmation Order. In the event that the
remaining funds held, when combined with other Trust assets, total $50,000 or less, the Settlement
Trustee shall have the discretion to either (a) administer to Holders of Abuse Claims consistent
with the Trust Documents and the terms of the Plan; or (b) distribute to a charitable entity mutually
agreed upon by the Settlement Trustee and the Reorganized Debtor; provided, however, that any
such funds shall not revert to the Debtor, the Estate, the Reorganized Debtor, the National
Gymnastics Foundation, or the United States Olympic & Paralympic Committee.




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USA Gymnastics Plan of Reorganization
Exhibit F, Trust Agreement

         2.3     Transfer Of Trust Assets. Following the occurrence of the conditions to the
effectiveness of the Plan, the Reorganized Debtor and the Settling Insurers shall irrevocably and
absolutely transfer, grant, assign, convey, set over, and deliver to the Settlement Trustee all of their
rights, titles, and interests in and to the Trust Assets to be held in trust. The Settlement Trustee
hereby agrees to accept and hold the Trust Assets in trust for the Abuse Claimants and Future
Claimants in accordance with the terms of the Plan and the Confirmation Order.

         2.4     Settlement Trustee’s Right To And Title And Interest In Trust Assets. Upon
the transfer of the Trust Assets, the Settlement Trustee shall succeed to all of the Debtor’s, the
Estate’s, the Reorganized Debtor’s, the Settling Insurers’, and the Participating Parties’ rights,
titles, and interests, if any, in and to the Trust Assets, and the Debtor, the Estate, the Reorganized
Debtor, the Settling Insurers, and the Participating Parties shall have no further rights, titles, or
interests in, or with respect to, the Trust Assets.

         2.5     No Tax On Transfers To Trust. Pursuant to Section 1146(a) of the Bankruptcy
Code, the delivery of any deed or other instrument of transfer under, in furtherance of, or in
connection with this Trust Agreement, including any deeds, bills of sale, or assignments executed
in connection with any disposition of assets contemplated by this Trust Agreement, the Plan, and
the Confirmation Order and any transfer to the Trust, shall not be subject to any stamp tax, real
estate transfer tax, excise tax, sales tax, use tax, or other similar tax.

        2.6     Spendthrift Provision. To the fullest extent permitted by law, the Trust Assets
shall not, in whole or in part, be subject to any legal or equitable Claims of creditors of any Abuse
Claimant, Future Claimant, Channeled Claimant, or others, and the Trust Assets shall not be
subjected to any legal process or any voluntary or involuntary attempts to transfer, assign, pledge,
encumber, or otherwise alienate such Trust Assets, except as may be ordered by the Bankruptcy
Court.

    ARTICLE III. POWERS AND DUTIES OF SETTLEMENT TRUSTEE AND FCR

       3.1     Powers and Duties of Settlement Trustee. The Settlement Trustee shall have, in
addition to any other powers and duties conferred on the Settlement Trustee by applicable trust,
bankruptcy, or tax law, the following powers and duties:

       1. Receive, deposit, and invest Trust Assets in compliance with Section 345 of the
          Bankruptcy Code.
       2. Open and maintain bank accounts on behalf of the Trust, deposit funds into such
          accounts, and draw checks on such accounts.
       3. Establish such reserves as required by this Trust Agreement, the Plan, and the
          Confirmation Order; provided, however, nothing in this provision shall restrict the
          Settlement Trustee’s authority to pool the Trust’s accounts for investment purposes or
          require separate bank accounts for the reserves required by this Trust Agreement, the
          Plan, and the Confirmation Order.
       4. Allocate and make Distributions to Abuse Claimants and Future Claimants.



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USA Gymnastics Plan of Reorganization
Exhibit F, Trust Agreement

       5. Make, sign, execute, acknowledge, deliver, and file, including with any governmental
          authority, any documents that may be necessary or appropriate to effectuate the purpose
          of the Trust or to establish, maintain, or administer the Trust.
       6. Fulfill all reporting obligations to the United States Department of Health and Human
          Services and other governmental authorities, as contemplated by Section 11.9 of the
          Plan.
       7. File a motion with the Bankruptcy Court, with notice to parties in interest, for the
          enforcement of any provision of the Plan or the Confirmation Order pertaining to the
          Trust, or any provision of this Trust Agreement, as may be appropriate to effectuate the
          purpose of the Trust.

       8. File a motion with the Bankruptcy Court, with notice to parties in interest, for a
          modification of the provisions of this Trust Agreement if the Settlement Trustee
          determines that such modification is necessary to effectuate the purpose of the Trust.
       9. Retain and rely upon the advice of any counsel, consultants, experts, accountants,
          investment advisors, and such other agents or professionals (each, a “Professional”) as
          are necessary and appropriate to effectuate the purpose of, and maintain and administer,
          the Trust, subject to the Bankruptcy Court’s approval of such employment.
       10. Fulfill any and all other obligations imposed on the Trust by this Trust Agreement, the
           Plan, or the Confirmation Order.
        3.2     Limitations on the Settlement Trustee. The Settlement Trustee is prohibited from
taking the following acts:

       1. Making any transfers or Distributions of Trust Assets other than as authorized by this
          Trust Agreement, the Plan, and the Confirmation Order.

       2. Loaning or encumbering the Trust Assets, or issuing a guaranty with recourse to the
          Trust Assets.

       3. Conducting any trade or business using or affecting the Trust Assets.

       4. Engaging in any investments or activities inconsistent with the treatment of the Trust
          as a “Designated” or “Qualified” settlement fund pursuant to the Internal Revenue
          Code and the Treasury Regulations.

        3.3     Powers and Duties of FCR. The FCR shall have the power and duty to perform
those actions required under Article V herein. by determine whether a Claim is an allowable Future
Claim.

             ARTICLE IV. ALLOCATION METHOD FOR ABUSE CLAIMS

       4.1    Trust Assets Available For Abuse Claims. The Trust shall make Distributions to
Holders of Allowed Abuse Claims from the Trust Assets minus the amounts contained in the
Future Claimant Reserve (the “Available Trust Assets”).



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USA Gymnastics Plan of Reorganization
Exhibit F, Trust Agreement

       4.2    Allocation Method. The amount of an Abuse Claimant’s Distribution, if any, shall
be governed by the Allocation Protocol attached as Exhibit H to the Plan.

       4.3    Pro Rata Distributions To Abuse Claimants. Distributions to Holders of
Allowed Abuse Claims shall be Pro Rata based upon the Available Trust Assets allocated to each
Subclass. Members of each Subclass holding Allowed Abuse Claims shall take equal shares of the
Available Trust Assets allocated to their Subclass.

        4.4    Release & Dismissal Of Litigation. Before the Trust may make any Distribution
to any Abuse Claimant, such Abuse Claimant shall execute and deliver to the Trust a full and
complete release of the Debtor, the Estate, the Reorganized Debtor, the Settling Insurers, all
Participating Parties, and all known or unknown parties who may claim coverage under any
Insurance Policy issued to the Debtor, including the Non-Debtor CGL Settling Insurer Covered
Persons, in form and substance acceptable to the Debtor, the Estate, the Reorganized Debtor, the
Participating Parties, and the Settling Insurers, of any and all Claims arising from or relating to
Abuse Claims or Future Claims. In addition, within ten (10) days after receiving any payment form
the Trust, an Abuse Claimant shall dismiss with prejudice any lawsuit that such Abuse Claimant
had brought against the Debtor, any Participating Party, and any Non-Debtor CGL Settling Insurer
Covered Person, and shall promptly deliver evidence of such dismissal, with prejudice, to the
Settlement Trustee. The Settlement Trustee shall provide copies of such dismissal orders to any
Protected Party that requests a copy.

        4.5     Attorneys’ Fees And Costs. The fees and expenses of attorneys representing
Abuse Claimants who receive payment from the Trust will be borne exclusively by such Abuse
Claimants based on applicable state law and individual arrangements made between such Abuse
Claimants and their respective attorneys. The Trust, the Settlement Trustee, and the other parties
listed in Section 11.4 of the Plan shall have no liability for any such fees and expenses, and any
Claims for such fees and expenses shall be disallowed.

            ARTICLE V. ALLOCATION METHOD FOR FUTURE CLAIMS.

        5.1    Submission Of Future Claims And Eligibility For Distribution. A Future
Claimant must file a Claim with the Settlement Trustee on or before the fifth (5th) anniversary of
the Plan’s Effective Date. The Claim shall be entitled to a Distribution exclusively from the Future
Claimant Reserve and no other Trust Assets, provided funds remain in the Future Claimant
Reserve, only if the Settlement Trustee, in consultation with the FCR, determines that the Holder
of such Claim has proven by a preponderance of the evidence that such Holder meets the definition
of a Future Claimant and such Holder’s Claim meets the definition of a Sexual Abuse Claim.

        5.2     Allocation Method. If the requirements of Section 5.1 of this Trust Agreement are
satisfied, the FCR may allocate a Distribution to a Future Claimant from funds remaining in the
Future Claimant Reserve. The amount of a Future Claimant’s Distribution, if any, shall be
governed by Section 11.8 of the Plan and the Future Claimant Allocation Protocol attached as
Exhibit I to the Plan.




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USA Gymnastics Plan of Reorganization
Exhibit F, Trust Agreement

        5.3    Release And Dismissal Of Litigation. Before the Trust may make any Distribution
to any Future Claimant, such Future Claimant shall execute and deliver to the Trust a full and
complete release of the Debtor, the Estate, the Reorganized Debtor, the Settling Insurers, all
Participating Parties, and all known or unknown parties who may claim coverage under any
Insurance Policy issued to the Debtor, including the Non-Debtor CGL Settling Insurer Covered
Persons, in form and substance acceptable to the Debtor, the Estate, the Reorganized Debtor, the
Participating Parties, and the Settling Insurers, of any and all Claims arising from or relating to
Abuse Claims or Future Claims. In addition, within ten (10) days after receiving any payment from
the Trust, a Future Claimant shall dismiss with prejudice any lawsuit that such Future Claimant
had brought against the Debtor, any Participating Party, and any Non-Debtor CGL Settling Insurer
Covered Person, and shall promptly deliver evidence of such dismissal, with prejudice, to the
Settlement Trustee. The Settlement Trustee shall provide copies of such dismissal orders to any
Protected Party that requests a copy.

        5.4    Attorneys’ Fees And Costs. Pursuant to Section 11.4 of the Plan, the fees and
expenses of attorneys representing Future Claimants who receive payment from the Trust will be
borne exclusively by such Future Claimants based on applicable state law and individual
arrangements made between such Future Claimants and their respective attorneys. The Trust, the
Settlement Trustee, and the other parties listed in Section 11.4 of the Plan shall have no liability
for any such fees and expenses, and any Claims for such fees and expenses shall be disallowed.

                      ARTICLE VI. TERMINATION OF THE TRUST

        6.1     When Termination Shall Occur. The Settlement Trustee shall terminate the Trust
after the Trust Assets are fully and completely distributed in accordance with this Trust Agreement,
the Plan, and the Confirmation Order, and after the Settlement Trustee has fully and completely
performed all other duties set forth in this Trust Agreement, the Plan, and the Confirmation Order.
The Trust Assets shall be deemed totally distributed when the amount remaining in the Trust is
less than $50,000.

        6.2     Termination Distribution. Upon termination of the Trust, provided that all fees
and expenses of the Trust have been paid or provided for in full, the Settlement Trustee shall
deliver all funds and other investments remaining in the Trust, if any, including any investment
earnings thereon, to a charitable entity mutually agreed upon by the Settlement Trustee and the
Reorganized Debtor; provided, however, that any such funds shall not revert to the Debtor, the
Estate, the Reorganized Debtor, the National Gymnastics Foundation, or the United States
Olympic & Paralympic Committee.

        6.3     Termination Procedures. After termination of the Trust and solely for the purpose
of liquidating and winding up its affairs, the Settlement Trustee shall retain the books, records,
documents, and files that were delivered to or created by the Settlement Trustee. The Settlement
Trustee, at his discretion, may destroy all such books, records, documents and files at any time
following the later of: (a) one year following the final Distribution of the Trust Assets; and (b) the
date until which applicable law requires the Settlement Trustee to retain such books, records,
documents, and files; provided, however, the Settlement Trustee shall not destroy any books,
records, documents, or files relating to the Trust without giving the Reorganized Debtor, the


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Participating Parties, the Settling Insurers, Abuse Claimants, other Channeled Claimants, and the
FCR reasonable prior written notice thereof.

          ARTICLE VII. IMMUNITY, LIABILITY, AND INDEMNIFICATION
               OF SETTLEMENT TRUSTEE AND PROFESSIONALS

        7.1     Limitations On Liability. Neither the Settlement Trustee, the FCR, nor any of
their Professionals whose employment is approved by the Bankruptcy Court shall be liable for any
good faith act or omission within the scope of their duties under this Trust Agreement, the Plan,
and the Confirmation Order, and may only be liable for willful misconduct and fraud. No recourse
shall ever be had, directly or indirectly, against the Settlement Trustee or FCR personally or against
any of the Settlement Trustee’s or FCR’s Court-approved Professionals personally, by legal or
equitable proceedings of any kind, for any good faith act or omission within the scope of their
duties under this Trust Agreement, the Plan, and the Confirmation Order. Any Claims arising out
of such acts or omissions shall be enforceable only against, and satisfied only out of, the Trust
Assets. The foregoing does not limit the liability of the Settlement Trustee, the FCR or their Court-
approved Professionals for their willful misconduct or fraud.

        7.2     Advice Of Professionals. The Settlement Trustee and the FCR may, in connection
with the performance of their functions, and in their sole and absolute discretion, consult with their
respective Court-approved Professionals and shall not be liable for any good faith act or omission
in accordance with the advice or opinions provided by such Professionals. Notwithstanding the
foregoing, neither the Settlement Trustee nor the FCR shall be under an obligation to consult with
their respective Court-approved Professionals, and the determination not to do so shall not result
in the imposition of liability on the Settlement Trustee or the FCR, unless such determination is
based on the Settlement Trustee’s or FCR’s willful misconduct or fraud.

        7.3      Indemnification. The Settlement Trustee, using the Trust Assets (exclusive of the
FCR Reserve), shall defend, indemnify, and hold harmless the Settlement Trustee and any of the
Settlement Trustee’s Court-approved Professionals to the fullest extent that a corporation or trust
organized under the laws of the State of Indiana is entitled to defend, indemnify, and hold harmless
its agents against any and all costs (including attorneys’ fees and expenses), judgments, awards,
amounts paid in settlement, liabilities, Claims, damages, or losses incurred by them in the
performance of their duties under this Trust Agreement, the Plan, and the Confirmation Order;
provided, however, neither the Settlement Trustee nor any of the Settlement Trustee’s agents shall
be defended, indemnified, or held harmless in any way for any liability, expense, Claim, damage,
or loss arising from their willful misconduct or fraud. The FCR, using the FCR Reserve only, shall
defend, indemnify, and hold harmless the FCR and any of the FCR’s Court-approved Professionals
to the fullest extent that a corporation or trust organized under the laws of the State of Indiana is
entitled to defend, indemnify, and hold harmless its agents against any and all costs (including
attorneys’ fees and expenses), judgments, awards, amounts paid in settlement, liabilities, Claims,
damages, or losses incurred by them in the performance of their duties under this Trust Agreement,
the Plan, and the Confirmation Order; provided, however, neither the FCR nor any of the FCR’s
agents shall be defended, indemnified, or held harmless in any way for any liability, expense,
Claim, damage, or loss arising from their willful misconduct or fraud.



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              ARTICLE VIII. COMPENSATION AND REIMBURSEMENT
              OF SETTLEMENT TRUSTEE, FCR, AND PROFESSIONALS

        8.1     Settlement Trustee Compensation. The Settlement Trustee and the FCR shall be
entitled to receive reasonable compensation for services rendered. Such compensation must be
approved by the Bankruptcy Court upon application, and will be paid from the Trust Assets.

        8.2     Compensation Of Settlement Trustee’s Or FCR’s Agents. Any Professional
retained by the Settlement Trustee or the FCR pursuant to this Trust Agreement, the Plan, and the
Confirmation Order, and whose employment is approved by the Bankruptcy Court, shall be
entitled to reasonable compensation for services rendered. Such compensation must be approved
by the Bankruptcy Court upon application, and will be paid from the Trust Assets. Compensation
to the FCR and the FCR’s Agents shall be made from the Future Claimants Reserve.

       8.3     Reimbursement Of Expenses. The Settlement Trustee, the FCR, and any
Professional retained by the Settlement Trustee or FCR, whose employment is approved by the
Bankruptcy Court, shall be entitled to reimbursement of all reasonable and necessary costs and
expenses incurred in the performance of the duties imposed by this Trust Agreement, the Plan, and
the Confirmation Order. Such reimbursement must be approved by the Bankruptcy Court upon
application, and will be paid from the Trust Assets. Reimbursement of expenses to the FCR and
the FCR’s Agents shall be made from the Future Claimants Reserve.

             ARTICLE IX. SUCCESSOR SETTLEMENT TRUSTEE OR FCR

       9.1    Vacancy Caused By Settlement Trustee Or FCR Resignation. The Settlement
Trustee or FCR may resign upon thirty (30) days written notice filed with the Bankruptcy Court.

        9.2    Vacancy Caused By Settlement Trustee Or FCR Removal. The Bankruptcy
Court may remove a Settlement Trustee or the FCR upon finding that the Settlement Trustee or
FCR has engaged in a breach of fiduciary duty, willful misconduct, or fraud. The removal will
take effect upon the date ordered by the Bankruptcy Court.

        9.3     Appointment Of Successor Settlement Trustee Or FCR. If there is a vacancy in
the position of Settlement Trustee, the Reorganized Debtor, in consultation with the Participating
Parties, Settling Insurers, and the FCR, shall designate a successor Settlement Trustee, subject to
the approval of the Bankruptcy Court, after notice and a hearing. If there is a vacancy in the
position of FCR, the Reorganized Debtor, in consultation with the Participating Parties, Settling
Insurers, and the Settlement Trustee, shall designate a successor FCR, subject to the approval of
the Bankruptcy Court, after notice and a hearing. Upon the Bankruptcy Court’s approval of any
successor Settlement Trustee or FCR, all rights and obligations of the prior Settlement Trustee or
prior FCR shall vest in the successor Settlement Trustee or successor FCR, and the successor
Settlement Trustee or successor FCR shall be substituted for the prior Settlement Trustee or prior
FCR as a matter of law, including in any action or proceeding brought by the prior Settlement
Trustee. The Bankruptcy Court may enter such orders as are necessary to effect the appointment
of the successor Settlement Trustee or the successor FCR.




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        9.4     Obligations Of Retiring Or Removed Settlement Trustees. In the event of the
resignation or removal of the Settlement Trustee, that Settlement Trustee shall, within 30 days of
resignation or removal: (a) deliver to the successor Settlement Trustee all of the Trust Assets which
were in the possession of the resigning or removed Settlement Trustee along with a complete list
of Trust Assets and a complete accounting of all transactions engaged in by the Settlement Trustee
while serving as Settlement Trustee; (b) execute and deliver such documents, instruments, records,
and other writings as may be reasonably requested by the successor Settlement Trustee to effect
such resignation or removal and the conveyance of the Trust Assets then held by the resigning or
removed Settlement Trustee to the successor Settlement Trustee; (c) deliver to the successor
Settlement Trustee all documents, instruments, records, and other writings relating to the Trust
Assets as may be in the possession or under the control of the resigning or removed Settlement
Trustee; and (d) otherwise assist and cooperate in effecting the assumption of the resigning or
removed Settlement Trustee’s obligations and functions by the successor Settlement Trustee. In
the event of the resignation or removal of the FCR, that FCR shall, within 30 days of resignation
or removal: (a) deliver to the successor FCR all documents, instruments, records, and other
writings relating to the FCR’s performance of his duties as may be in the possession or under the
control of the resigning or removed FCR; and (b) otherwise assist and cooperate in effecting the
assumption of the resigning or removed FCR’s obligations and functions by the successor FCR.

       ARTICLE X. SETTLEMENT TRUSTEE REPORTING AND DISCHARGE

        10.1 Annual Accountings. The Settlement Trustee shall prepare, at least annually, and
upon termination of the Trust, a written accounting of the administration of the Trust listing the
current assets (with fair market values) and detailing all transactions that occurred during the
period covered by such accounting. Each such accounting shall be filed with the Bankruptcy Court.

        10.2 Approval of Accountings And Discharge of Settlement Trustee. The Settlement
Trustee may file with the Bankruptcy Court a motion for approval of the accounting described in
Section 10.1 of this Trust Agreement. Upon the entry of an order of the Bankruptcy Court
approving such accounting, the Settlement Trustee shall be discharged from all liability with
respect to all assets and transactions listed in such accounting to the Trust, any Claimant, and any
other Person who has or may have a Claim against the Trust for acts or omissions in the Settlement
Trustee’s capacity as the Settlement Trustee.

                    ARTICLE XI. SECTION 468B SETTLEMENT FUND

        11.1 Trust As Settlement Fund. In accordance with the Plan and the Confirmation
Order, the Settlement Trustee shall take all reasonable steps to ensure that the Trust will qualify
as, and remain, a “Designated” or “Qualified” settlement fund within the meaning of Section 468B
of the Internal Revenue Code and the Treasury Regulations. The Debtor is the “transferor” within
the meaning of Treasury Regulation Section 1.468B-1(d)(1). The Settlement Trustee shall be
classified as the “administrator” within the meaning of Treasury Regulation Section 1.468B-
2(k)(3). It is further intended that the transfers to the Trust will satisfy the “all events test” and the
“economic performance” requirements of Section 461(h)(1) of the Internal Revenue Code and
Treasury Regulation Section 1.461-1(a)(2).




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       11.2 Employer Identification Number. Upon establishment of the Trust, the
Settlement Trustee shall apply for an employer identification number for the Trust in accordance
with Treasury Regulation Section 1.468B-2(k)(4).

        11.3 Relation-Back Election. If applicable, the Settlement Trustee and the Reorganized
Debtor shall fully cooperate in filing a relation-back election under Treasury Regulation
Section 1.468B- 1(j)(2), to treat the Trust as coming into existence as a settlement fund as of the
earliest possible date.

        11.4 Filing Requirements. The Settlement Trustee shall cause to be filed, on behalf of
the Trust, all required federal, state, and local tax returns in accordance with the provisions of
Treasury Regulation Section 1.468B-2(k)(1). The election statement shall be included with the
Trust’s first timely filed income tax return. The Reorganized Debtor and the Settling Insurers shall
supply to the Settlement Trustee and to the Internal Revenue Service the statement described in
Treasury Regulation Section 1.468B-3(e)(2) no later than February 15th of the year following each
calendar year in which the Reorganized Debtor or the Settling Insurers make any transfers to the
Trust.

                               ARTICLE XII. BENEFICIARIES

        12.1 Names And Addresses. The Settlement Trustee shall at all times keep a register in
which the Settlement Trustee maintains a record of the awards made to the Abuse Claimants and
Future Claimants pursuant to this Trust Agreement, the Plan, and the Confirmation Order,
including their names, contact information, and the amounts of their awards, as well as copies of
the required releases they delivered to the Trust; provided, however, the Settlement Trustee’s
management of this register shall be subject to the confidentiality provisions imposed by the
Bankruptcy Court’s Order Approving Debtor’s Motion For Order Establishing Deadlines For
Filing Proofs Of Claim And Approving Form And Manner Of Notice Thereof [Dkt. 301]. The
Settlement Trustee may rely upon this register for the purposes of delivering Distributions and
notices.

        12.2 Rights Of Beneficiaries. Abuse Claimants, Future Claimants, and any other
Channeled Claimants shall have no title to, right to, possession of, management of, or control over
the Trust Assets, or any right to call for a partition or division of the Trust Assets. Title to all of
the Trust Assets shall be vested in the Trust and the Settlement Trustee, and the sole interest of
any Claimants in the Trust Assets shall be the rights and benefits given to such Claimants under
this Trust Agreement, the Plan, and the Confirmation Order. The rights of a Claimant under this
Trust Agreement shall, upon a Claimant’s death or incapacity, pass to the legal representative of
such Claimant.

         12.3 Tax Identification Numbers. The Settlement Trustee may require any Claimant
to furnish to the Settlement Trustee the Claimant’s employer or taxpayer identification number or
social security number as assigned by the IRS, and such other records or documents necessary to
satisfy the Settlement Trustee’s tax reporting obligations (including, but not limited to, certificates
of non-foreign status). The Settlement Trustee may condition the payment of any Distribution to
any Claimant upon receipt of such number and records or documents.



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                     ARTICLE XIII. MISCELLANEOUS PROVISIONS

        13.1 Effective Date. This Trust Agreement shall only become effective after all of the
following conditions are satisfied: (1) the occurrence of the conditions necessary for the
effectiveness of the Plan; and (2) the Reorganized Debtor, the Settlement Trustee, and the FCR,
execute this Trust Agreement.

        13.2 Incorporation. The Plan, the Confirmation Order, and any other Plan Documents
and Trust Documents are incorporated into this Trust Agreement. The FCR and Settlement Trustee
agree to be bound by all of the provisions of the Plan and the Confirmation Order.

        13.3 Notices. All notices or deliveries required or permitted under this Trust Agreement
shall be given to the following:

       If to the Trust or Settlement Trustee:

       [Settlement Trustee notice party]

       If to a Claimant:

       The last known address listed for such Claimant with the Bankruptcy Court or with the
       Claims Agent, or to the last known address of such Claimant’s attorney of record.

        13.4 Waiver. No failure or delay of any party to exercise any right or remedy pursuant
to this Trust Agreement shall affect such right or remedy or constitute a waiver by such party of
any right or remedy pursuant thereto. Resort to one form of remedy shall not constitute a waiver
of alternative remedies.

       13.5 Entirety Of Trust Agreement. This Trust Agreement, along with the Plan, the
Confirmation Order, and any other Plan Documents or Trust Documents, constitutes the full and
complete understanding of the Parties regarding the Trust Agreement’s subject matter and
supersedes any prior understanding or agreement, whether oral or in writing.

       13.6 Counterparts. This Trust Agreement may be executed in two or more counterparts,
with the same effect as if all signatures on such counterparts appeared on one document, each of
which shall be deemed an original, but all of which together shall constitute one and the same
instrument.

       13.7 Captions. The captions of Articles and Sections are included for convenience only
and are to be disregarded in interpreting this Trust Agreement.

        13.8 Independent Legal And Tax Counsel. All parties to this Trust Agreement have
been represented by counsel and advisors of their own selection in this matter. Consequently, the
parties agree that the language in all parts of this Trust Agreement shall in all cases be construed
as a whole according to its fair meaning and neither strictly in favor of or against any party. It is
specifically acknowledged and understood that this Trust Agreement has not been submitted to,



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nor reviewed or approved by, the Internal Revenue Service or the taxing authorities of any State
or locality of the United States of America.

        13.9 Applicable Law. Except to the extent that federal law (including the Bankruptcy
Code and the Internal Revenue Code) is applicable, the rights and obligations arising under this
Trust Agreement and any other Trust Document shall be governed by and construed and enforced
in accordance with the laws of the State of Indiana without giving effect to the principles of
conflicts of laws.

        IN WITNESS WHEREOF, the Reorganized Debtor and the Settlement Trustee execute
this Trust Agreement as of the last date set forth below.

 USA GYMNASTICS


 By:__________________________                   _____________________________
  Its:_________________________                  WILLIAM L. BETTINELLI, not
                                                 individually by as Settlement Trustee

 Dated: ____ __, 2021
                                                 Dated: ____ __, 2021



________________________________
FRED C. CARUSO, not individually
but as Future Claims Representative

Dated: ____ __, 2021




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                                  EXHIBIT G
                            Form of Buy-Back Agreement
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                     SETTLEMENT AGREEMENT, RELEASE,
              AND POLICY BUYBACK OF USA GYMNASTICS’ POLICIES

        This Settlement Agreement, Release, and Policy Buyback of USA Gymnastics’ Policies
issued to USAG (the “Agreement”) is hereby made between USA Gymnastics, a 501(c)(3) not-
for-profit organization incorporated in Texas (“USAG”), and [________] (the “Settling Insurer”
and with USAG, the “Parties”).

       WHEREAS, USAG filed a voluntary petition for relief under chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”) on December 5, 2018, in the United States
Bankruptcy Court for the Southern District of Indiana (the “Chapter 11 Case”), which Chapter
11 Case is known as Case No. 18-BK-09108-RLM-11.

       WHEREAS, prior to the filing of its Chapter 11 Case, the Settling Insurer issued certain
insurance policies to or for the benefit of USAG.

        WHEREAS, certain disputes have arisen and may arise in the future concerning the
Settling Insurer’s position regarding the nature and scope of its responsibilities, if any, to provide
coverage to USAG and any additional Non-Debtor CGL Settling Insurer Covered Persons for
Sexual Abuse Claims and to provide a defense (the “Coverage Disputes”).

        WHEREAS, prior to the filing of its Chapter 11 Case, USAG filed a declaratory judgment
action against the Settling Insurer and certain other parties in the Marion Superior Court of the
State of Indiana, which was subsequently removed to the United States District Court for the
Southern District of Indiana, and has since been dismissed without prejudice (the “Declaratory
Coverage Action”).

       WHEREAS, after USAG filed its Chapter 11 Case, USAG filed the Insurance Coverage
Adversary Proceeding against the Settling Insurer and certain other entities on February 1, 2019,
in the United States Bankruptcy Court for the Southern District of Indiana, which Insurance
Coverage Adversary Proceeding was assigned Case No. 19-AP-50012.

        WHEREAS, USAG and the Settling Insurer, without any admission of liability or
concession of the validity of the positions or arguments advanced by each other, now wish fully
and finally to compromise and resolve any and all Coverage Disputes and any and all other disputes
between them, whether or not asserted in the Declaratory Coverage Action, the Insurance
Coverage Adversary Proceeding, or otherwise.

        WHEREAS, through this Agreement, USAG intends to sell the Policies (as defined herein)
to the Settling Insurer, with the Settling Insurer buying back such Policies, and provide the Settling
Insurer with a release of the Settling Insurer with respect to any and all coverages under the Policies
the Policies, including but not limited to defense obligations and coverage.

        WHEREAS, as part of the compromise and resolution of such disputes, USAG and the
Settling Insurer wish to effect a sale of the Policies pursuant to Sections 363(b), (f) and (m) and
1123(a)(5) and (b)(6) of the Bankruptcy Code.
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       WHEREAS, each Party has received the advice of counsel in the preparation, drafting, and
execution of this Agreement, which was negotiated by the Parties in good faith and at arm’s length.

       NOW, THEREFORE, in consideration of the foregoing recitals and of the mutual
covenants contained in this Agreement, the sufficiency of which is hereby acknowledged, and
intending to be legally bound, subject to the approval of the Bankruptcy Court, the Parties hereby
agree as follows:

1.     DEFINITIONS AND CONSTRUCTION

       1.1   Terms and Meanings. As used in this Agreement, the following terms shall have the
             meanings set forth below. Terms not defined below shall have the meanings given to
             them in the Plan (as defined herein) or Bankruptcy Code, as applicable.

               1.1.1. “Extra-Contractual Claim” means any known or unknown, asserted or
                      unasserted, Claim against the Settling Insurer, seeking any type of relief,
                      including compensatory, exemplary, or punitive damages, or attorneys’
                      fees, costs, or any other type of relief, on account of alleged bad faith; failure
                      to act in good faith; violation of any duty of good faith and fair dealing;
                      violation of an unfair claims practices act or similar statute, regulation, or
                      code; any type of alleged misconduct; or any other act or omission of the
                      insurer of any type for which the claimant seeks relief other than coverage
                      or benefits under a Policy. Extra-Contractual Claims include without
                      limitation: (i) any Claim arising out of or relating to the Settling Insurer’s
                      handling of any request for insurance coverage relating to the Policies for
                      any Claim, including, without limitation, any Sexual Abuse Claim; and (ii)
                      the conduct of the Parties with respect to the negotiation of this Agreement.
                      However, this limitation shall not include fraud in the inducement of this
                      Agreement.

               1.1.2. “Insurance Coverage Claim” means any Claim for insurance coverage
                      under the Policies.

               1.1.3. “Interests” means all liens, Claims, encumbrances, interests, and other
                      rights of any nature, whether at law or in equity, including any rights of
                      contribution, indemnity, defense, subrogation, or similar relief relating to
                      the Policies.

               1.1.4. “Policies” means all insurance policies, issued or allegedly issued, by the
                      Settling Insurer and providing insurance coverage to USAG, as identified
                      on Exhibit 1 to this Agreement, and any and all unknown insurance policies
                      issued or allegedly issued by the Settling Insurer to USAG.

       1.2   Rules of Construction. In addition to the rules of construction set forth in the Plan,
             which are incorporated herein as though fully set forth herein, the following rules of
             construction shall apply to this Agreement:




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               1.2.1. Statutory and Regulatory References. References to statutes shall include
                      all regulations promulgated thereunder and references to statutes or
                      regulations shall be construed as including all statutory and regulatory
                      provisions regardless of whether specifically referenced in this Agreement.

               1.2.2. No Construction Against Drafter. The wording of this Agreement was
                      reviewed by legal counsel for each of the Parties and each of them had
                      sufficient opportunities to propose and negotiate changes prior to its
                      execution. No Party will be entitled to have any wording of this Agreement
                      construed against the other based on any contention as to which of the
                      Parties drafted the language in question or which party is an insurer.

2.     PAYMENT OF THE SETTLEMENT AMOUNT

       2.1     The Settlement Amount. Subject to all of the terms of this Agreement, in full and
               final settlement of all Claims and responsibilities under, arising out of, or relating
               to the Policies, and in consideration of the sale of the Policies free and clear of all
               Interests of any Person, and expressly subject to fulfillment of all conditions to
               payment identified in Section 3 below, the Settling Insurer shall pay to USAG by
               wire transfer (as provided in the Plan) the Agreed CGL Insurer Payment, which is
               [________] ($____________) (the “Settlement Amount”) on the Effective Date
               of the Plan. In addition, to the extent that any Outstanding Amounts are due as of
               the Effective Date, the Settling Insurer shall also pay such Outstanding Amount to
               USAG (as provided in the Plan) by wire transfer.

       2.2     Settlement Amount is the Total Amount. The Parties expressly agree that it is
               intended: (i) that the Settlement Amount plus any Outstanding Amounts is the total
               amount that the Settling Insurer is obligated to pay on account of any and all Claims
               made under or relating to the Policies (including the Sexual Abuse Claims and any
               reimbursement obligations for Conditional Payments under the MSP) or with
               respect to Extra-Contractual Claims relating to the Policies; (ii) that under no
               circumstance will the Settling Insurer ever be obligated to make any additional
               payments to anyone in connection with the Policies, including any amounts
               allegedly owed under the MSP and for Extra Contractual Claims, subject to
               obligation to pay Outstanding Amounts; and (iii) that all limits of liability of the
               Policies, including all per person, per occurrence, and aggregate limits, shall be
               deemed fully and properly exhausted. The Parties further agree that the Settlement
               Amount is the full purchase price of the Policies and coverages referenced in this
               paragraph. [Insert for NCC: Notwithstanding the foregoing, NCC shall remain
               liable to fully indemnify and defend the Personal Injury Claim and the buy-back of
               the Personal Injury Policy expressly excludes Personal Injury Insurance Coverage
               for the Personal Injury Claim.]

       2.3     Conditional Payments. The Parties agree that the Plan that is confirmed in the
               Confirmation Order will provide that this Agreement is binding on the Trust and
               that, before the Settlement Trustee disburses any of the Settlement Amount to any
               Abuse Claimant or Future Claimant, the Settlement Trustee shall determine


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               whether any Conditional Payment has been made to or on behalf of any Abuse
               Claimant or Future Claimant. If any Conditional Payment has been made to or on
               behalf of any Abuse Claimant or Future Claimant, the Settlement Trustee shall,
               within the respective time period called for by the MSP, (i) reimburse the
               appropriate Medicare Trust Fund for the appropriate amount, and (ii) submit the
               required information for any Abuse Claimant or Future Claimant to the appropriate
               agency of the United States government.

       2.4     Abuse Claimant Release. As a precondition to receiving any payment from the
               Trust, each Abuse Claimant and each Future Claimant shall execute and deliver to
               the Trust a full and complete general release of the Settling Insurer as provided in
               Section 11.2.1 of the Plan. In addition, within 10 days after receiving any payment
               from the Trust, each Abuse Claimant and each Future Claimant shall dismiss with
               prejudice any lawsuit as provided in Section 11.2.1 of the Plan, and shall promptly
               deliver evidence of such dismissal, with prejudice, to the Settlement Trustee. The
               Settlement Trustee shall promptly provide copies of such dismissal orders to the
               Settling Insurer upon the Settling Insurer’s request.

3.     CONDITIONS PRECEDENT TO SETTLING INSURER’S PAYMENT

       3.1     Timing of Payment. The Settling Insurer’s obligation to pay the Settlement Amount
               in Section 2.1 above is expressly conditioned on the entry of the Confirmation
               Order and the conditions to effectiveness of the Plan having occurred.

       3.2     Confirmation Order. The Confirmation Order must be in all respects consistent with
               this Agreement, and must approve this Agreement pursuant to Bankruptcy Code
               Sections 363, 1123, and 105 and Bankruptcy Rule 9019 and/or under such other
               provisions as the Bankruptcy Court may order, and authorize the Parties to
               undertake the settlement and the transactions contemplated by this Agreement, and
               must contain no provisions that diminish or impair the benefit of this Agreement to
               the Settling Insurer.

4.     RELEASES AND SALE FREE AND CLEAR

       4.1     Mutual Releases. Subject to entry of the Confirmation Order as a Final Order, and
               the payment of the Settlement Amount and any Outstanding Amounts, and without
               any further action by the Parties, USAG and its Related Persons, on the one hand,
               and the Settling Insurer and its Related Persons, on the other hand, each hereby
               fully, finally, and completely remises, releases, acquits, and forever discharges, as
               of the Effective Date, the other, and each of them, from any and all past, present,
               or future Claims in connection with, relating to or arising out of, in any manner or
               fashion, the Policies, including Claims that are actual or alleged, known or
               unknown, accrued or unaccrued, suspected or unsuspected (including Sexual Abuse
               Claims, Extra-Contractual Claims, reimbursement obligations for Conditional
               Payments under the MSP, and all Claims relating to, or arising out of, the Chapter
               11 Case), whether such Claims seek compensatory damages, punitive damages,
               exemplary damages, statutorily multiplied damages, attorneys’ fees, interest, costs,


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               or any other type of monetary or nonmonetary relief; provided, however, that in the
               event of any conflict between the releases in this Agreement and the Plan, the
               releases in the Plan shall control.

       4.2     USAG Buyback. USAG agrees that, as set forth in the Confirmation Order, the
               Settling Insurer hereby buys back the Policies, free and clear of all liens, Claims,
               encumbrances, and other Interests (as set forth in the Confirmation Order) of any
               Person, including all rights and Interests of USAG, all Non-Debtor CGL Settling
               Insurer Covered Persons, and any other Person claiming by, through, or on behalf
               of USAG, any other insurer, and any Abuse Claimant or Future Claimant. This sale
               is pursuant to Sections 363(b), 363(f), 1123(a)(5), 1123(b)(6) and 1129 of the
               Bankruptcy Code. The Parties acknowledge and agree that (i) the Settling Insurer
               is a good faith purchaser of the Policies within the meaning of Section 363(m) of
               the Bankruptcy Code and (ii) the consideration exchanged constitutes a fair and
               reasonable settlement of the Parties’ disputes and of their respective rights and
               obligations being released hereunder and constitutes reasonably equivalent value.
               The Parties agree (as set forth in the Confirmation Order) that the releases in this
               Agreement and the policy buyback comply with the Bankruptcy Code and
               applicable non-bankruptcy laws. Further, the Parties agree: (A) (as set forth in the
               Confirmation Order) that, upon the payment of the Settlement Amount and any
               Outstanding Amount by the Settling Insurer, the Policies shall be immediately
               terminated and of no further force and effect; (B) that the Settling Insurer’s payment
               of the Settlement Amount and any Outstanding Amount constitutes the Settling
               Insurer’s full and complete performance of any and all obligations under the
               Policies and exhausts all limits of liability of the Policies; and (C) the Parties agree
               that all rights, title, or interests USAG or any Non-Debtor CGL Settling Insurer
               Covered Person may have had, may presently have, or in the future may have in
               the Policies are fully and finally released and extinguished pursuant to the terms of
               this Agreement.

       4.3     Waiver of Surviving Claims. If, contrary to the specific intent of the Parties, any
               Claims released pursuant to this Agreement, including any Insurance Coverage
               Claims, are deemed to survive this Agreement, even though they are encompassed
               by the terms of the release set forth in Section 5 of this Agreement, the Parties, and
               the Non-Debtor CGL Settling Insurer Covered Persons, hereby forever, expressly,
               and irrevocably waive entitlement to and agree not to assert any and all such
               Claims.

       4.4     Waiver Does not Affect Reinsurance. The releases set forth in Section 5 of this
               Agreement, as well as all other provisions in this Agreement, are not intended to
               apply to or have any effect on the Settling Insurer’s right to reinsurance recoveries
               under reinsurance treaties, certificates, or contracts that cover losses arising under
               or in connection with the Policies.

       4.5     Rights and Obligation Under this Agreement. Nothing in this Section 4 is intended
               to, nor shall be construed to, release, waive, relinquish, or otherwise affect the
               Parties’ rights and obligations under this Agreement.


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       4.6     Dismissal With Prejudice of Declaratory Coverage Action and Insurance Coverage
               Adversary Proceeding. On the Effective Date, USAG will dismiss with prejudice
               the Declaratory Coverage Action and Insurance Coverage Adversary Proceeding
               as to the Settling Insurer.

       4.7      [Insert for NCC: Survival of Personal Injury Claim. Notwithstanding the
               foregoing, NCC shall remain liable to fully indemnify and defend the Personal
               Injury Claim and the buy-back of the Personal Injury Policy expressly excludes
               Personal Injury Insurance Coverage for the Personal Injury Claim.]

5.     REPRESENTATIONS AND WARRANTIES OF THE PARTIES

       5.1     Representations and Warranties. Each of the Parties separately represents and
               warrants as follows:

               5.1.1. Power and Authority. It has the requisite power and authority to enter into
                      this Agreement and to perform the obligations contemplated by this
                      Agreement, subject only to approval of the Bankruptcy Court.

               5.1.2. Authorized To Execute. Subject to entry of the Confirmation Order as a
                      Final Order, the execution and delivery of, and the performance of the
                      obligations contemplated by, this Agreement have been approved by duly
                      authorized representatives of the Parties and by all other necessary actions
                      of the Parties.

               5.1.3. Arm’s Length Negotiation. This Agreement has been thoroughly negotiated
                      and analyzed by counsel to the Parties and has been executed and delivered
                      in good faith, pursuant to arm’s length negotiations and for value and
                      valuable consideration.

               5.1.4. Good Faith Search for Existing Policies. Each of the Parties has conducted
                      and completed a thorough and good faith search for any policy of insurance
                      that might exist, or other evidence of any such policy of insurance, under
                      which the Settling Insurer was or might be an insurer of USAG. Other than
                      the Policies listed on Exhibit 1, no other policies of insurance have been
                      located or are known to exist.

6.     ACTIONS INVOLVING THIRD PARTIES

       6.1     Assignment Of Insurance Claims. The Settling Insurer shall assign to the Trust all
               of their Insurance Claims against any Non-Settling Insurer.

7.     MISCELLANEOUS

       7.1     Challenge to Agreement. In the event that any proceedings are commenced to
               invalidate all or any part of this Agreement, the Parties agree to cooperate fully to
               oppose such proceedings. In the event that any action or proceeding of any type
               whatsoever is commenced or prosecuted by any Person not a Party to this


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               Agreement to invalidate, interpret, or prevent the validation, enforcement, or
               carrying out of all or any of the provisions of this Agreement, the Parties mutually
               agree, represent, warrant, and covenant to cooperate fully in opposing such action
               or proceeding; provided, however, that such cooperation shall not obligate either
               party to incur professional fees or other expenses for the benefit of the other Party.

       7.2     Effectuation. Each Party agrees to take such steps and to execute any documents as
               may be reasonably necessary or proper to effectuate the purpose and intent of this
               Agreement, subject to any necessary Bankruptcy Court approvals, and to preserve
               its validity and enforceability.

       7.3     Cooperation to Obtain Approval. The Parties shall cooperate with each other in
               connection with obtaining a Confirmation Order approving this Agreement. The
               Parties agree such cooperation shall include consulting with each other upon
               request concerning the status of proceedings and providing each other with copies
               of requested pleadings, notices, proposed orders, and other documents relating to
               such proceedings as soon as reasonably practicable prior to any submission thereof
               to the Bankruptcy Court and not taking any action to oppose confirmation of a Plan
               consistent with this Agreement or asking any other Person to oppose confirmation
               of a Plan consistent with this Agreement; provided, however, that nothing contained
               in this Section shall obligate any Party to provide to the other Party any information
               that is otherwise subject to the attorney-client privilege or work-product doctrine
               or to take any actions or refrain from taking any actions not consistent with such
               Party’s fiduciary obligations. It is understood and agreed that in addition to the
               protections set forth in Section 7.6 below, all negotiations leading up to this
               Agreement, and all prior drafts of this Agreement, are subject to the mediation order
               entered by the Bankruptcy Court in the Chapter 11 Case, any prior mediation
               agreements, and the any confidentiality agreement imposed by the mediator.

       7.4     Single Integrated Contract. This Agreement constitutes a single integrated written
               contract that expresses the entire agreement and understanding between the Parties.
               Except as otherwise expressly provided herein, this Agreement supersedes all prior
               communications, settlements, and understandings between the Parties and their
               representatives, regarding the matters addressed by this Agreement. Except as
               explicitly set forth in this Agreement, there are no representations, warranties,
               promises, or inducements, whether oral, written, expressed, or implied, that in any
               way affect or condition the validity of this Agreement or alter or supplement its
               terms. Any statements, promises, or inducements, whether made by any party or
               any agents of any party, that are not contained in this Agreement shall not be valid
               or binding. Any changes to this Agreement must be made in writing and with the
               consent of the Parties.

       7.5     No Deemed Waiver. By entering into this Agreement, neither Party has waived or
               shall be deemed to have waived any rights, obligations, or positions it or they have
               asserted or may in the future assert in connection with any matter or Person outside
               the scope of this Agreement. USAG’s rights under policies of insurance issued by
               insurers other than the Settling Insurer shall not be affected by this Agreement. No


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               part of this Agreement, its negotiation, or its performance may be used in any
               manner in any action, suit, or proceeding by any Person as evidence of the rights,
               duties, or obligations of any of the Parties with respect to matters or Persons outside
               the scope of this Agreement. All actions taken and statements made by the Parties
               or by their representatives, relating to this Agreement or participation in this
               Agreement, including its development and implementation, shall be without
               prejudice or value as precedent and shall not be used as a standard by which other
               matters may be judged.

       7.6     No Admission. This Agreement represents a compromise of disputed Claims and
               shall not be deemed an admission or concession by any Party of liability,
               culpability, wrongdoing, or insurance coverage. Settlement negotiations leading up
               to this Agreement and all related discussions and negotiations shall be deemed to
               fall within the protection afforded to compromises and to offers to compromise by
               Rule 408 of the Federal Rules of Evidence and any parallel state law provisions, as
               well as all confidentiality provisions entered by the Bankruptcy Court and the
               mediators in the Chapter 11 Case and/or the Insurance Coverage Adversary
               Proceeding and the Declaratory Coverage Action. Any evidence of the negotiations
               or discussions associated with this Agreement shall be inadmissible in any action
               or proceeding for purposes of establishing any rights, duties, or obligations of the
               Party, except in (i) an action or proceeding between the Parties to enforce the terms
               of this Agreement or (ii) any possible action or proceeding between the Settling
               Insurer and any of its reinsurers. This Agreement shall not be used as evidence or
               in any other manner, in any court or dispute resolution proceeding, to create, prove,
               or interpret the Settling Insurer’s obligations under the Policies, the insurance
               policies issued to any other Person, or the Claims of any Party against the Settling
               Insurer.

       7.7     No Assignment. Neither this Agreement nor the rights and obligations set forth in
               this Agreement shall be assigned without the prior written consent of the other
               Parties, except an assignment that occurs as a matter of law by virtue of a merger
               of a Party with another corporation or entity. USAG covenants that it has not and
               will not assign any right, interest or action in or on the Policies to any Person.

       7.8     Headings. Section titles and/or headings contained in this Agreement are included
               only for ease of reference and shall have no substantive effect.

       7.9     Notice. All notices, demands, or other communications to be provided pursuant to
               this Agreement shall be in writing and sent by UPS, FedEx, or other overnight
               delivery service, costs prepaid, to the Parties at the addresses set forth below, or to
               such other person or address as any of them may designate in writing from time to
               time:

               If to USAG:

                       USA Gymnastics
                       1099 N. Meridian St.,


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                       Suite 800
                       Indianapolis, Indiana 46204
                       Attn: Li Li Leung

                       With a copy to:

                       Jenner & Block LLP
                       353 North Clark Street
                       Chicago, Illinois 60654
                       Attn: Catherine Steege and Melissa Root

               If to the Settling Insurer:

                       [_______]

                       With a copy to:




       7.10    Execution by Counterparts. This Agreement may be executed in multiple
               counterparts, all of which together shall constitute one and the same instrument.
               This Agreement may be executed and delivered by facsimile, which facsimile
               counterparts shall be deemed to be originals.

       7.11    No Admission. The Parties agree that nothing contained in this Agreement shall be
               deemed or construed to constitute (1) an admission by the Settling Insurer that
               USAG, any Non-Debtor CGL Settling Insurer Covered Persons, or any other
               Person was or is entitled to any Insurance Coverage under the Policies or as to the
               validity of any of the positions that have been or could have been asserted by
               USAG, (2) an admission by USAG as to the validity of any of the positions or
               defenses to Insurance Coverage that have been or could have been asserted by the
               Settling Insurer or any Claims that have been or could have been asserted by USAG
               against the Settling Insurer, or (3) an admission by USAG or the Settling Insurer of
               any liability whatsoever with respect to any of the Sexual Abuse Claims.

       7.12    No-Third Party Beneficiaries. The Parties agree that there are no third-party
               beneficiaries of this Agreement.

       7.13    Jurisdiction. The Bankruptcy Court in the Chapter 11 Case shall retain exclusive
               jurisdiction to interpret and enforce the provisions of this Agreement, which shall
               be construed in accordance with Indiana law.

                           [Remainder of page left blank intentionally]




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        IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of the last
date indicated below,

                              On behalf of USAG



                                        By:



                                        Date:



                                        Witness:




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        IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of the last
date indicated below,

                              On behalf of [_________________]



                                        By:



                                        Date:



                                        Witness:




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                                        Exhibit 1-Policies
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                                 EXHIBIT H
                               Allocation Protocol

                             [To be Supplemented]
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                                  EXHIBIT I
                       Future Claimant Allocation Protocol

                             [To be Supplemented]
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                                 EXHIBIT J
                            Form of General Release

                             [To be Supplemented]
